                Case 1:24-cv-03744-BAH                 Document 16-8         Filed 01/03/25       Page 1 of 226




                              OHANA GROWTH PARTNERS, LLC                       IN THE

                              Plaintiff,·                                      CIRCUIT COURT

                              vs .                                             FOR

                              RYAN DILLON-CAPPS                                BALTIMORE COUNTY

                              Defendant.                                       CASE NO: C-03-CV-24-002264


                                                             AFFIDAVIT OF BAD FAITH

                             I, Ryan Dillon-Capps, being over the age of eighteen (18) and competent to testify, and

                         having personal knowledge of the facts contained herein, state as follows :

                         1      I will go through each paragraph of the retaliatory opposition and show the court that

                         despite Miles & Stockbridge repeatedly saying, "I disagree," they have spent four months

                         providing nothing but baseless arguments and false claims without any evidence to support their

                         case. Instead of progressing this litigation, their actions have only delayed the inevitable

                         resolution, harming me in the process. Ironically, their own submissions weaken their position

                         even before I have the chance to do so.

                         2      For four months, they have accomplished nothing but dragging this out, claiming fal se

                         victories by manipulating the process rather than achieving any substantive success. The

                         absurdity of their argument is that their own documents work against them. I should not have had

                         my time wasted, been subjected to ongoing harm, or had to face yet another attempt to defeat me,

                         which has only resulted in their failure time and again.

                         3       It has become tiresome to repeatedly defeat Miles & Stockbridge, who, instead of adding

                         value to their client, have merely been an unfortunate influence on Ohana Growth Partners, LLC.
                                                                                                                  Page 1 of 61



Affidavit of Bad Faith                                       Page# I of61                                           Exhibit 107
                 Case 1:24-cv-03744-BAH               Document 16-8           Filed 01/03/25     Page 2 of 226




                         Why they think they can win against me, when they couldn't even succeed while I was

                         navigating unfamiliar statutes and procedures with my wife babysitting me, is beyond reason .

                         Once this case is over, I plan to bring this matter to my home jurisdiction, where I will

                         demonstrate what true litigation looks like.

                             l . Two key points to remember as we go through this exercise :

                                    1. Notice Pleading Standard - Under this standard, a party ' s mental state, such as

                                        malice, intent, and knowledge, can be inferred from the circumstances.

                                    2. Swierkiewicz v. Sorema N.A., 534 U.S. 506 (2002) - Justice Thomas explains

                                        with clarity that a complaint need only provide "a short and plain statement of the

                                        claim showing that the pleader is entitled to relief'' to establish an employment

                                        discrimination case.

                                                                  I PARAGRAPH 1
                         Dillon-Capps has filed a Motion for Sanctions against Ohana and its counsel Miles
                         & Stockbridge P.C. ("M&S") seeking, inter alia, monetary sanctions against Ohana and M&S,
                         dismissal of Ohana ' s claims, referral of M&S to the Attorney Grievance Commiss ion, referral of
                         Ohana and M&S to the Maryland Attorney General, and di squalifi cation of M&S as Ohana 's
                         counsel. Dillon-Capps ' Motion is little more than a procedurally improper attempt to introduce
                         affirmative claims against Ohana and its counsel and a flawed effort to relitigate issues al ready
                         decided by this Court.
                                Miles & Stockbridge has revealed the true motivation behind this opposition :

                         retaliation for being reported. Rather than addressing the substantive and undeniable deficiencies

                         in their case, they present this opposition to distract from their own misconduct. This is how we

                         arrived at this lawsuit: Glenn Norris, Richard Hartman, Holly Butler, Stephen Frenkil, and

                         Robert Brennen worked together at various points since October 16, 2023 , after accounting

                         irregularities were reported by Ciera Montague and me. This unfortunate discovery, coinciding


                                                                                                                 Page 2 of61



Affidavit of Bad Faith                                         Page# 2 of61                                          Exhibit 107
                 Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25        Page 3 of 226




                         with a critical I 0-year refinancing deal, set off a chain of events that resulted in relentless

                         retaliation against me. My delayed and eventually canceled promotion was replaced by eight

                         months of escalating hostility, with one brief respite after a failed attempt to execute a scheme

                         similar to the events of June 2024.

                         2         Holly Butler's departure and Glenn Norris's shifting tactics: After Holly Butler left,

                         Norris briefly appeared sincere in his desire to consult another attorney who wasn 't pretending to

                         conduct a fraud investigation. I believe Norris expected a second attorney would affirm the

                         advice he'd already been given- that there was "nothing illegal" about the unauthorized use of

                         my name to attest to franchisor compliance documents . In fact, they confessed in writing when

                         they answered a separate question from the franchisor, Planet Fitness.

                         3         Upon my return from my wedding, I realized things had not gone as Norris expected.

                         From late April until June 13, I experienced relentless hostility and retaliation- not just directed

                         at me, but also at others in my department. When I documented their actions via email and

                         addressed their misconduct properly, they shifted their focus, retaliating against my colleagues.

                         Time and again, I had to step in to protect them, tactfully inserting myself to prevent indirect

                         harassment aimed at me through my department.

                         4         Miles & Stockbridge's motivation seems clear: to protect one of their own, Holly

                         Butler.

                         5         Throughout this opposition, M&S rely heavily on their past "successes" in this court,

                         essentially bragging about prior rulings in their favor. But these rulings are irrelevant. The fact

                         remains that in this I I-page document, they fail to address the actual issues at hand- no




                                                                                                                     Page 3 of61



Affidavit of Bad Faith                                         Page# 3 of61                                           Exhibit 107
                Case 1:24-cv-03744-BAH                 Document 16-8            Filed 01/03/25     Page 4 of 226




                         evidence of refusal, no emails, no affidavits, no contractual basis, and no legal foundation for

                         their claims or the relief they seek.

                         6       Instead of offering new facts or evidence, they cling to past rulings as though that alone

                         justifies their position. This reliance on prior decisions is misplaced, highlighting their lack of a

                         current, fact-based defense. Nowhere in this opposition do they substantiate their claims with any

                         credible evidence, nor do they attempt to correct the clear defects in their lawsuit.

                         7       Plaintiff's ongoing reliance on hollow victories while ignoring the legal deficiencies in

                         their case demonstrates the need for the court to intervene. This 11-page opposition is yet another

                         attempt to prolong meritless litigation, wasting judicial resources and further supporting the case

                         for sanctions.


                                                                   11 PARAGRAPH 2
                         There is no basis whatsoever for sanctions to be ordered against Ohana or M&S . Dillon-Capps
                         cannot meet his burden to establish he is entitled to this extraordinary remedy which should be
                         exercised in only rare and exceptional cases. See Garcia v. Folger Pratt Development, Inc. , 155
                         Md. App . 634, 678 (2004). In his Motion, Dillon-Capps utterly fail s to establish any factual or
                         legal basis that would make this case one of the exceptionally rare situations in which an order
                         for sanctions against Ohana, its counsel , or both, under Rule 1-341 is appropriate . Hi s Motion is
                         entirely without merit and should be denied.
                         8       Where is the specific harm? Miles & Stockbridge fails to explain why I would spend

                         four years working for Ohana, including eight months trying to convince them to conduct a

                         proper investigation instead of sending Holly Butler to perform a sham investigation. The

                         culmination of their misconduct occurred on June 13 and 14, when it became clear that their true

                         intent was to retaliate against me. What was the purpose of attaching an employment contract

                         with missing pages in their filing? How does this help in a contract dispute?

                         9       What do you call litigation that has:


                                                                                                                   Page 4 of 61



Affidavit of Bad Faith                                           Page# 4 of61                                        Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25    Page 5 of 226




                                1.     No supporting evidence: There has been no production of material proof to

                                substantiate the claims they've made against me.

                                2.     Lack of prima facie requirements for a contract dispute: They have failed to

                                meet the basic elements necessary for a contract claim.

                                3.     No harm, no basis for relief: Without a demonstrable injury, there can be no

                                legal relief. This is a fundamental flaw in their case.

                                4.     Three counts of perjury: The president of Ohana claimed that I refused to give

                                him access, refused to give HEA access, and provided no updates. Yet:

                                       4.1     There is a written agreement to give Justin Drummond access, which he

                                       deliberately evaded.

                                       4.2     Plaintiff's own Exhibit 1B-the "Cease and Desist FMLA Letter"-shows

                                        that I emailed Richard Hartman to provide HEA access.

                                       4.3     I forwarded email threads to Justin Drummond that constituted updates,

                                        proving I never refused access.

                         10     Richard Hartman's shifting testimony: He consistently confuses refusal for

                         compliance and misstates the roles of various parties, at times saying Glenn Norris gave him the

                         orders, and at other times saying it was Justin Drummond who instructed him to send the

                         demand letter on June 12, 2024.

                         11     The PCI Expert's confusion: Ohana's PCI expert doesn't understand the difference

                         between a small business and enterprise tech page, questioning how a company with 1,500

                         employees across six states could run systems without more advanced account management.




                                                                                                              Page 5 of 61




Affidavit of Bad Faith                                        Page# 5 of61                                      Exhibit 107
                 Case 1:24-cv-03744-BAH                Document 16-8        Filed 01/03/25       Page 6 of 226




                         Their failure to recognize how Nevada's law and PCI compliance tie together shows a

                         fundamental misunderstanding of industry standards .

                                5.      Md. Code, Com.§ 14-3503(b): Codifies the requirement for businesses like

                                Ohana to implement reasonable security procedures like PCI DSS v4.

                                6.      Md. Code, Com.§ 13-301(9) : Prohibits deceptive practices, including claiming

                                compliance with PCI standards while demanding actions that violate those very

                                standards.

                                7.      Md. Code Ann., Crim. Law§ 7-302: Prohibits exceeding authorized access.

                                Ownership does not confer the right to violate legal obligations, and Glenn Norris ' s

                                refusal to answer questions about the requested access made compliance with PCI

                                requirements legally impossible.

                         12     Failure to communicate: This could have been resolved had Norris, Drummond, or

                         Brick simply said, "Ryan Brooks is replacing you, and he needs to be set up. " Instead, they

                         remained silent, knowing that if they explained the need for access, I might have found a way to

                         approve it. Their refusal to communicate furthered the hostile work environment and perpetuated

                         ongoing violations of my ADA and FMLA rights.

                         13     Harassment and discrimination: For eight months, I was harassed for blowing the

                         whistle on accounting irregularities, filing an HR complaint about discrimination, and again for

                         reporting verified instances of fraud. My federal rights under ADA and FMLA were continually

                         violated during this time, and this harassment was directly tied to my communication style- a

                         style rooted in gender and disability.




                                                                                                                Page 6 of61



Affidavit of Bad Faith                                       Page# 6 of61                                         Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8         Filed 01/03/25         Page 7 of 226




                         14     Retaliation for whistleblowing: I reported accounting irregularities, discrimination, and

                         fraud-each time facing retaliation . I took FMLA leave due to the hostility, only to be subjected

                         to further harassment and a fraudulent lawsuit while still on protected leave . Miles &

                         Stockbridge 's so-called fraud investigation was merely a pretense to harass me further.

                         15     Physical and psychological harm: Due to their actions, I now suffer from life-

                         threatening conditions, memory issues, and catatonia. The harm was compounded by the

                         deliberate violations of my FMLA rights and ADA accommodations, leaving me permanently

                         affected. Miles & Stockbridge continued to violate these rights, making it impossible for me to

                         fully engage in the defense of this case without                       Holly Butler

                         significant support from my family.

                         16     Intentional efforts to block my                                    Friday, Dec 22 • 10:52 AM



                         participation : Instead of using the personal contact       Good morning, Mr. Wagner. My name is
                                                                                     Holly Butler; I am an attorney with the law
                         information they've had since December, Miles &             firm of Miles & Stockbridge. I have been
                                                                                     engaged by Obama Growth Partners to
                         Stockbridge deliberately sent important notices to an       conduct an independent investigation
                                                                                     relating to your recent allegations
                         email address I was barred from accessing. This was         regarding potential violations of the law.


                         not an accident but a calculated move to prevent me         I am contacting you by text as I have been
                                                                                     informed that this is your preferred

                         from attending the TRO hearing, further evidenced by        method of communication to coordinate a
                                                                                     meeting.
                         the erroneous 10-day notice citation and the
                                                                                     Please advise as to whether you are
                                                                                     willing to speak with me and when you
                         scheduling violations that followed.
                                                                                     would be available for a videoconference
                                                                                     meeting during early January.




                                                                                                                           Page 7 of61



Affidavit of Bad Faith                                       Page# 7 of61                                                      Exhibit 107
                 Case 1:24-cv-03744-BAH                   Document 16-8           Filed 01/03/25      Page 8 of 226




                                 from:    Frenkil, Steven D. <sfrenkil@milesstockbridge.com>
                                    to:   "ryan@mxt3.com" <ryan@mxt3.com>
                                 date:    Dec 20, 2023, 5:12 PM
                              subject     Re: [EXTERNAL] Inquiry for Legal Assistance in Employment, Whistleblower, and
                                          Defamation Matters
                           mailed-by:     milesstockbridge.com
                           signed-by:     milesstockbridge.com
                              security:   8 Standard encryption (TLS) Learn more
                                          Important mainly because it was sent directly to you.


                         17       No pre-hearing conference: There was no pre-hearing conference for the TRO, and I

                         was given only two days' notice. During this time, I was struggling with cognitive issues,

                         unaware of the full scope of the lawsuit. My wife had to sit beside me just to ensure I stayed

                         focused during the early stages of the trial. For the first month, I was unable to manage basic

                         legal tasks without constant supervision .

                         18       Personal vendetta: Miles & Stockbridge has lost to me before, and this lawsuit is

                         personal for them. Ending the hearing day, Robert Brennen stating, "We will do anything to win

                         this case." This explains why they have a team of six attorneys against a pro se defendant- an

                         extraordinary show of force motivated by personal pride rather than justice.

                         19       Legal strategy moving forward : While their tactics are transparent, the real issue is their

                         continued abuse of the Maryland judicial system, relying on depriving me of my federal and

                         constitutional rights they have squandered the advantage by being careless and in doing so have

                         jeopardized those who trusted them . Instead thinking of others, including their client they

                         continue to incur more liability in this case, but their failure to cut losses early is making this

                         case quite a firm base for me to lay down arguments for many litigation paths and at this point, I

                         have already won more than this case. Options that I would have considered unlikely or

                                                                                                                      Page 8 of61



Affidavit of Bad Faith                                            Page# 8 of61                                            Exhibit 107
                 Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25       Page 9 of 226




                         implausible on June 13, 2024, are now primed and ready, and if Miles & Stockbridge responds

                         as predicted then I will have sealed not just the just then next win . I will win the real prize on

                         summary judgement. I apologize to the court, but I argue that they opened this up as fair game

                         with their own papers.

                         20     Obstruction of evidence: When I requested the transcript for the June 27 , 2024, hearing,

                         Miles & Stockbridge provided it immediately. Yet, when I asked for the June 26, 2024,

                         transcript, they suddenly imposed arbitrary conditions. It took months for them to finally produce

                         the document, further demonstrating their intent to obstruct.

                         21     Mockery of my disability: Their motion refers to my legitimate disability and the harms

                         they caused as "ramblings," which is not only offensive but sanctionable. This conduct continues

                         to show their intent to humiliate rather than resolve this dispute.

                         22     All of these actions are sanctionable: Based on the egregious misconduct detailed

                         above, sanctions under Rule 1-341 are not only appropriate--they are necessary.


                                                                SANCTION CHECK

                         23     With that being said, the following actions taken by Ohana and its counsel, Miles &

                         Stockbridge, are sanctionable under Maryland law:


                         BAD FAITH LITIGATION
                         24     A party may be sanctioned if it engages in litigation without any legitimate legal or

                         factual basis, or for purposes of harassment, delay, or improper motive.




                                                                                                                    Page 9 of61



Affidavit of Bad Faith                                        Page# 9 of61                                           Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8            Filed 01/03/25   Page 10 of 226




                         25      Citation: Inlet Assocs. v. Harrison Inn Inlet, Inc., 324 Md. 254, 267 (1991) ("Sanctions

                         are appropriate where a party's actions were pursued in bad faith, for improper purpose, or were

                         frivolous.") .


                         SUBMISSION OF FALSE OR FRAUDULENT EVIDENCE
                         26      Sanctions may be imposed when a party submits false or misleading evidence or makes

                         false representations to the court.

                         27      Citation: U.S. Health, Inc. v. State, 87 Md. App. 116, 133-34 (1991) (sanctions

                         warranted where evidence was submitted fraudulently to mislead the court).


                         VEXATIOUS OR FRIVOLOUS FILINGS
                         28      Sanctions can be imposed if a party or attorney files frivolous motions or engages in

                         unnecessary and vexatious legal maneuvers that burden the court.

                         29      Citation: Christian v. Maternal Fetal Medicine Assocs. of Md., 179 Md. App. 365 , 380

                         (2008) (frivolous filings and repeated failure to present legitimate arguments may warrant

                         sanctions).


                         ABUSE OF PROCESS
                         30      Using the court system to achieve an illegitimate goal, such as harassing an opponent or

                         gaining leverage in unrelated matters, can lead to sanctions.

                         31      Citation: One Thousand Fleet Ltd. P 'ship v. Guerriero, 346 Md. 29, 37 {1997) (sanctions

                         for abuse of process when a party's motive for litigation is improper) .


                         DELAY OR OBSTRUCTION OF JUSTICE
                         32      Engaging in tactics meant to delay proceedings or obstruct justice can lead to sanctions,

                         including financial penalties or case dismissal.

                                                                                                               Page 10 of61



Affidavit of Bad Faith                                         Page# 10 of61                                       Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25        Page 11 of 226
•



                             33     Citation: Garcia v. Folger Pratt Dev. , Inc., 155 Md. App. 634,678 (2004) (deliberate

                             delay and obstruction of justice warrant sanctions).


                             FAIL URE TO PROVIDE PROPER NOTICE
                             34     Sanctions can be issued if a party fails to provide the notice required by rules, such as

                             failing to serve documents properly, especially when this failure is done intentionally to

                             prejudice the other party.

                             35     Citation: Kougl v. Xspedius Mgmt. Co. of Rockville, LLC, 158 Md. App. 641 , 655 (2004)

                             (failure to provide proper notice of filings or hearings can result in sanctions).


                             PERJURY OR FALSE STATEMENTS IN AFFIDAVITS OR TESTIMONY
                             36     Providing false statements in sworn affidavits or during testimony can result in sanctions,

                             including referral to the Attorney Grievance Commission or other penalties.

                             37     Citation: Piperv. Layman , 125 Md. App . 745 , 754 (1999) (deliberate false statements

                             made under oath are grounds for sanctions).


                             RETALIATORY OR HARASSMENT-BASED LITIGATION
                             38     If a party files litigation primarily for retaliatory purposes, to harass, or intimidate, this

                             can be grounds for sanctions under Rule 1-341 .

                             39      Citation : Inlet Assocs. v. Harrison Inn Inlet, Inc., 324 Md. 254, 267 ( 1991) (courts may

                             sanction parties for retaliation-based litigation that serves no legitimate purpose).


                             FAIL URE TO PRODUCE EVIDENCE OR WITHHOLDING EVIDENCE
                             40      If a party intentionally withholds evidence or fails to produce documents that have been

                             requested and ordered, this can result in severe sanctions.



                                                                                                                        Page 11 of61



    Affidavit of Bad Faith                                       Page# 11 of61                                            Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25       Page 12 of 226




                         4      Citation: Hossler v. Home Loan Inv. Bank, F. S. B., 410 Md. 580, 610 (2009)

                         (withholding key evidence warrants sanctions) .


                                                               Ill PARAGRAPH 3
                    I 3. Dillon-Capps is Ohana's former Vice President of Information Technology.
                         41     Yes, I was Ohana's Vice President oflnformation Technology, and that is precisely

                         why I have firsthand knowledge of the inner workings of the company, including its violations of

                         industry standards and its fraudulent activities. I was also the PCI Compliance Officer and that

                         made me responsible for ensuring that the company complied with PCI DSS standards, which

                         are rooted in laws that span across multiple states and federal jurisdictions. The fact that I held

                         this position makes it even more concerning that Ohana and its counsel continue to ignore the

                         legal and technical obligations required of them.

                                                               IV PARAGRAPH4
                         4. Ohana sued Dillon-Capps on June 14, 2024, asserting causes of acti on for (i) breach
                         of contract; (ii) breach of common law employee's duty of loyalty, and (iii) under MD.CODE
                         ANN. ,CRIM. L AW. , §7-302(g) based on Dillon-Capps ' violation of MD . CODE ANN ., CRIM . LAW .,
                         §7-302(c) (which include, in summary, actions causing the malfunction or interruption of
                         computers or networks or computer data, and actions altering, damaging, or destroy ing
                         computers, or networks or computer data).
                         42     There is no valid contract: Ohana has failed to produce a complete, valid contract. The

                         documents they ' ve submitted contain missing pages, which immediately raises questions about

                         their legitimacy. A contract with missing terms is not a valid contract, and it does not require

                         external evidence to prove this.

                         43     Contradictions in their claims: Ohana ' s own language undermines their argument.

                         They accuse me of refusing to take certain actions, yet simultaneously claim I engaged in

                         actions that caused harm. How can someone perform an action that allegedly caused hann when

                                                                                                                  Page 12 of 61



Affidavit of Bad Faith                                       Page# 12 of61                                          Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25      Page 13 of 226




                         the very premise of their complaint is a refusal to act? This fundamental inconsistency in their

                         case highlights the lack of coherence in their claims.

                         44     Incorporation by reference: I incorporate and adopt by reference the factual averments

                         and arguments contained in my Motion to Strike Opposition to Vacate Order, Affidavit of Legal

                         Obligations, and the Exhibits for the Affidavit of Legal Obligations in accordance with Md. Rule

                         2-303(d). For brevity, the essential points are summarized here:

                                 1.     PCI DSS v4 Compliance: PCI DSS v4 is the application of laws from across all

                                50 states and the federal government, ensuring that businesses meet legal standards for

                                handling payment card information. Ohana and Miles & Stockbridge would have the

                                court believe that the credit card industry imposes these standards arbitrarily, but this is

                                absurd. Businesses agree to and implement PCI standards because they are essential to

                                comply with laws governing data security. Their argument that these standards are

                                optional or for "funzies" is legally unsound and factually incorrect.

                                2.      Multijurisdictional impact: Pages I 6-95 of the PCI DSS v4 manual cover the 12

                                core requirements, which apply to laws in Maryland, Washington, California, Tennessee,

                                Florida, and DC-jurisdictions in which Ohana Growth Partners operates. This is

                                precisely why, on June 26, 2024, I moved to relocate the case to federal jurisdiction.

                                Ghana's actions violate laws in five states and DC, which clearly exceed the jurisdiction

                                of Baltimore County Circuit Court.

                                3.      Judge Barranco's question: Judge Barranco asked why Ohana couldn 't simply

                                do what they want in terms of access. The answer lies in Section Ill of the PCI DSS

                                standards and Section 11-D on "Operational Necessity." The question of "what is the


                                                                                                                 Page 13 of61



Affidavit of Bad Faith                                       Page# 13 of61                                          Exhibit 107
                Case 1:24-cv-03744-BAH                  Document 16-8       Filed 01/03/25     Page 14 of 226




                                access for?" must be answered before access is granted. Granting unrestricted access

                                without knowing its purpose is not only irresponsible, but it also violates PCT DSS

                                standards and laws. This shows that their demand for access without justification was

                                reckless and illegal.

                                4.      Real-world experience: To illustrate the importance of these standards, 16 years

                                ago, I worked on a project with Symantec where I helped secure a SAS70 certification

                                after the company had failed multiple times. This example is not to boast, but to

                                demonstrate that standards like PCI DSS are complex and essential for legal compliance.

                                Ignoring these standards-especially when they protect sensitive consumer data-is

                                negligence and legal malpractice.

                         45     Public interest and safety: In cases where consumer data is at risk, the overwhelming

                         balance of harm should favor protecting that data. When an executive or owner enters a

                         courtroom with vague assertions of possible harm, that is a red flag. The real harm comes from

                         their failure to comply with the security standards designed to protect consumers, not from an IT

                         professional who insists on following the law.


                                                               V PARAGRAPHS
                         5. All three of Ghana ' s claims are based upon the Dillon-Capps ' actions to lock Ghana out of
                         administrative control of its Microsoft 365 software account---which includes Ghana ' s company
                         email accounts and document management system, and GoDaddy.com domain name
                         registrations---which control access to and administration of Ghana ' s websites, and upon Dillon-
                         Capps' alleged refusal to comply with repeated directives to extend such administrative control
                         to Ghana' s officers and outside IT consultants.
                         46     For starters, GoDaddy was not mentioned until there was a lawsuit and I provided the

                         MF A code to allow them to access my account without there being any refusal to that either.

                         Second, Did anyone read Davit Levett's affidavit? All I did was have to present the idea that

                                                                                                               Page 14 of 61



Affidavit of Bad Faith                                      Page# 14 of61                                           Exhibit 107
                Case 1:24-cv-03744-BAH                        Document 16-8                  Filed 01/03/25          Page 15 of 226




                         HEA didn't appear to be involved and Miles & Stockbridge immediately provided the affidavit

                         that says the following:

                                         3.                        20..-1 BEA              rmiDed by 0mm GtoMb P3nDers. ilC



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                                time I bs\-. bem im
                                a..·s Mx:md l6S Ti
                                5.            Hartman Executive Advisors were involved since June 12, 2024, and so why

                                didn't they respond to the numerous emails to reach them to give them access? The

                                answer is not important because this is Estoppel and it prevents a claim for relief.

                                              1     OD Ju» ...     20_-1    asbd Mr. Mmim:z.        access me Ohm.a Mlaosaft 365

                                     Telllllll dm:iDg a MK:rosaft Tesarm Z1:11MODg, ,; •     amf«eacJ to ~ bis c.ocqM"er saem
                                     shc,aizlg die Temm.. IDd                  • -ts ~ o o tile Team reprdmg ~ for

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                                  mD br:tm@pJpppm......pgoso@.com:


                                6.            Mr. Martinez is the Help Desk Manager, and this paragraph is Mr. Martinez using

                                him administrative access . The basis for injunctive relief was they had no other

                                administrators, and despite their own evidence disproving this fact Miles & Stockbridge

                                say in paragraph 5: " lock Ohana out of administrative control of its Microsoft 365

                                software account"




                                                                                                                                         Page 15 of61



Affidavit of Bad Faith                                                 Page# 15 of61                                                       Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8           Filed 01/03/25       Page 16 of 226




                                7.      David Levet says that they watched the Help Desk Manager access the same

                                Microsoft 365 account and access the administrative back end to verify the information

                                provided on June 26, 2024. To be 100% clear that Ohana could access David Levet says




                         47      So, the court does not miss the point here - David Levett is accessing my email account

                         and saying that "I" could access the Global Admin accounts. David Levett completed the task

                         and this is how they accessed the accounts.

                         48     Miles & Stockbridge in a pursuit to press the perjury issue on me and distract the issue

                         away their own perjury destroys their own claim on why they needed injunctive relief and to

                         counter act one count of estoppel they strengthen it with a confession. Their handling of the

                         lawsuit is so negligent that it borders on intentional as a defense for their client.

                         49     The reason they haven't is because I told the court multiple times that I was, and still am,

                         having memory issues.

                         50     It was highly inappropriate for me to be sworn in and for my statements to have

                         been treated as testimony. Given my documented memory issues and cognitive impairments, it

                         was not only improper but also in violation of the legal standards governing witness competency.

                         I was not mentally or physically in a position to accurately recall events or comprehend the full

                         significance of my testimony.



                                                                                                                 Page 16 of61



Affidavit of Bad Faith                                        Page# 16 of61                                         Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25      Page 17 of 226




                         51     Competency to Testify: Under Maryland Rule 5-601 , a witness must have the mental

                         capacity to observe, remember, and communicate facts reliably, as well as understand the

                         obligation to tell the truth. At the time I was sworn in, I was suffering from significant memory

                         issues, which impaired my ability to recall events or communicate them effectively. The court

                         failed to assess my competency to testify, even though it was evident that my memory and

                         cognitive condition were compromised.

                         52     Failure to Provide Transcript: When I requested the transcript from Judge Barranco's

                         clerk because I could not remember what was said during the proceedings, they failed to provide

                         it in accordance with the rules governing access to court records . My inability to recall the

                         testimony I provided further highlights because it was inappropriate for me to have been sworn

                         in without proper consideration of my mental condition. The refusal to provide the transcript

                         denied me the ability to review and address any inaccuracies or issues with my testimony.

                         53     When I asked Miles & Stockbridge: They obstructed the evidence in their position and

                         set conditions for maybe they will then. Months later they finally provided it to me on a

                         subsequent demand where I called it obstruction .


                         LEGAL ARGUMENT
                         54     Maryland Rule 5-601: This rule states that every person is competent to be a witness

                         unless they lack the capacity to perceive, remember, or communicate facts . The court has a duty

                         to assess this capacity, especially when there are clear indications of cognitive or memory issues.

                         55     Request for Transcript: The failure to provide the transcript violates the principles of

                         transparency and fairness, especially when the witness has requested it due to cognitive




                                                                                                                 Page 17 of61



Affidavit of Bad Faith                                       Page# 17 of61                                          Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25      Page 18 of 226




                         impairments. It also limits the witness's ability to review the proceedings and defend against any

                         potential inaccuracies in the testimony.


                                                               VI PARAGRAPH6
                                       6. Dillon-Capps is and always has been self-represented in this matter.
                         56     While I am self-represented on the court record, this statement omits critical

                         context. I had retained an attorney with the intent to negotiate a resolution outside of the

                         courtroom. Unfortunately, due to a bereavement, my attorney was unable to continue

                         representation. Upon learning of the active TRO on the Monday following the lawsuit filing, the

                         attorney returned all fees paid up to that point. This was not an isolated issue-this was the sixth

                         attorney I consulted, and five had already conflicted out due to prior connections with Ohana

                         Growth Partners.

                         57     This pattern of attorney conflicts raises a significant concern: How often does Ohana

                         Growth Partners appear before this court? The number of attorneys who were conflicted out

                         suggests that Ohana engages in a practice of saturating the legal field, effectively stacking the

                         deck against anyone who might oppose them. This is not a unique situation but rather their

                         standard operating procedure, evidenced by the numerous cases filed by Ohana in Maryland.

                         58     Ohana's litigation tactics are not about seeking justice--they are about exerting

                         power and control. For example, Ohana sued a cancer patient for $500 and, during the

                         litigation, put this person on display, encouraging others to clap while the case proceeded. In

                         another instance, a former employee was fired, only to find the evidence they had collected

                         mysteriously disappeared, leading to the dismissal of their case. These cases are intended not to




                                                                                                                 Page 18 of 61



Affidavit of Bad Faith                                       Page# 18 of61                                          Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25      Page 19 of 226




                         resolve legal disputes, but to serve as a deterrent to others. By leveraging financial and legal

                         resources, Ohana overwhelms its opponents.

                         59     Overconfidence and disregard for opponents : Ohana Growth Partners and Miles &

                         Stockbridge entered this lawsuit with overconfidence, assuming it would play out like their

                         previous cases. However, this time they are facing an opponent determined to expose their

                         fraudulent tactics-tactics that have caused me permanent, life-threatening harm. Rather than

                         acknowledge the harm they've inflicted, they have responded by seeking my incarceration and

                         mocking my suffering in their legal filings .

                         60     The role of my attorney: The fraudulent nature of this lawsuit, along with the stark

                         contradictions between the facts and the proceedings by the second day, were so apparent that

                         even my bereaved attorney began questioning the truth. Initially, they placed trust in the

                         professional ethics of Miles & Stockbridge. However, since then, Miles & Stockbridge has

                         repeatedly demonstrated a willingness to disregard both legal obligations and ethical

                         standards. Their strategy appears to be one of declaring falsehoods with enough conviction in

                         the hope of misleading one more judge, only to later manipulate the narrative through a public

                         relations campaign. This pattern of conduct further exemplifies their contempt for the legal

                         process.

                         61     Miles & Stockbridge and Ohana's final position is clear: They have presented no

                         evidence, no legitimate harm, and no valid claim for relief. There is no reasonable path to victory

                         for them in this case, and unlike their other opponents, I do not view time as weakening my

                         resolve. The principle of mitigating one 's losses now applies squarely to the Plaintiff. I cannot

                         simply walk away from this lawsuit, and every delay on their part only amplifies the harm


                                                                                                                 Page 19 of 61




Affidavit of Bad Faith                                       Page# 19 of61                                          Exhibit 107
                Case 1:24-cv-03744-BAH                   Document 16-8             Filed 01/03/25          Page 20 of 226




                         inflicted on me, whether financial or through the ongoing threat to my health from catatonia.

                         This speaks volumes about the danger they pose to both the court and the public at large.

                         62        The Notice Pleading Standard exists to distinguish between those deservi ng of judicial

                         grace and those whose actions demand sanctions. Miles & Stockbridge and Ohana Growth

                         Partners, LLC must either serve as an example that deters others from abusing the judicial

                         system or risk becoming a symbol for those who view the court 's decision as endorsing their

                         unethical conduct rather than imposing the sanctions their behavior merits.

                          Onen              2/2S/2011    MCT FEDERAL CREDIT UNION vs MENSAH, JERILYN ROSE
                          Ooen              7/2/20 15    STATE OF MD CENlRAL COLLECTJONS UNIT vs MARTIN, JORDAN ALAN GILL
                          Onen              10/9/201S    STATE OF MD CENTRAL COLLECTION UNIT vs MYERS MICHAEL DAVID
                          Closed            3/2/20 17    HAYDEN, VERNON vs PF GROWTH PARTNERS, LLC
                          Closed            11/29/2017   STATE OF MD CENTRAL COLLECTION UNIT vs CLITES ZACHARY ADAM
                          Open              3/28/2018    JUDGMENT GROUP vs FARRELL, IAN THOMAS
                          Onen              6/4/2018     FRIENDLY FINANCE CORPORATION vs CURRY.DEWAYNE
                          Closed            7/19/2019    STATE OF MD CENTRAL COLLECITON UNIT vs DANIELS, SHANTEL DENISE
                          Closed            2/8/2021     JEROME WIMBUSH vs. PF-ROCKVILLE LLC ct al.
                          Closed            3/31/202 1   Michael Morrissey vs. PF Growth Partners LLC
                          Onen / Judmient   6/30/2021    LVNV FUNDING LLC vs. SHAKITA SMITH
                          Closed            3/3/2022     Atchison vs PF Growth Partners LLC
                          Closed            10/20/2023   Banv Tiedeman vs. Ohana Growth Partners LLC
                          Closed            5/22/2024    Jordan Chisholm vs. Ohana Growth Partners, LLC
                          Open              6/14/2024    Ohana Growth Partners LLC vs. Rvan Dillon-Caoos

                                                                   Vll PARAGRAPH 7
                         7. Ohana also filed a Motion for Temporary Restraining Order and Preliminary Injunction
                         ("Motion for TRO/Pl") along with the filing of its Complaint on June 14, 2024. Dillon-Capps
                         was served with the Complaint, Summons, and Motion for TRO/PI on June 17, 2024.
                         63        The TRO was issued at 10:50 AM on June 17, 2024, and I was served with the

                         Complaint, Summons, and Motion for TRO/PI nearly an hour later. This means that I was not

                         given the opportunity to be heard or to inform the court of the ongoing misconduct by Ohana and

                         its counsel before the TRO was granted. I was denied my right to a fair hearing, and this lack of

                                                                                                                      Page 20 of 61




Affidavit of Bad Faith                                           Page# 20 of61                                          Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25       Page 21 of 226




                         notice constitutes a violation of due process. The issuance of the TRO before I could present any

                         evidence or respond highlights the abusive nature of this litigation and further demonstrates

                         Ohana's intent to use the court system as a tool for retaliation rather than justice.


                                                              Vlll PARAGRAPH 8
                         8. The Court entered Ohana' s requested TRO on June 17, 2024, directing Dillon-
                         Capps to provide Ohana and its consultants administrati ve control over Ohana 's Microsoft 365
                         software account and GoDaddy.com domain name registrations.
                         64     Plaintiff's own expert, David Levett, provided an affidavit stating that Ohana already

                         had other administrators who had access to their Microsoft 365 accounts. This directly

                         contradicts the claim of an urgent need for access and demonstrates that Ohana misrepresented

                         the facts to the court. Misleading the court is never in your favor.

                         65     I would also like to remind the court, Ohana, and Miles & Stockbridge that a simple

                         request for access-rather than a lawsuit-would have achieved the same result. If Ohana had

                         simply said, "Ryan Brooks is replacing you" or provided any legitimate reason for needing

                         access, I would have been legally obligated to tum over control. This would have been far easier

                         and more cost-effective than pursuing a fraudulent lawsuit that now exposes them to significant

                         legal and financial consequences.

                         66     The complaint remains unchanged, still lacking any particularized harm or connection

                         to how I supposedly caused damage, and it still does not include a complete contract. How could

                         Ohana possibly succeed when they filed a lawsuit without a legitimate basis for relief? This is

                         still true today, and it weakens their entire argument.

                         67      No one files a lawsuit after the fact and leaves a "high-risk" IT employee to decide

                         how they will proceed. In any true high-risk IT scenario, the standard protocol is to secure a


                                                                                                                 Page 21 of61



Affidavit of Bad Faith                                       Page# 21 of61                                         Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 22 of 226




                         search warrant, seize hardware, and resolve any risk immediately with law enforcement present.

                         The fact that Ohana did none of this shows they never considered me a genuine risk . Instead,

                         they had the head of the help desk assist them in gaining access. Meanwhile, I now suffer from a

                         life-threatening condition and significant memory loss-hardly a fitting outcome for someone

                         who was supposedly such a risk. Ohana's actions ruined my life while pretending to be at risk.

                         This, too, does not help their case.

                         68       The Affidavit of Legal Obligations lays out 120 pages ofreasons why Ohana's actions

                         not only violated multiple laws intended to protect the public but also caused the court to act on

                         fraudulent premises. The TRO, which was supposedly based on the need to enforce valid

                         contracts, becomes even more dubious when we consider that no valid contract has been

                         produced- four months later, and still, no complete contract exists. The missing pages from the

                         contract should have been an immediate red flag. Meanwhile, Ohana continues to ignore the

                         dozen-plus contracts they signed to maintain PCI compliance. Instead, they chose to commit

                         fraud upon the court to harass me as part of a broader retaliation. This fraudulent lawsuit has no

                         merit, and the court should not allow such behavior to continue under the guise of protecting

                         Ohana.

                         69       Why does Miles & Stockbridge continue to highlight this fraudulent TRO? Do they

                         believe the court will overlook the fact that this entire mess is due to their misconduct? The TRO

                         is riddled with wrongdoing, and it is hardly advisable to use it as a leading argument when it

                         stands as a monument to their fraud.

                                                                  IX PARAGRAPH 9
                         Dillon-Capps was served with the TRO. He knowingly and intentionally did not
                         comply with the requirements of the TRO.
                                                                                                                Page 22 of 61




Affidavit of Bad Faith                                          Page# 22 of61                                     Exhibit 107
                Case 1:24-cv-03744-BAH               Document 16-8          Filed 01/03/25     Page 23 of 226




                         70     You mean this order:


                                A. Provide Global Administrative Rights for Ohana's Microsoft 365 Account to Phil
                                Leadore of Hartman Executive Advisors and cease and desist the use of any access to
                                Ghana's Microsoft 365 Account and related applications, including Ghana ' s emai l
                                systems.
                                B. Provide Administrative Rights for Ohana's GoDaddy Account to Phil Leadore of
                                Hartman Executive Advisors and cease and desist the use of any access to or use of
                                Ghana's GoDaddy Account and related Internet domain name registrations .
                         71     I also clearly remember asking how this could be logistically accomplished, and

                         rather than providing any guidance, you attempted to portray me as either incompetent or

                         uncooperative. Let me break it down : How is it possible for one person to transfer administrative

                         rights for systems like Microsoft 365 and GoDaddy while simultaneously not accessing any part

                         of those systems? The TRO is self-contradictory. One cannot logically comply with the order to

                         transfer access while being prohibited from accessing the systems in question. To comply would

                         require violating the same order by accessing the systems.

                         72     Legal Precedents Regarding Conflicting Orders

                                8.      The Maryland Court of Appeals has held that conflicting orders are

                                unenforceable. A court cannot require a party to do something and simultaneously

                                prohibit the means necessary to comply with that same order. In Smith v. Smith, 427 Md.

                                611 (2012), the court ruled that conflicting obligations in court orders render them

                                unenforceable because they create an impossible legal standard for compliance.

                                9.      Additionally, in Hagerstown Trust Co. v. Nigh, 119 Md. 336,343 (1913), the

                                court stated that when faced with conflicting orders, it is worse to act than to refrain

                                from action . It is less harmful to withhold action when compliance would cause further

                                violation or result in even greater harm.


                                                                                                               Page 23 of61



Affidavit of Bad Faith                                      Page# 23 of61                                        Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25      Page 24 of 226




                         73     Therefore, my failure to comply was not due to willful disobedience but rather a result

                         of the impractical and conflicting nature of the TRO. By following the order, T would have been

                         forced to violate the very terms of the same order, putting me at risk of further legal

                         consequences. The court's order was not only unreasonable but also legally invalid based on

                         established precedent.

                                                               X PARAGRAPHIO
                         On June 26, 2024, the Court held a hearing on Ghana' s Motion for PT. Dillon-Capps appeared
                         and testified at the PI hearing. After the hearing, the Court granted Ohana ' s Motion for PI and
                         issued a preliminary injunction. The Preliminary Injunction contained the same requirements as
                         the TRO- it directed Dillon-Capps to provide Ohana and its consultants administrative contro l
                         over Ghana 's Microsoft 365 software account and GoDaddy.com domain name registrations.
                         74     The procedural handling of this case has been deeply flawed from the outset. On

                         June 17, 2024, Ohana obtained a no-notice TRO without giving me any opportunity to respond

                         or present my side. On June 18, 2024, instead of seeking a reasonable discussion or resolution,

                         Ohana immediately filed a petition to enforce the TRO-again, without any communication or

                         effort to resolve the matter outside of court.

                         75     On June 24, 2024, I learned that my letter to the court, addressed to Judge Truffer, had

                         been denied without any conversation or opportunity to explain my position. On that same day,

                         I found out that the show cause order that was submitted on the 20 th had been granted on the 21 st

                         and I had no chance to oppose because in 2 days I had a hearing for show cause and PI.

                         A. Directing Defendant to personally appear in open court to show cause as to why
                         they should not be held in contempt of this Court's June 17, 2024 TRO .
                         B. Requiring that, pursuant to Rule 15-206(d), a copy of this Petition for Civil
                         Contempt and the Court' s Order regarding the same be served on Defendant via email and first
                         class mail, postage prepaid to their addresses of record in this matter;
                         C. Directing that, pursuant to Rule 15-206(c)(2)(A), the alleged contemnor, Ryan
                         Dillon-Capps, file an answer to this Petition for Constructive Civil Contempt within ten ( I 0)
                         days1 of the service of the Court's Order;
                                                                                                                   Page 24 of61



Affidavit of Bad Faith                                       Page# 24 of61                                           Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25       Page 25 of 226




                         1 There is a Preliminary Injunction hearing scheduled for June 26, 2024. While less than ten (10)
                         days from the date
                         of this filing, in orderto promote judicial efficiency, Ohana requests that Dillon-Capps show
                         cause as to why they
                         should not be held in contempt at this hearing.
                         76     Not the correct citation. Miles & Stockbridge should have cited


                         Rule 15-206 - Constructive C ivil Contempt, Md . R. Spec. Proc. 15-206 ("2) Un less the court
                         finds that a petition for contempt is frivolous on its face, the court shall enter an order providing
                         for (i) a prehearing conference, or (ii) a hearing, or (iii) both. The scheduled hearing date shall
                         allow a reasonable time for the preparation of a defense and may not be less than 20 days after
                         the prehearing conference. An order issued on a petition or on the court's own initiati ve shall
                         state:")
                         77     The timeline of events reveals clear violations of due process:

                                 10.    The prehearing conference, which is required under Rule 15-206(c)(2)(A),

                                never occurred. This rule clearly mandates a prehearing conference or hearing and

                                 requires that the scheduled hearing date allow at least 20 days for the preparation of a

                                defense after the prehearing conference. These procedural safeguards were completely

                                bypassed.

                                 11 .   Lack of opportunity to address the court: Throughout this entire process, I was

                                consistently denied the opportunity to have a meaningful discussion with the court. From

                                 the no-notice TRO to the contempt petition and the combined hearings, I was

                                 systematically deprived of my right to be heard and to present a proper defense . The

                                 failure to follow Maryland's procedural requirements under Rule 15-206 resulted in an

                                 unfair and prejudicial process.




                                                                                                                  Page 25 of 61




Affidavit of Bad Faith                                       Page# 25 of61                                           Exhibit 107
                Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25     Page 26 of 226




                         78      Did you know that record shows that I was officially notified of this hearing on July 8,

                         2024. So, if we use that date as the date to schedule a prehearing conference. Then let's say a

                         few days is July 11 or 12, and so we go into a prehearing conference and if the timeline remained

                         for the rest, then on July 3, 2024, David Levett clears up the entire thing and the entire injunctive

                         relief goes away. No defense even needed, and I won 't repeat the above issue because you

                         clarified to the court it was exact conflicting order.

                                                               Xl PARAGRAPH 11
                         Dillon-Capps again knowingly and intentionally failed to comply with the Court 's
                         orders. He did not provide Ohana or its consu ltants admin istrative control over Ohana 's
                         Microsoft365 software account and GoDaddy.com domain name registrations.

                         79      Did I? We 've already established that Ohana always had access to their Microsoft 365

                         account, so it's pointless to claim I failed to provide something they already possessed. As for

                         the GoDaddy account, I raised logistical concerns about how to comply without violating the

                         conflicting orders, but none of those concerns were addressed by Ohana or Miles & Stockbridge.

                         80      Moreover, the term "consultants" seems oddly specific and intentionally misleading. ls

                         Ohana's lead attorney, Robert Brennen , offended by being called a consultant in this context, or

                         did he forget that he texted me without notice at 6:26 AM threatening incarceration if I wasn 't

                         awake at his beacon command. Despite the lack of notice or any reasonable opportunity to

                         comply, I did respond- providing the multi-factor authentication (MF A) codes necessary to give

                         Ohana access, without violating the injunctive relief.




                                                                                                                 Page 26 of61



Affidavit of Bad Faith                                        Page# 26 of61                                         Exhibit 107
                Case 1:24-cv-03744-BAH                                       Document 16-8                      Filed 01/03/25                    Page 27 of 226




                             +, •       Robert S. Br..
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                                                                                                                               +- •         Robert S. Br...
                                                              "'     C)I                                                                                               "'     QI
                                                                               contempt has ended and that the August          solution and why you should not be jailed
                                                                               r!!l hearing, for the purposes of               without access to your cellphone and
                             Between 8 and ~ this morning you will             determining whether you should be               other devices until you are ready to
                             receive a te•t message from GoOaddy in            incarcerated in the Baltimore County            comply.
                             connection with another anernpt to reset          Detention Center, should be canceled. If
                             the password on the Ohana GoOaddy                 you fail to comply, this text. and my earlier
                                                                                                                                                Wednnday. Juf 17 • 8, Tl AM
                             accounL The text wiR communicate a                ta.ts providing you easy opportunities to
                             numerical code needed to aU1hentlcate             end your contempt. will be presented to
                                                                                                                               You should have just received the text
                             the reset request. You should Immediately         the Court on August 7th and you will have       from Go0.ddy
                             send the code to me and Glenn Norris via          an opportunity to explain to Judge
                             te•t so that Ohana can complete the               Barranco why you refused this easy              Please send the verification code
                             reset and acquire administrative control          solution and why you should not be jailed
                             o,er the account as required by the               without access to your cellphone and
                                                                                                                                                                              633059
                             injunction. If you comply we will file a          other devices until you are ready to
                             notice with the Court confirming that your        comply.                                              you art! lucky i jusl ch11t:kt!d my phorrt!.
                             contempt has ended and that the August
                                                                                                                                    you need to give more notice
                             r!!l hearing, for the purposes of
                             determining whether you should be                              -fl<.U17 · 1:0AM
                             Incarcerated in the Baltimore County                                                              You should have just received a second
                             Detention Center, should be canceled. If          You should have just received the text          code
                             you fail to comply, this text. and my earlier     frornGoOaddy
                             texts providing you easy opportunities to                                                                                                        804930
                                                                               Please send the verification code
                             end your contempt, will be presented to
                             the Court on August 7th and you will have
                                                                                                                               Thank you for your cooperation.
                             an opportunity to explain to Judge
                             Barranco why you refused this easy                                                                t"21AM • AT&.T




                         5             (Text Message Evidence shown above) : On July 17, 2024, at 6:26 AM, Robert Brennen

                         sent a text message threatening me with incarceration if I did not comply with thei r impromptu

                         demand for access within roughly 90 minutes. I provided the MFA code at 8: 12 AM , after

                         stating, "You ' re lucky I just checked my phone-you need to give more notice." They then

                         asked for a second code, which I also provided. Brennen ended the exchange with, "Thank you

                         for your cooperation."

                         81            Miles & Stockbridge has a unique style of resolving issues-which seems to involve

                         sending threatening text messages at dawn, hoping someone checks their phone in time. One can

                         only imagine how this approach would work in a non-Pro Se situation, where a law firm would

                         be waking up their client or their client's attorney with these kinds of 6:26 AM demands. This is

                         consistent with their broader strategy of no-notice actions: from the no-notice TRO to a two-day




                                                                                                                                                                                   Page 27 of61



Affidavit of Bad Faith                                                               Page# 27 of61                                                                                   Exhibit 107
                Case 1:24-cv-03744-BAH                   Document 16-8           Filed 01/03/25         Page 28 of 226




                         contempt hearing, and now, a two-hour enforcement window. The fact that they managed to

                         get access at all is astonishing, given their lack of professionalism and courtesy.

                         82      Why not simply ask for access in the first place, instead of launching into a lawsuit that

                         has clearly been designed to harass and intimidate? This entire situation highlights the true

                         intention of this lawsuit-it's not about legitimate claims or resolving issues; it's about

                         harassment and leveraging the legal system as a power move. The fraudulent nature of this

                         lawsuit is merely a byproduct of their inability to create a legitimate claim. For Miles &

                         Stockbridge and Ohana, fraud and manipulation appear to be synonymous with litigation

                         strategy .

                                                                 XII PARAGRAPH 12
                         The Court held another hearing the very next day. Dillon-Capps again appeared and
                         testified at the hearing. At the conclusion of the hearing, the Court entered an order finding
                         Dillon-Capps in contempt of the Preliminary Injunction and fining him $2,500 for each ensuing
                         day that passed without his compliance with the Preliminary Injunction.,
                         1The Court rejected as not credible Dillon-Capps ' sworn testimony that he was unab le to access
                         the Microsoft 365 and GoDaddy accounts because Dillon-Capps could not locate "key fobs "
                         Dillon-Capps testified were needed for multifactor authentication in logging into the accounts. As
                         explained in the later filed July 3, 2024, Affidavit of Daniel J. Levitt, after Ohana finally regained
                         administrative control of the accounts Ohana confirmed that Court had correctly seen through
                         Dillon-Capps ' perjury: all Dillon-Capps needed to access the accounts was Dillon-Capps ' cell
                         phone, which Dillon-Capps had in the courtroom on June 26th and 27th . Dillon-Capps could have
                         complied with the Preliminary Injunction then and there, but intentionally chose to lie, under oath,
                         about key fobs and be found in contempt of the Preliminary Injunction.
                         83      Miles & Stockbridge is correct that Judge Barranco disregarded critical medical

                         documentation that had been on record since June 18, 2024, including two letters from separate

                         healthcare providers and the testimony of my wife, who is both a social worker and psychologist.

                         Despite the observable physical signs of my medical condition, such as twitching and shaking,

                         the judge dismissed this evidence and declared, in his professional opinion, that l was not


                                                                                                                         Page 28 of61



Affidavit of Bad Faith                                          Page# 28 of61                                               Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25      Page 29 of 226




                         "disabled enough" to be credible. Furthermore, my memory issues were repeatedly ignored,

                         despite the fact that they were directly relevant to my ability to comply with the court 's orders.

                         Now, Miles & Stockbridge is attempting to reframe the narrative to portray me as someone

                         who deliberately lied under oath. Yet, throughout this case, how many times has Robert

                         Brennen submitted statements that were demonstrably dishonest, as we have documented

                         here?

                         84      It is illogical to suggest that I would lie about needing a key fob and then turn around

                         and provide the account information necessary to help them gain access. I gave them exactly the

                         details I could remember, which included the names of the accounts they were looking for-

                         information that was instrumental in resolving their access issues. Contrary to their claims, I

                         did not withhold access; I was actively trying to help, even with the memory issues I was

                         dealing with.

                         85      As for the key fob issue, the changes to our security posture were part of a larger effort to

                         comply with PCI DSS v4, which was being rolled out in phases with evolving security

                         requirements. At times, adjustments were made to disable key fobs or alter access methods to

                         prevent accidental lockouts during transitions . My memory of when this change occurred is

                         incomplete, but it is clear that my statements were based on what I genuinely believed to be true

                         at the time.

                         86      The rest of Miles & Stockbridge' s argument is nothing more than an attempt to reframe

                         the facts to confuse the court and obscure the truth. As a reminder, Ohana always had access.

                         Daniel Levitt, in cooperation with the Help Desk Manager, confirmed that the accounts

                         mentioned in the hearing existed and that they were accessible. Ohana successfully accessed


                                                                                                                 Page 29 of61



Affidavit of Bad Faith                                       Page# 29 of61                                          Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8         Filed 01/03/25       Page 30 of 226
     •

                         those accounts without issue. Therefore, there was no harm, no justification for injunctive relief,

                         and no legitimate basis for this contempt findin g. What remains is a continued effort to harass

                         someone whose memory issues and health conditions are the direct result of Ohana 's actions .

                                            Xlll PARAGRAPH 13 AND 14 (AND BACK TO 10)
                         13. Dillon-Capps still did not comply with the Preliminary Inj unction.
                         14. On July 12, 2024, Ohana was able to regain administrative control of its MS 365
                         account with the assistance of representati ves of Microsoft Corporation, even witho ut the
                         cooperation of Dillon-Capps. On July 17, 2024, Dillon-Capps cooperated with Ohana fo r the fi rst
                         time and took action that allowed Ohana to regain adm inistrative contro l over Ohana ' s Go Daddy
                         Account and internet domain name registrations.
                         87     Paragraphs 13 and 14 are repetitive and contradictory. In Paragraph 14, Ohana

                         admits I cooperated with them regarding the GoDaddy account, yet in the same breath they

                         previously claim refusal. This inconsistency mirrors earlier contradictions where their filings

                         cited different sources for who gave the administrative order- first Glenn Norris, then Justin

                         Drummond, and finally Richard Hartman. Just like their confused argument on whether they had

                         fewer or more admins, Ohana's narrative shifts without any regard for consistency, relying on

                         irrelevant citations to Microsoft's small business pages. Their claims swing wildly from refusal

                         to cooperation, as seen between Paragraphs l 0 and 14, despite both referring to the same facts.

                         88     Let's be clear-there was no refusal. At no point did l refuse their demands, orders, or

                         anything else in this lawsuit. The reason they have no evidence of refusal is simple- it never

                         happened. Their strategy here seems to rely on repeating claims or pulling statements out of

                         context to mislead the court into believing that non-compliance occurred. In reality, I went out of

                         my way to find solutions to accommodate Ohana, even when they intentionally refused to

                         answer basic questions like, "What is this access for?"



                                                                                                                Page 30 of 61



Affidavit of Bad Faith                                      Page# 30 of61                                         Exhibit 107
               Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25    Page 31 of 226
     •

                         89     It defies logic to suggest that I refused access. If someone had said, "This person is

                         replacing you," it would have been a straightforward and logical transition . Do you really think I

                         was asking to speak to Ohana Growth Partners attorney because I wanted to stay and continue

                         working there? There was no motive for refusal. On the contrary, I was fully prepared to hand

                         over access. It is absurd to suggest I would refuse access to my replacement, and the fact that

                         Ohana eventually regained administrative control on the Go Daddy with my assistance on July

                         17, 2024, proves that I was cooperative when properly informed and contacted. If they had

                         asked sooner, it would have been given sooner.

                         90     As previously noted in Paragraph 10, the court was misled into believing there was non-

                         compliance, even though Ohana always had access to their Microsoft 365 account. The claims

                         of refusal are baseless and entirely unsupported by evidence. The key issue here is that Miles &

                         Stockbridge consistently failed to provide clear instructions or engage in reasonable

                         communication about the transfer of access, yet they were quick to accuse me of non-

                         compliance when the situation was far more complex.

                                                            XIV PARAGRAPH 15
                         On July 17, 2024, Ohana therefore filed a Notice of Withdrawal of Petition for Constructive
                         Civil Contempt that it had filed against Dillon-Capps. But Ohana reserved its right to seek
                         judgment against Dillon-Capps in an amount equal to the contempt fines accrued against him, as
                         well as the legal fees , consultant fees and other expenses relating to Ohana's claims against
                         Dillon-Capps.
                         91     The final reminder from Miles & Stockbridge is the imposition of a $2,500 daily fine in a

                         case based on a false narrative . Both Miles & Stockbridge and I agree on one fact- Judge

                         Barranco did not believe me, my wife (a psychologist), and two other mental health professionals

                         (a psychiatrist and another psychologist) regarding my medical condition. Instead, the Judge


                                                                                                                Page 31 of61



Affidavit of Bad Faith                                      Page # 31 of 61                                       Exhibit 107
                Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25        Page 32 of 226




                         accepted the false narrative perpetuated by Ohana and set a daily fine of $2,500, which was

                         entirely unjustified given the circumstances and the lack of legitimate grounds for injunctive

                         relief.

                         92        This $2,500 fine mirrors the argument in my Motion for Sanctions , which is being

                         opposed here. Miles & Stockbridge has already demonstrated that the $2 ,500 fine was linked to

                         their belief that I was perpetuating a false narrative. Given this, it is fair to apply the same

                         amount in sanctions to each individual who has been perpetuating this fal se and fraudulent

                         lawsuit against me . The individuals involved in maintaining this false narrative are :

                              •    Glenn Norris

                              •    Victor Brick

                              •    Richard Hartman

                              •    Justin Drummond

                              •    David Levett

                              •    Robert Brennen

                              •    Steven Frenkil

                              •    Holly Butler

                              •    Victoria Klein

                              •    Kim Edwards

                              •    Jessica Duvall

                         93        All 11 of these individuals have played a role in perpetuating the false narrative and

                         the attached fraudulent lawsuit. Each one is making the choice to keep this process going. While

                         I cannot withdraw from this lawsuit, these individuals have continuously chosen to proceed with


                                                                                                                    Page 32 of 61




Affidavit of Bad Faith                                        Page# 32 of61                                           Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8           Filed 01/03/25     Page 33 of 226




                         the deception. David Levett, although from a separate company, is directly responsible for the

                         act of estoppel they tried to label as refusal.

                         94      Therefore, I am requesting a daily sanction of $2,500 per individual, in line with the

                         court's original ruling, totaling $27,500 per day for all 11 people involved. The court has

                         already made it clear that $2,500 is a fair daily rate for this issue, as set by Judge Barranco .

                         Since Justin Drummond and I had a written agreement-the only enforceable contract on

                         court record in this case-I am also requesting that this amount be doubled as liquidated

                         damages under contract law. I am not asking for anything beyond the smallest amount of relief,

                         at the same rate that the court deemed appropriate for me, and applying standard contractual

                         liquidation to this case.

                         95      I will handle the rest of the litigation separately-specifically, the claims related to

                         FMLA violations, ADA discrimination, and the long-term life-threatening harm and

                         memory issues that have damaged my career. These issues are separate, and addressing them

                         through separate litigation will simplify this process. My current request is focused solely on this

                         issue, without delving into the more complex harms, because I need to begin treatment so that

                         medical professionals can assess the true extent of the damage .

                         96      As of today, 123 days have passed as of October 15, 2024, meaning the total amount at

                         $2,500 per day for 11 people is $6,675,000 . The difference between their case and mine is clear:

                         I was under conflicting court orders and still managed to comply, while they have no such

                         limitations and continue to choose to perpetuate this case. I am not asking the court to adjudicate

                         the full extent of the harm or any other complex issues at this time. Instead, I request that the




                                                                                                                 Page 33 of61



Affidavit of Bad Faith                                        Page# 33 of61                                         Exhibit 107
                Case 1:24-cv-03744-BAH                 Document 16-8         Filed 01/03/25      Page 34 of 226
      -,




                         meritorious defense or where there is excusable neglect. In this case, the complexity of the

                         litigation , conflicting court orders, and my documented health issues provide clear good

                         cause to vacate the default, as outlined in my Motion to Vacate.

                         100    Ohana has consistently relied on procedural tactics rather than addressing the

                         substance of their case. Their request for default was another attempt to use the legal process to

                         intimidate and harass, rather than to resolve legitimate legal claims. As detailed in my Motion to

                         Strike their Opposition, Ohana's position is not only procedurally flawed, but it also rests on an

                         unreasonable interpretation of the mles governing default, designed to obscure the fact that they

                         have no substantive basis for their claims.

                         101    The Court should vacate the Order of Default and reject Ohana 's attempts to gain an

                         unjust advantage through procedural shortcuts. Default judgments are reserved for cases where

                         there is no dispute regarding the defendant's failure to respond. Here, not only is there an

                         ongoing dispute, but Ohana has also failed to present any valid claims for relief. The court

                         should exercise its discretion to vacate the default, allow the case to proceed on its merits, and

                         address the underlying lack of a basis for the lawsuit itself.

                                                             XVI PARAGRAPH 17
                         In addition to the pleadings and papers described above, Dillon-Capps has filed
                         approximately 20 other motions and requests. The Court has denied each and every such motion
                         or request as each became rip for review.
                         102     Miles & Stockbridge inadvertently raises an important question about due process.

                         How is it possible that approximately 20 motions and requests have been denied when this

                         case, which lacks the fundamental requirements for a valid lawsuit, has continued to progress to

                         this stage? This case should never have reached this point, as it lacks a claim for relief and does


                                                                                                                Page 35 of61



Affidavit of Bad Faith                                       Page# 35 of61                                         Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25       Page 35 of 226




                         not meet the prima facie elements required to proceed. Instead of addressing these fo undational

                         issues, the court has allowed the case to continue, den ying valid motions without fu lly

                         considering the fact that there is no legitimate legal basis for Ohana' s claims.

                         103     Why hasn't this case ended sooner? The denial of my motions reflects a failure to

                         properly address the fact that Ohana 's lawsuit lacks any substantive merit. The absence of a

                         valid claim for relief has been a central issue from the beginning, and yet, despite raising this

                         issue in numerous motions, the case continues to mo ve forward based on procedural formal ities

                         rather than the legal and factual deficienc ies of the claims . It raises serious concerns about how

                         this case has been allowed to persist without resolving the fundamental question : What is the

                         legal basis for Ohana's claims?

                         104     Due process should not be about merely moving through procedural steps. It should

                         be about ensuring that a case has merit and meets the legal requirements to exist. Ohana has not

                         met those requirements, yet their lawsuit continues, while every effort to raise these critical

                         points has been denied. This raises the question of whether due process is being respected when

                         the court has consistently denied motions aimed at ending a lawsuit that lacks a legitimate claim

                         for relief.


                                                             XVII PARAGRAPH 18
                         Ten of Dillon-Capps' motions or requests, including his Motion for Sanctions, have been filed
                         since September 27, 2024, and are not yet ripe for review . In his various pending motions and
                         requests, Dillon-Capps makes unfounded allegations against Ohana, M&S , and even against the
                         judges of this Court. He accuses every judge of this court of "dereliction of duty" for not yet
                         ruling on his pending motions and requests, and he accuses seven judges of thi s Court of being
                         engaged in a conspiracy with Ohana.
                         105     The failure to rule on my motions- including those aimed at addressing the fraudulent

                         basis of this case-raises serious concerns about due process and the integrity of the

                                                                                                                  Page 36 of61



Affidavit of Bad Faith                                       Page# 36 of61                                           Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25       Page 36 of 226




                         proceedings. The motions I have filed since September 27, 2024, including my Motion for

                         Sanctions, are not yet ripe for review, but they highlight fundamental flaws in Ohana's case

                         that should have been addressed long ago . The unfounded nature of Ohana 's lawsuit is well-

                         documented, and my motions aim to correct the ongoing injustice of allowing this case to

                         continue without a valid legal basis.

                         106    Unfounded allegations? Far from being unfounded, my accusations are based on the

                         continued failure to rule on motions that would bring an end to a fraudulent lawsuit-a case

                         that lacks a claim for relief, lacks evidence, and fails to meet the legal requirements

                         necessary to exist. The judges of this Court have a duty to protect the integrity of the legal

                         process and dismiss cases that do not meet basic legal standards. When that duty is not fulfilled,

                         it is entirely reasonable to question why a case with no legitimate foundation continues to

                         proceed.

                         107    Dereliction of duty? If the court continues to allow a case with no basis for relief to

                         move forward, that is a failure of the legal system. It is not "unfounded" to call attention to this

                         failure . I have repeatedly pointed out that Ohana has no basis for relief, yet my motions to end

                         this litigation have been denied or delayed, allowing a fraudulent lawsuit to persist. Judges have

                         an obligation to ensure that cases move forward only when there is a valid legal claim , and

                         when that does not happen, it is appropriate to raise the issue. Delaying rulings on motions

                         that could resolve this case only perpetuates the harm being caused by a lawsuit that should

                         never have progressed this far.

                         l 08   As for the claim of conspiracy: My accusations are not based on conspiracy theories but

                         on the pattern of behavior exhibited in this case. Seven judges of this Court have had the


                                                                                                                  Page 37 of 61



Affidavit of Bad Faith                                       Page# 37 of61                                           Exhibit 107
                Case 1:24-cv-03744-BAH                  Document 16-8          Filed 01/03/25        Page 37 of 226




                         opportunity to address the fundamental issues at the heart of this case- the lack of a legitimate

                         claim, the misrepresentations made by Ohana and its counsel , and the ongoing harassment

                         through baseless legal action. Yet, no action has been taken to put an end to this. When the court

                         fails to act on motions that could end a fraudulent case, the appearance of bias or undue

                         influence cannot be ignored. It is not "conspiracy" to ask why a case with no legal basis has not

                         been dismissed-it is simply demanding that the legal system function as it should.

                                                             XVIII PARAGRAPH 19
                         Ohana has fil ed oppositions to Dillon-Capps' motions and requests. Ohana has also requested
                         that thi s matter be specially ass igned to a single j udge of thi s Court, given the frequency, length ,
                         and nature of Dillon-Capps' filings, including his accusations against the j udges of thi s Court.
                         109     Ohana's request for a special assignment deprives the judges of this Court from

                         exercising their independent discretion. Each judge should have the opportunity to rule on the

                         complex issues raised in this case without being constrained by a special assignment that limits

                         their discretion. Maryland law strongly supports judicial discretion in managing cases.

                         According to Md. Rule 2-504, the assignment of cases should not hinder the natural exercise of

                         judicial review on matters of law and procedure. By seeking a special assignment, Ohana

                         attempts to limit the scope of judicial review, denying the Circuit Court's judges the ability to

                         fully and independently review the fundamental flaws in their case- particularly the lack of a

                         valid claim for relief.

                         110     Special assignment also undermines the potential for an in-bane review, a critical

                         tool provided under Article IV, Section 22 of the Maryland Constitution, which empowers the

                         Circuit Court to convene an in-bane panel of judges to reconsider rulings and address

                         substantive legal issues. The power to request in-bane review is designed to ensure that


                                                                                                                     Page 38 of61



Affidavit of Bad Faith                                        Page# 38 of61                                             Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25      Page 38 of 226
      .



                         important or complex matters receive the benefit of collective judicial analysis. Ohana' s request

                         for special assignment seeks to sidestep this safeguard and shield their baseless claims from

                         broader scrutiny.

                         111    In State v. Phillips, 457 Md. 481 , 509 (2018), the Maryland Court of Appeals

                         emphasized the importance of independent judicial review and the dangers of limiting judicial

                         discretion in cases that involve procedural or substantive complexity. Special assignment

                         removes the possibility of diverse judicial input, undermining the principles outlined in Phillips.

                         112    Motions to compel or for joinder serve an essential purpose in ensuring clarity and

                         substantive rulings. These motions are a mechanism by which the court can ensure that

                         essential legal and procedural questions are addressed in a timely and fair manner. By seeking a

                         special assignment, Ohana attempts to restrict the Circuit Court's ability to convene an in-

                         bane panel or allow multiple judges to decide critical issues, such as the validity of the

                         underlying claims. Md. Rule 2-213 permits the joinder of parties and claims to allow for

                         comprehensive and efficient rulings. Ohana' s tactic of seeking special assignment subverts this

                         procedural right, preventing the court from exercising its full authority.

                         113    Ohana's request for a special assignment further underscores their strategy of

                         avoiding judicial oversight. Instead of addressing the legal deficiencies in their case, they seek

                         to limit the involvement of multiple judges, thus avoiding the broader judicial scrutiny that is

                         crucial for cases involving fraudulent claims and misuse of legal process . The Court of

                         Appeals in Blake v. Blake, 341 Md. 326, 336 ( 1996), reaffirmed the importance of open

                         judicial process and the role of judicial discretion in maintaining fairness . Special assignment




                                                                                                                Page 39 of61



Affidavit of Bad Faith                                       Page# 39 of61                                            Exhibit 107
                Case 1:24-cv-03744-BAH                 Document 16-8           Filed 01/03/25     Page 39 of 226




                         undermines these principles, silencing the collective input of the judiciary, which is necessary for

                         a fair evaluation of this complex case.

                                                         XlX COUNTER ARGUMENT

                                            A Maryland Law on Attorney ' s Fees Under Rule 1-341

                         114     Ohana correctly cites that Maryland Rule 1-341 allows attorney's fees only in "rare and

                         exceptional cases" and where intentional misconduct or unnecessary or abusive litigation is

                         present. See Lebac v. Lebac, 109 Md. App. 396, 410 (1996); Garcia v. Folger Prall

                         Development, Inc., 155 Md. App. 634, 678 (2004). However, the core issue here is not whether

                         Rule 1-341 is generally a rare remedy-it is whether Ohana 's conduct rises to the level that

                         justifies such an extraordinary remedy under the specific facts of this case.

                         115     The cases cited by Ohana-such as Johnosn v. Baker, 84 Md. App. 521 ( 1990), and Inlet

                         Assocs. v. Harrison Inn Inlet, Inc. , 324 Md. 254 ( 1991 }-provide the framework for awarding

                         sanctions, but the facts of those cases must be distinguished from the present one. Unlike those

                         cases, where claims were innovative or questionable, Ohana's entire case is based on

                         misrepresentations and a lack of legal basis, which has resulted in unnecessary litigation and

                         abuse of the court process .

                         116     Key Case Law on Bad Faith: The court in Garcia v. Folger Prall Development, Inc. ,

                         155 Md. App. at 678 , made clear that bad faith exists where a party litigates with the purpose

                         of harassment or unreasonable delay. This is the precise issue with Ohana ' s case. The repeated

                         contradictions, refusal to address the core deficiencies in their claim, and failure to provide a

                         valid contract all support a finding of bad faith .




                                                                                                                  Page 40 of61



Affidavit of Bad Faith                                        Page# 40 of61                                         Exhibit 107
                Case 1:24-cv-03744-BAH                 Document 16-8         Filed 01/03/25       Page 40 of 226




                               B Ohana's Actions Constitute Bad Faith and Lack of Substantial Justification

                         117    The court's two-step analysis under Garcia requires that the court first determine if the

                         party has acted in bad faith or without substantial justification. The substantial justification

                         standard means that even if a party' s position is "fairly debatable," it should not be sanctioned.

                         But Ohana's position is neither fairly debatable nor within the realm of legitimate

                         advocacy. Ohana has failed to provide:

                                 1.     A valid contract with enforceable terms,

                                2.      Any credible evidence to substantiate their claims,

                                3.      A legitimate basis for injunctive relief.

                         118    Bad Faith Established: Ohana's conduct clearly rises to the level of bad faith . They

                         pursued litigation on the basis of fabricated claims, misrepresented facts to the court ( as

                         demonstrated in their shifting positions regarding who gave administrative control orders), and

                         continued to harass Dillon-Capps through the legal process despite lacking evidence. Their

                         behavior aligns with the definition of bad faith provided in Garcia-intentional harassment

                         and unnecessary litigation.


                                       c Court's Discretion to Refuse Sanctions Does Not A1wly Here
                         119    While the court has discretion to refuse sanctions even when bad faith is established

                         (Garcia, 155 Md. App. at 678), such discretion should not be exercised here. The repeated

                         abuse of the judicial process by Ohana, from the improper use of TROs to the attempt to

                         gain default judgments without addressing the core legal deficiencies, mandates that sanctions

                         be applied to deter future misconduct.



                                                                                                                  Page 41 of 61




Affidavit of Bad Faith                                       Page# 41 of61                                          Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25       Page 41 of 226




                         120    Distinction from Cited Cases: Ohana argues that the court must use its discretion not to

                         award sanctions, citing Tega! Aid Rureau, Inc. v. Bishop 's Garth Assoc.\·. Ud. P 'ship, 75 Md.

                         App. 214, 221 (1988) . However, that case involved innovati ve legal arguments, not blatant

                         misconduct and false claims as seen here. The misuse of Rule 1-341 to avoid legitimate

                     judicial review is precisely what Maryland courts seek to prevent. Therefore, sanctions are

                         justified and necessary to protect the integrity of the judicial system.


                                 D Ohana's Claim of No Bad Faith is Contradicted by Their Own Conduct

                         121    Ohana asserts that no bad faith exists, citing Major v. First Va. Bank, 97 Md. App. 520

                         (1994), yet their own record proves otherwise:

                                4.      They rely on unsupported allegations and contradictory affidavits (as shown

                                by the varying claims of who directed the administrative controls).

                                5.      They continue to pursue litigation despite having no prima facie case and no

                                legitimate claim for relief.

                                6.      Their repeated efforts to delay resolution and failure to provide clarity on their

                                demands show a pattern of litigation abuse.

                         122    Material Facts in Dispute: Contrary to Ohana's assertions, Dillon-Capps has not

                         admitted to material facts that support their claim . The claim that Dillon-Capps was bound

                         by a written contract is misleading, as the contract provided by Ohana was incomplete and

                         missing key provisions that would establish the alleged obligations. Ohana 's inability to produce

                         a complete and valid contract is a critical point that undermines their claim and supports the

                         argument for sanctions.



                                                                                                                 Page 42 of 61




Affidavit of Bad Faith                                         Page# 42 of61                                       Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25       Page 42 of 226




                                                               E Clumsy Footnotes

                         123    Mischaracterization of Testimony: Ghana's claim that I conceded Randall Romes as

                         an expert in PCT DSS and compliance standards is incorrect. While I acknowledged Mr. Romes '

                         credentials as passable, I never conceded to his conclusions or the methods used in his affidavit.

                         During my attempt to cross-examine his process and verify the reliability of his conclusions, the

                         court interrupted, preventing a full and proper examination. Maryland courts have repeatedly

                         recognized the importance of full cross-examination when evaluating expert testimony. In Oken

                         v. State, 327 Md. 628, 668 (1992), the Court of Appeals emphasized that "cross-examination is

                         the principal means by which the believability of a witness and the truth of his testimony are

                         tested." Ghana's portrayal of Mr. Romes' testimony as " unrefuted" is misleading and ignores the

                         incomplete and interrupted nature of that testimony.

                         124    The Contract's Missing Pages: Ghana continues to argue that the contract is complete,

                         despite obvious and material omissions. Page 6 of Richard Hartman ' s affidavit ends with Section

                         5, while Page 7 begins with Section 7, skipping Section 6 entirely. This omission is glaring and

                         renders the contract incomplete and unenforceable. Maryland law is clear that an incomplete

                         contract cannot be the basis for a claim. In Kiley v. First Nat'/ Bank ofMd. , 102 Md. App. 317,

                         333 ( 1994), the Court held that "the absence of terms essential to the obligations of the parties

                         prevents a court from enforcing the agreement as written ."

                         125    Additionally, missing addendums further obscure the scope and terms of the agreement.

                         Ghana had four months to address this issue, yet they failed to correct or even acknowledge these

                         missing pages. Without a complete agreement, their reliance on this contract as a basis for

                         injunctive relief or any legal claim is fundamentally flawed . Maryland courts consistently require


                                                                                                                 Page 43 of61



Affidavit of Bad Faith                                       Page# 43 of61                                          Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8           Filed 01/03/25      Page 43 of 226




                         clarity and completeness in contracts for enforcement, and this document falls far short of those

                         standards.

                         126    Lack of Proper Notice for the TRO: Ghana' s claim that I suffered no prejudice from

                         the lack of notice for the TRO issued on June 17, 2024, is unsupported by law and fact. Md.

                         Rule 15-504 requires that parties receive reasonable notice before the issuance of a TRG. In

                         Schisler v. State, 394 Md. 519, 535 (2006), the Court of Appeals reiterated that "procedural due

                         process requires that parties have the opportunity to be heard at a meaningful time and in a

                         meaningful manner." Filing a letter on June 18th in response to a TRO issued without notice

                         does not retroactively cure the procedural defect.

                         127    Due process violations are not harmless errors, particularly when a party is deprived

                         of the opportunity to present their case before a court order is entered. Additionally, my

                         appearance at the June 26th Preliminary Injunction hearing does not absolve the initial lack

                         of notice for the TRG. Maryland courts have held that notice and the opportunity to be heard

                         before a TRO is granted is critical to ensuring fairness . The court in Simpson v. City of New

                         York, 793 F.3d 259, 265 (2d Cir. 2015), emphasized that "failure to provide notice and an

                         opportunity to be heard prior to entry of a restraining order is a violation of due process."

                         Ghana's attempt to minimize this procedural failure is contrary to established legal principles.

                         128    Ghana and Miles & Stockbridge attempt to prop up their entire case with repeated but

                         baseless claims, misrepresentations, and a reliance on procedural maneuvers rather than the

                         substance of the law. Their arguments, in essence, try to persuade this Court through repetition

                         of falsehoods- hoping that restating the same unfounded assertions enough times will somehow

                         make them true. This strategy fails in the face of facts, law, and the principles of justice.


                                                                                                                  Page 44 of61



Affidavit of Bad Faith                                       Page# 44 of61                                           Exhibit 107
                Case 1:24-cv-03744-BAH               Document 16-8          Filed 01/03/25      Page 44 of 226




                         NO BASIS FOR REUEF OR INJUNCTIVE ORDERS:
                         129    Despite Ohana's insistence, their case lacks any legitimate basis for relief. Maryland

                         courts require that claims seeking injunctive relief be founded on clear and convincing

                         evidence of harm or contractual breach. Ohana ' s case has none of these. They have no complete

                         contract, no evidence of refusal, and no justifiable claim for irreparable harm. This Court

                         granted a TRO and Preliminary Injunction without any substantive evidence, relying solely on

                         affidavits riddled with contradictions. Under Maryland Rule 15-501 , injunctive relief must be

                         supported by real, immediate, and tangible harm. Here, Ohana failed to prove any of these

                         elements. Repeating the same flawed narrative about alleged refusals doesn't meet the legal

                         threshold for these extraordinary remedies.


                         FALSE CONTEMPT AND RETALIATION;
                         130    Ohana's contempt claims are equally unfounded. I never refused access to Ohana 's

                         systems, as evidenced by the inconsistent and contradictory statements made by their own

                         witnesses:

                                7.      Glenn Norris refused to provide any answer at all this is also estoppel.

                                8.      HEA admitted to estoppel, meaning Ohana 's access issues were caused by their

                                own actions, not by any refusal on my part.

                                9.      Richard Hartman explicitly admitted to retaliatory motives, which undercuts

                                any argument that this litigation was pursued in good faith .

                                10.     Justin Drummond provided multiple perjured statements, including false claims

                                that I refused to give him access, refused HEA access, and did not provide updates. All

                                these claims have been disproven with actual evidence.


                                                                                                              Page 45 of61



Affidavit of Bad Faith                                      Page# 45 of61                                          Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25    Page 45 of 226




                         REPETITION DOESN ' T MAKE IT TRUE:
                         131    No matter how many times Miles & Stockbridge and Ohana repeat their narrative of

                         refusal and fraud, it remains factually and legally false. Maryland courts have long recognized

                         that merely repeating a false statement does not make it credible. In Bradshaw v. Hi/co

                         Receivables, LLC, 765 F. Supp. 2d 719 (D. Md. 2011), the court underscored that repetition of a

                         lie is no substitute for evidence. Here, Miles & Stockbridge's attempt to redefine fraud as

                         "success" is not just misleading, it's delusional. The continual reliance on fabricated facts

                         should disqualify their assertions and damage their credibility before this Court. No court

                         should ever trust Miles & Stockbridge or Ohana again, as their behavior demonstrates a

                         pattern of litigation based on lies and false narratives.


                                            F   Unclean Hands and Fraudulent Lawsuit Perpetuation
                         132     Ohana and Miles & Stockbridge come to this Court with unclean hands, having

                         initiated and perpetuated a fraudulent lawsuit based on falsehoods , procedural manipulation,

                         and misleading representations. Their entire case has been built on bad faith conduct by key

                         individuals, including Justin Drummond, Glenn Norris, Richard Hartman, and David Levett

                         of Hartman Executive Advisors (HEA) , who have engaged in estoppel, breached agreements,

                         refused to respond, and provided misleading testimony.


                         UNCLEAN HANDS DOCTRINE:
                         133     The doctrine of unclean hands is well established in Maryland law, preventing a party

                         from obtaining relief when their own conduct has been unethical, fraudulent, or in bad faith .

                         As the Court of Appeals made clear in Halls v. Halls, 327 Md. 337,344 (1992), "one who

                         comes into equity must come with clean hands." Ohana 's entire lawsuit is tainted by their own

                                                                                                              Page 46 of61



Affidavit of Bad Faith                                       Page# 46 of61                                         Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25       Page 46 of 226




                         misconduct, including breaches of agreements, retaliation for protected rights, and

                         manipulative tactics that were used to frustrate and mislead:

                                11 .    Justin Drummond's Breach of the June 7th Agreement: On June 7th, 2024, I

                                entered into a written agreement with Justin Drummond to resolve the access issue.

                                However, Drummond and HEA failed to honor the agreement. From June 10th to June

                                11th, Drummond evaded satisfaction of the request, misleading me into believing that

                                the matter would be finalized the following week. Then, on June 13th, after hours of

                                silence and leading me to believe that he was unaware of the situation, Dmmmond

                                sanctioned Richard Hartman's email late at night. In his affidavit, Drummond falsely

                                claimed that he was the one who ordered these events, but this timeline reveals that his

                                actions were part of a deliberate, manipulative ruse.

                                12.     Additionally, HEA refused to respond to any emails sent to receive access,

                                effectively preventing the final satisfaction of the request. Their refusal to engage and

                                their failure to take steps to finalize the access show that they acted in bad faith .

                                Maryland courts have consistently held that when a party obstructs the fulfillment of an

                                agreement, they cannot tum around and claim a breach by the other party. HEA's refusal

                                further demonstrates that the lawsuit was based on false premises, and Ohana has no

                                basis for seeking relief.

                                13.     Richard Hartman's Admission of Retaliation : Richard Hartman admitted that

                                he knew I was taking FMLA leave, which was protected under federal law. Hartman

                                further acknowledged that this lawsuit, in part, was an act of retaliation for my

                                protected rights. Under the Family and Medical Leave Act (FMLA), retaliation for


                                                                                                                  Page 47 of 61



Affidavit of Bad Faith                                      Page# 47 of61                                            Exhibit 107
                Case 1:24-cv-03744-BAH        Document 16-8             Filed 01/03/25   Page 47 of 226




                         exercising protected leave is prohibited, as reinforced by 29 U.S.C. § 2615(a)(2).

                         Hartman's admission establishes a clear violation of my rights under FMLA . Moreover,

                         the fact that this leave was in connection with a PTSD disability only strengthens the

                         argument. The Americans with Disabilities Act (ADA) mandates that reasonable

                         accommodations be provided, and in this case, allowing a day off for my PTSD is a

                         reasonable ADA accommodation . Hartman's acknowledgment ofretaliation in

                         connection with both FMLA and ADA violations further demonstrates that this lawsuit

                         was not filed in good faith.

                         14.    Glenn Norris, in his capacity at Ohana, refused to answer the most basic and

                         critical question: "What is the access for?" Norris' refusal to clarify what specific

                         access was being requested shows a lack of good faith and a clear intent to manipulate

                         the situation rather than resolve it transparently. Maryland law requires that parties

                         seeking equitable relief, such as a TRO or injunction, demonstrate clear and legitimate

                         grounds for their request. The refusal to provide basic answers undercuts Ohana's claims

                         and highlights their unclean hands in this litigation.

                         15.    David Levett of HEA committed estoppel by acknowledging that Ohana had

                         administrative access to the Microsoft 365 accounts all along. Estoppel arises when one

                         party's wrongdoing or misrepresentation prevents them from asserting a claim based

                         on that very conduct. In Morrison v. Wells Fargo Bank, 400 Md. 11 , 30 (2007), the Court

                         of Appeals held that a party cannot assert rights it has willfully caused to be violated .

                         Here, Ohana's access issues were caused by their own mishandling and lack of

                         communication, not by any refusal on my part.


                                                                                                        Page 48 of 61



Affidavit of Bad Faith                                  Page# 48 of61                                      Exhibit 107
               Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25      Page 48 of 226




                         134    The unclean hands doctrine applies squarely to Ohana, barring them from any relief due

                         to their own misconduct and deception in this matter.


                         ESTOPPEL, BREACH, AND THE FRAUDULENT NATURE OF THE LAWSUIT;
                         135    Ohana has perpetuated a fraudulent lawsuit from the very beginning. Maryland law

                         requires that lawsuits be grounded in good faith , with substantial justification to pursue legal

                         claims. This lawsuit has none. Ohana has misrepresented facts to the Court and pursued

                         claims that have been repeatedly debunked. As demonstrated:

                                16.     HEA's admission of estoppel proves that Ghana' s central claim- that I refused

                                to grant them access-is false. Estoppel bars them from claiming that any alleged

                                refusal caused harm, since they themselves had access to the systems the entire time. In

                                Knill v. Knill, 306 Md. 527, 532 ( 1986), the Court of Appeals confirmed that estoppel

                                prevents a party from asserting claims that contradict their own prior actions or

                                statements. Ohana, having already admitted they had access, cannot now claim refusal or

                                obstruction.

                                 17.    Justin Drummond's breach of the June 7th agreement further proves that

                                Ohana has no legitimate basis for pursuing this lawsuit. Drummond's decision to evade

                                satisfaction and play a manipulative game on June 13th demonstrates their lack of good

                                faith . The misleading communications were part of a calculated strategy to frustrate and

                                delay the resolution, all while pretending that the issue would be resolved. Maryland law

                                does not tolerate parties who breach agreements and then turn around to claim harm

                                from the very situation they created. Deitz v. Palaigos, 120 Md. App. 380, 387 (I 998) ,




                                                                                                               Page 49 of61



Affidavit of Bad Faith                                      Page# 49 of61                                         Exhibit 107
               Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25     Page 49 of 226




                                holds that fraudulent claims and perjured testimony are grounds for dismissal, and

                                Drummond's actions fit squarely within this category.

                                18.    The affidavits of Richard Hartman and Justin Drummond are filled with

                                contradictions, perjured statements, and false claims of refusal. Drummond, in

                                particular, falsely claimed that I refused him access, refused HEA access, and failed to

                                provide updates-all of which have been disproven. In Deitz, the Court held that

                                fraudulent claims and perjured testimony are grounds for dismissal and sanctions, as

                                they undermine the integrity of the judicial process.

                         136    Ohana's reliance on false testimony and deliberate misrepresentations demonstrates

                         their intent to manipulate the court and harass me through abusive litigation . Fraud upon

                         the court has been recognized as one of the most severe forms of misconduct in legal

                         proceedings, warranting dismissal and sanctions. In Hager v. Law Offices of Peter G. Angelos,

                         257 Md. App. 149, 156 (2022), the Court made it clear that fraudulent lawsuits cannot be

                         tolerated in any form , and those who engage in such behavior should face the appropriate

                         consequences, including dismissal of their claims.


                                                   G Perpetuation of a Fraudulent Lawsuit:

                         13 7   Rather than correcting their false claims, Ohana has chosen to perpetuate this

                         fraudulent lawsuit, continuously misrepresenting facts to the court in a desperate attempt to

                         salvage their baseless case. This Court should recognize that repeating a lie does not make it

                         true, and relying on false testimony and misleading affidavits only deepens their culpability.

                                19.     Richard Hartman has admitted to retaliatory motives, further proving that this

                                lawsuit is not based on legitimate claims but on personal vendettas and the desire to

                                                                                                               Page 50 of61



Affidavit of Bad Faith                                      Page# 50 of61                                        Exhibit 107
                Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25       Page 50 of 226




                                silence me for exposing their misconduct. This behavior is a violation of the very

                                principles of justice that the courts are meant to uphold.

                                20.     Miles & Stockbridge has played a central role in this misconduct, filing

                                frivolous motions and continuing to present false statements to the Court in an effort to

                                justify their fraudulent lawsuit. Maryland courts have consistently held that attorneys who

                                engage in this type of bad faith litigation should be sanctioned. In Blake v. Blake, 341

                                Md. 326, 337 (1996), the Court affirmed that lawyers have a duty to the court and to

                                the judicial process not to engage in tactics designed to deceive or harass.

                         138    No court should trust Miles & Stockbridge or Ohana in future legal proceedings. Their

                         actions in this case reveal a pattern of litigation abuse, and their reliance on perjury, false claims,

                         and retaliation makes it clear that their intentions are anything but just. This Court should take

                         decisive action to not only dismiss this case but to hold Ohana and Miles & Stockbridge

                         accountable for their misconduct.


                                                         H Final Footnote of "I Disagree"

                         139    Despite Ohana and Miles & Stockbridge's express denial of any conflicts of interest or

                         violations of the Maryland Rules of Professional Conduct, the facts on record tell a different

                         story. The repeated misconduct, retaliation, and bad faith actions throughout this litigation

                         point to serious ethical violations. Merely denying these actions does not absolve them of

                         accountability. Their conduct has directly violated the principles of fairness and integrity that

                         the legal profession upholds, and their continued denials only reinforce the need for this Court to

                         address the ethical and professional breaches at play in this case.



                                                                                                                   Page 51 of 61



Affidavit of Bad Faith                                        Page# 51 of61                                           Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 51 of 226
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                                                                      I Legal Obligations

                             140    When considering the legal violations related to improper access and failure to follow

                             least privilege principles, the laws governing these issues span multiple states and federal

                             jurisdictions. In the case of Ohana Growth Partners, LLC and their legal counsel at Miles &

                             Stockbridge, the scope of potential violations extends far beyond where their headquarters or

                             operations are physically located. Because the nature of digital infrastructure often involves

                             systems that cross state lines-whether through data transmission, cloud storage, or network

                             nodes- it must be assumed, unless proven otherwise, that the activities in question likely

                             implicate multiple jurisdictions. As a result, the violations here would fall under the laws

                             governing not just the states where Ohana operates physical locations but also where the

                             company's data and systems touch external networks. The infrastructure itself can extend into

                             other states, bringing the actions and mismanagement of access controls under the purview of

                             laws in those jurisdictions as well.

                             141    The best way to approach these laws is to think about their origins and what they were

                             created in response to-most often, public dissatisfaction with the careless management of

                             sensitive accounts and systems. The public and regulatory bodies have historically reacted

                             strongly against the mismanagement of access rights, whether this involves access to firewalls ,

                             sensitive databases, or critical internal systems. The core principle here is about separation of

                             duties and minimizing risks. Whether it is a student, employee, executive, or even the owner of a

                             company, when individuals have unchecked or unjustified access to critical systems, the risk of

                             harm to both the public and the company increases significantly. This is why the legal landscape

                             prioritizes the enforcement of least privilege and separation of duties: to ensure that access is


                                                                                                                     Page 52 of 61



    Affidavit of Bad Faith                                          Page# 52 of61                                       Exhibit 107
              Case 1:24-cv-03744-BAH                 Document 16-8           Filed 01/03/25      Page 52 of 226




                         tightly controlled, limited only to those with a legitimate, clearly defined purpose. When

                         demands for access are made without explanation or a clear need, that serves as a red f1ag,

                         signaling potential future violations or misuse. The burden of harm, therefore, must always favor

                         those qualified to maintain security over those seeking access without justification, ensuring the

                         security of sensitive systems remains intact.

                         142    As of June 13, 2024, the date where immutable protections on critical backups are set

                         to expire looms closer, with these protections expected to fall off in early November. This

                         timeline adds an additional layer of urgency, especially if stall tactics in this case are being

                         employed as a means to exploit relationships or rely on influence to "smooth things over." Such

                         tactics, if aimed at delaying critical decisions or compromising security controls, could present a

                         serious risk- not just to the parties involved but to broader public interests. If access controls

                         and security measures continue to be eroded, the situation may escalate to one where the

                         government must intervene, ensuring that these immutable protections do not expire without

                         proper safeguards in place. Protecting these backups may become a critical issue that no longer

                         rests solely in the hands of the litigants but now involves the government's oversight. Should the

                         court fail to act swiftly to address this, it may be necessary to request the appointment of a

                         special master to oversee the process. The request would come despite the clear challenges and

                         the lack of due process experienced thus far, which further complicates the reliance on any

                         internal resolution. At this point, the stakes are high, and any failure to maintain these protections

                         could have significant legal and operational repercussions.


                         PCl DSS COMPLIANCE VIOLATIONS
                         PCI DSS v4.0 Requirements

                                                                                                                  Page 53 of61



Affidavit of Bad Faith                                       Page# 53 of61                                           Exhibit 107
                Case 1:24-cv-03744-BAH                Document 16-8          Filed 01/03/25     Page 53 of 226




                         150       Federal Trade Commission Act (FTC Act) 15 U.S.C. § 45(a): Unfair practices include

                         failure to follow PCT DSS standards, failin g to protect sensitive data, and implementing

                         inadequate security protocols that violate consumer protection standards.

                         151       Sarbanes-Oxley Act (SOX) 15 U.S.C. § 7262(b ): Requires internal controls, including

                         access control systems, for protecting sensitive financial data. Violations occur when companies

                         fail to control or monitor access to sensitive systems.


                         STATE AND LOCAL LAWS VIOLATED
                         Maryland

                         152       Maryland Personal Information Protection Act (PIPA), Md. Code Ann. Com. Law §

                         14-3503(a): Requires businesses to implement reasonable security measures to protect personal

                         data, including maintaining access controls and firewall configurations to restrict unauthorized

                         access.

                         153       Maryland Criminal Law §7-302( c): The statute relates to misuse of authorized access.

                         Even when access is given, improper use of such access violates this provision. This law reflects

                         the principle of least privileged access.

                         Washington

                         154       Washington Data Breach Notification Law, Rev. Code Wash.§ 19.255.010: Requires

                         businesses to secure personal data, including limiting access to only authorized personnel.

                         Violations occur if someone obtains or misuses access without proper justification.

                         California




                                                                                                               Page 55 of61



Affidavit of Bad Faith                                       Page# 55 of61                                           Exhibit 107
               Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25     Page 54 of 226




                         155    California Consumer Privacy Act (CCPA), Cal. Civ. Code§ 1798.1 S0(a)(l): Requires

                         businesses to maintain reasonable security procedures to protect consumer data . Thi s includes

                         access control policies in line with PCI DSS standards.

                         Florida

                         156    Florida Information Protection Act (FIPA), Fla. Stat. § 501.171: Mandates reasonable

                         security measures, including managing and limiting access to personal information. Violations

                         include failure to follow security protocols like least privileged access.

                         Tennessee

                         157    Tennessee Identity Theft Deterrence Act, Tenn. Code Ann.§ 47-18-2107: Requires

                         businesses to implement security measures that protect personal information , including limiting

                         access to necessary individuals only.

                         District of Columbia

                         158    District of Columbia Consumer Protection Procedures Act (D.C. Code§ 28-3851 et

                         seq.): Mandates security procedures that include limiting access to sensitive data only to those

                         who need it for business purposes.


                         UNITED STATES V. MORRIS {1991)
                         159    Court: U.S. Court of Appeals for the Second Circuit

                         160    Context: This was one of the earliest cases under the Computer Fraud and Abuse Act

                         (CFAA) . Morris, a Cornell graduate student, was prosecuted for releasing a worm that exploited

                         system vulnerabilities, even though he had authorized access.

                         161    Impact: The case clarified that even those with authorized access could face penalties

                         under the CFAA if they misuse that access to harm systems.


                                                                                                               Page 56 of 61




Affidavit of Bad Faith                                        Page# 56 of61                                       Exhibit 107
                Case 1:24-cv-03744-BAH               Document 16-8          Filed 01/03/25      Page 55 of 226




                         179    Impact: The case underscored the importance of access logging and monitoring under

                         PCT DSS, holding companies accountable for failing to secure access to payment systems.

                         180    These cases collectively illustrate the legal frameworks and consequences tied to poor

                         management of access controls, failure to implement least privilege, and inadequate security

                         measures. The laws were designed in response to breaches and abuses, often by individuals in

                         positions of power or through negligent management of sensitive data environments. The key

                         takeaway is that these laws were created to safeguard public trust by enforcing strict access

                         controls and accountability for organizations managing sensitive information.

                                                              XX CONCLUSION
                         181    Ohana's lawsuit is a prime example of the abusive litigation that Maryland Rule 1-341

                         is designed to prevent. Their actions have caused significant harm to Dillon-Capps, wasted

                         judicial resources, and abused the legal process. Sanctions are necessary to hold Ohana and

                         Miles & Stockbridge accountable for their misconduct and to deter future abuses of the court

                         system.

                         182    Ohana and Miles & Stockbridge have come to this Court with unclean hands, having

                         initiated and perpetuated a fraudulent lawsuit built on lies, retaliatory motives, and intentional

                         deception. Their conduct has involved estoppel, breach of the June 7th agreement, HEA's

                         refusal to respond, FMLA and ADA violations, bad faith litigation , and fraud upon the

                         court. These actions bar Ohana from seeking any relief in this case.

                         183    This Court should not only dismiss Ohana's claims but also seriously consider imposing

                         sanctions on Miles & Stockbridge for their role in perpetuating this abuse of the legal system.




                                                                                                                Page 59 of61



Affidavit of Bad Faith                                      Page# 59 of61                                         Exhibit 107
                 Case 1:24-cv-03744-BAH             Document 16-8         Filed 01/03/25    Page 56 of 226
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                                                    DECLARA TIO OF AFFfRMATIO

                          I Solemnly Declare and Affirm Under Penal Ties of Perjury and Upon Personal Knowledge That
                          the Contents Of The Foregoing Paper And Exhibits Thereto Are True .


                          October 15, 2024                                        s/ Ryan Dillon-Capps
                                                                                  Ryan Dillon-Capps (Pro Se)
                                                                                  Email: ryan@mxt3 .com
                                                                                  1334 Maple Avenue
                                                                                  Essex, Mary land 2122 l
                                                                                  Telephone: (703) 303- l l l 3




                                                                                                           Page 60 of 61




 Affidavit of Bad Faith                                   Page# 60 of61                                       Exhibit 107
                Case 1:24-cv-03744-BAH               Document 16-8       Filed 01/03/25      Page 57 of 226




                                              RESPECTFULLY SUBMITTED
                         October 15, 2024                                  /s/ Ryan Dillon-Capps
                                                                           Ryan Dillon-Capps (Pro Se)
                                                                           Email: ryan@mxt3.com
                                                                           1334 Maple Avenue
                                                                           Essex, Maryland 21221
                                                                           Telephone: (703) 303-1113




                                                        CERTIFICATE OF SERVlCE

                         I HEREBY CERTIFY that on October 15, 2024, a copy of the AFFIDAVIT OF BAD FAITH
                         was served via email to rbrennen@milesstockbridge.com and via first-class mail, postage
                         prepaid, on:
                         Robert S. Brennen
                         Miles & Stockbridge P.C.
                         I 00 Light Street
                         Baltimore, Maryland 21202




                                                                           ls/Ryan Dillon-Capps
                                                                           Ryan Dillon-Capps (Pro Se)
                                                                           1334 Maple Ave.
                                                                           Essex MD 21221
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                                                                                                         Page 61 of 61




Affidavit of Bad Faith                                   Page# 61 of61                                     Exhibit 107
                    Case 1:24-cv-03744-BAH                 Document 16-8     Filed 01/03/25       Page 58 of 226




                              OHANA GROWTH PARTNERS, LLC                       IN THE

                                                      Plaintiff,               CIRCUIT COURT

                              vs.                                              FOR

                              RYAN DILLON-CAPPS                                BALTIMORE COUNTY

                                                      Defendant.               CASE NO: C-03-CV-24-002264


                              AMENDED AFFIDAVIT OF PLAINTIFF'S ABUSIVE USE OF THE JUDICIAL SYSTEM

                          I, Ryan Dillon-Capps, being over the age of eighteen (18) and competent to testify, and having

                          personal knowledge of the facts contained herein, state as follows :

                                    The Plaintiff, Ohana Growth Partners, LLC ("Ohana"), and the law firm of Miles &

                          Stockbridge, P.C. ("M&S") have sustained a baseless and fraudulent lawsuit against me for

                          over four months. Their current actions are not coincidental; they are not fleeing from my so-

                          called "incoherent ramblings" but rather from the substance of those demands. Specifically, they

                          fear my calls for evidence to support their claims at a hearing, alongside my targeted discovery

                          requests that include logs and data they never anticipated. These logs and reports focus on

                          information that most attorneys typically overlook but are crucial for verifying data integrity and

                          exposing potential tampering-something they seem unprepared to address.

                          2         This case underscores a fundamental point: log data should become a standard

                          practice in discovery, akin to the traditional chain of custody. Verifying the authenticity of the

                          data is no different from maintaining a secure evidence trail. Therefore, before Ohana and M&S

                          find a way to sidestep this problem, the court should act swiftly to compel the production of

                          evidence.
                                                                                                                  Page 1 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System   Page# 1 of36                               Exhibit 107
                   Case 1:24-cv-03744-BAH                 Document 16-8        Filed 01/03/25       Page 59 of 226




                         3         A Civil Action begins with the Preliminary and Discovery stages that combine into the

                         Pleading Stage, sometimes referred to as pretrial proceedings. Afterwards, the Trial Stage

                         culminates into a Trial of Merit.

                         4         The purpose of the preliminary is to establish the facts, and once the facts are solidified

                         with answer to the pleading the merits of those facts are argued. M&S misunderstanding of the

                         fundamental of litigation and the law has resulted in them litigating entirely on merit and wasting

                         over four months.

                         5         From M&S filings with their arguments and then rulings of Moot, I am left wondering if

                         I am the one who has forgotten what stage we are in, or to ask the question - when do we argue

                         fact? Why did we skip pass to arguments of merits in a baseless fraudulent lawsuit that lacks any

                         factual material statements or claims.


                                        A Doctrine of Mootness: Restatement (Second) of Judgments, § 13

                         6         The doctrine of mootness is intended to prevent courts from engaging with issues that no

                         longer present a live controversy. Its purpose is to ensure that judicial resources are used

                         efficiently, focusing only on disputes where effective relief can be granted. Courts should not

                         dismiss matters as moot if they are still relevant to the case 's resolution or provide meaningful

                         relief.

                                   1.     Active Controversy Requirement: The doctrine requires that there be a real,

                                   ongoing dispute when the court reviews the matter. In this case, the preliminary motions

                                   were dismissed as moot even though the plaintiff had not provided any true material

                                   statements or claims, leaving significant issues umesolved.



                                                                                                                    Page 2 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System     Page# 2 of36                                Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8       Filed 01/03/25       Page 60 of 226




                                  2.       Potential for Relief: The intent of the doctrine is not to avoid review of issues

                                  that still have the potential to impact the case. Premature dismissal during the preliminary

                                  stage contradicts this purpose, particularly when the motions aim to clarify the merits of

                                  the plaintiffs unsupported claims.

                         7        This misapplication of mootness bars proper adjudication of the case, as supported in

                         Attorney Grievance Commission v. Stolarz, 379 Md. 387 (2004), where the Maryland Court

                         of Appeals held: "A ruling should not be dismissed as moot if deciding the mailer would provide

                         meaningful relief or clartfy important unresolved issues. "


                                                                B The Plaintiffs "Merits"

                         8        In this Amended Affidavit of Plaintiffs Abusive Use of The Judicial System , filed as

                         a NEW affidavit and a motion to have this replace the former Affidavit, I am going pay homage

                         to a person whose impact on the legal profession will never be forgotten , his advocacy for Pro Se

                         treatment inspirational, and who won his own lawsuit with the same argument that that I will

                         conclude with.

                         9        Core Arguments appropriate to the pleading stage that provide focus of argument.

                         10       Rules of Purpose that illustrate the importance of intention.

                          11      Exhibit B Provides a review of pleading without merit and a plea to review what has not

                         been argued.

                          12      Notice of Request for Expedited Injunctive Hearing from BAR under 19-732

                          13      Conclusion Inspi~ed by Richard Posner - Flexible, Practical, and Just Outcomes

                          14      Collectively, the conclusions made affirm the necessity to :



                                                                                                                    Page 3 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System     Page# 3 of36                                Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8     Filed 01/03/25       Page 61 of 226




                                  1.       Rule on the Motion to Strike the Plaintiffs Notice of Voluntary Withdrawal and

                                  prevent further Abuse of Process and Bad-Faith litigation aimed to evade accountability

                                  and consequences.

                                  2.       Through 19-321 or via the Scheduling of the Expedited "urgent" Hearing, Ohana

                                  and M&S need join me in hearing on facts supported by hard evidence so that the court

                                  record and subsequent judgement can be voided of procedural abuse.

                                  3.       Rule on the Seven Motions for A Better Maryland with Reciprocal Relief, to

                                  Dismiss with Prejudice for a June 13 th Worth of Reasons, to Impose Sanctions not

                                  Sanction Fraudulent Lawsuits, to Disqualify Miles & Stockbridge for Ethical Violations

                                  and Misconduct, for Injunctions to Prevent Funire Abuse of Court Process, to Vacatur the

                                  Temporary Restraining Order, and for Referral for Criminal and Ethical Investigations.

                                                             II THE 3 CORE ARGUMENTS
                         The Plaintiff has made no truthful statements of material fact, has no claim for relief, and has

                         been subdued by preliminary motions and torts - exactly as I said they would. Now I begin to

                         refine the argument for focus and clarity to tighten the legal grip and prevent further abuse of

                         process.


                                       A   Tort Doctrines; Prohibit Ohana and M&S from pursuing litigation
                                  Dolus (Fraud); Restatement (Second) of Torts. § 525
                          15      The doctrine of fraud is intended to prevent deceitful behavior and ensure honesty in

                         legal and business transactions. It prohibits parties from engaging in intentional

                         misrepresentation of material facts to induce others to act to their detriment. Courts deny claims




                                                                                                                 Page 4 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page# 4 of36                               Exhibit 107
                    Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25        Page 62 of 226




                         based on fraudulent behavior to protect the integrity of the judicial system and prevent unjust

                          enrichment.

                                   1.      False Statements: Ohana and M&S never presented a true material fact in their

                                  claims. Every statement was aimed at creating a false narrative about my actions and the

                                  reframing their own deeds as my own. They fabricated allegations of non-compliance

                                  despite my documented good faith efforts and adherence to legal standards. These

                                  misrepresentations were deliberate, aiming to shift blame and conceal their own security

                                  violations, including actions by Ryan Brooks who tampered with system integrity.

                          16      This conduct bars Ohana and M&S from pursuing litigation, as supported in Odom v.

                          Microsoft Corp., 486 F.3d 541 (9th Cir. 2007), where the court held: "Fraudulent

                          misrepresentation in the inducement or during litigation precludes the advancement of a claim,

                          as the foundation of the legal process must be based on truth. "

                          2       Fraudulent Misrepresentation: Restatement (Third) of Torts, § 9
                          17      Fraudulent misrepresentation is intended to hold parties accountable for false statements

                          that lead others to act or refrain from acting. Its purpose is to protect individuals and the judicial

                          process from deceit and to provide remedies when misrepresentations cause harm.

                                   1.      Lack of Material Truth: Ohana and M&S 's statements lacked any factual basis.

                                  They falsely alleged that I refused access, yet the evidence demonstrates my proactive

                                  compliance and solutions.

                                  2.       Reliance: I relied on the misrepresented claims of Drummond to satisfy the

                                  accord and accept access, and then the court relied on Drummond and Hartman claiming




                                                                                                                     Page 5 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System    Page# 5 of36                                 Exhibit 107
                   Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25      Page 63 of 226




                                  the opposite happened. Resulting in severe and irreparable physical and financial harm in

                                  this unnecessary and prolonged baseless litigation .

                          18      This conduct prohibits Ohana and M&S from advancing their litigation, as demonstrated

                         in Smith v. Boyd, 553 A.2d 131 (Me. 1989), where the court held: "Misrepresentation that

                         materially impacts legal proceedings undermines the ability to seek redress through the courts. "

                         3        Abuse of Process: Restatement (Second) of Torts,§ 682
                          19      The doctrine of abuse of process is intended to prevent the misuse of legal procedures for

                         purposes other than those for which the process was designed. lt aims to maintain the integrity of

                         the judicial process by barring claims that are pursued with ulterior motives.

                                  1.       Misuse of Legal Process: Ohana and M&S used the legal system not to resolve a

                                  legitimate dispute but to harass and mislead. They continuously filed false affidavits and

                                  claims to manipulate the court's perception, even hiring a "PCI expert" to provide

                                  misleading testimony. Who he himself may have been misled and the authenticity of the

                                  affidavit is questionable.

                                  2.       Ulterior Motive: Their intent was to retaliate against misconduct and prevent

                                  adjudication of their own misdeeds.

                         20       This conduct bars them from pursuing litigation, as shown in Peyton v. DiMario, 287

                         F.3d 1121 (D.C. Cir. 2002), where the court held: "Legal processes must not be used.for

                         purposes other than those for which they are intended, as doing so constitutes an abuse. "

                         4        Malicious Prosecution: Restatement (Second) of Torts, § 674
                         21       The doctrine of malicious prosecution exists to protect individuals from baseless legal

                         actions. It prohibits parties from initiating or continuing proceedings without probable cause and


                                                                                                                 Page 6 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System    Page# 6 of36                              Exhibit 107
                   Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25       Page 64 of 226




                         with malicious intent. The purpose is to ensure that the legal system is not used as a tool of

                         harassment.

                                  1.        No Probable Cause: Ohana and M&S's claims lacked any factual foundation, as

                                  evidenced by their failure to produce material facts . They presented false narratives of

                                  harm and non-compliance without a single shred of supporting evidence.

                                  2.        Malicious Intent: Their primary motive was to damage my professional

                                  reputation, inflict emotional harm, and drain me of my financial resources to prevent

                                  others from hearing what I have to say. A tactic to which the effects ofremain in full

                                  effect.

                         22       This conduct bars them from pursuing further litigation, as demonstrated in Bertero v.

                         National General Corp., 13 Cal. 3d 43, 529 P.2d 608 (1974), where the court stated:

                          "Initiating baseless litigation without probable cause constitutes malicious prosecution,

                         warranting dismissal ofsuch claims. "

                         5         Duty of Care (Negligence): Restatement (Second) of Torts, § 282
                         23       The doctrine of negligence requires parties to exercise a standard of care that a reasonable

                         person would in similar circumstances. It aims to prevent harm caused by carelessness or

                         reckless disregard for the safety and well-being of others.

                                  1.        Breach of Duty: Ohana and M&S breached their duty of care by repeatedly

                                  making false representations, ignoring their compliance requirements, and failing to

                                  provide clear directives regarding access requirements. They recklessly misled the court

                                  on all material grounds.




                                                                                                                  Page 7 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System    Page# 7 of36                               Exhibit 107
                    Case 1:24-cv-03744-BAH                 Document 16-8     Filed 01/03/25       Page 65 of 226




                                  2.        Causation and Harm: Their negligence directly caused harm to me, resulting in

                                  unnecessary physical , reputational , emotional, and financial harm.

                          This conduct prohibits them from continuing litigation, as affirmed in Palsgraf v. Long Island

                          Railroad Co., 248 N.Y. 339 (1928), where the court emphasized: "Negligence arises from a

                          breach of the duty to act with reasonable care, and such breaches are not grounds for pursuing

                          legal action. "


                                        B Eguitable Doctrines of Defense: Bars Ohana and M&S from Relief

                          I   Public Policy Unclean Hands; Restatement (Second) Of Contracts, § 179,
                          CommentB
                          24      The doctrine of unclean hands is intended to uphold public policy and ensure fairness in

                         judicial proceedings. It prevents parties who engage in conduct that violates ethical standards or

                          public expectations from seeking equitable relief Courts consistently deny relief when a party' s

                          behavior contradicts public policy, as it undermines the integrity of the legal system.

                                   1.       PCI Compliance Violations: Ohana and M&S failed to adhere to PCI DSS

                                  standards, breaching security protocols mandated by Maryland law under Md. Code

                                  Ann., Com. Law§ 14-3503(b). This statute requires businesses to implement reasonable

                                  security measures to protect personal data. Ohana' s disregard for PCI compliance- such

                                  as failing to maintain access logs and not following least privilege controls-violates

                                  public policy and business ethics. This conduct is consistent with FTC v. Wyndham

                                  Worldwide Corp., 799 F.3d 236 (3rd Cir. 2015), where the court emphasized: "Failure

                                  to adhere to industry standards for data security constitutes an unfair business practice

                                  under the FTC Act. "


                                                                                                                    Page 8 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System   Page# 8 of36                                Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8     Filed 01/03/25       Page 66 of 226




                                  2.      Deceptive Trade Practices: Ohana misrepresented their compliance with PCI

                                  DSS standards while demanding actions that breached those same protocols. Such

                                  deceptive behavior falls under Md. Code Ann., Com. Law § 13-301(9), which prohibits

                                  false representations regarding legal or industry compliance, thus contravening consumer

                                  protection laws. This aligns with In re Gateway Learning Corp., FTC File No. 042-

                                  3047 (2004), where the FTC stated: "Misrepresentations about compliance with industry

                                  standards are deceptive practices that violate consumer protection la ws. "

                         2        Unlawful Conduct Unclean Hands: Restatement (Second) Of Contracts, § 192
                         25       The unclean hands doctrine also aims to deter misconduct and ensure that the judicial

                         system does not reward illegal behavior. Its purpose is to deny equitable relief to parties engaged

                         in unlawful actions that violate statutory protections.

                                  1.       FMLA Violations: On June 13, 2024, Ohana retaliated against Dillon-Capps after

                                  he invoked his rights under the Family and Medical Leave Act (FMLA). Ohana

                                  demanded they return to work within six hours, disregarding a valid FMLA leave request.

                                  This conduct violated 29 U.S.C. § 2615(a)(l)-(2), which prohibits retaliation against

                                  employees exercising FMLA rights. In Bachelder v. America West Airlines, Inc., 259

                                  F.3d 1112 (9th Cir. 2001), the court held: "Retaliation against an employee/or taking

                                  FMLA leave is strictly prohibited, and any such conduct constitutes a direct violation of

                                  statutory protections. "

                                  2.       ADA and Reasonable Accommodation: Providing time off under FMLA for

                                  health-related reasons is a reasonable accommodation under the Americans with

                                  Disabilities Act (ADA). Ghana' s refusal to honor Dillon-Capp.s 's FMLA request,


                                                                                                                Page 9 of 36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page# 9 of36                              Exhibit 107
                    Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25      Page 67 of 226




                                  demanding immediate return despite his protected leave, constitutes a denial of

                                  reasonable accommodation under42 U.S.C. § 12112(b)(5)(A). This is supported by

                                  Barnett v. U.S. Air, Inc., 535 U.S. 391 (2002), where the Supreme Court emphasized:

                                   "The duty to provide reasonable accommodations, including leave for health-related

                                  reasons, is central to ADA compliance. "

                          3        Equitable Estoppel: Restatement (Second) Of Torts,§ 894(1)
                          26      The doctrine of equitable estoppel is intended to prevent injustice by prohibiting parties

                          from shifting their positions when another party has reasonably relied on their original conduct.

                          Its purpose is to ensure fairness and discourage deceitful or misleading behavior, thereby

                          maintaining the integrity of legal proceedings.

                                  1.       Reliance: Dillon-Capps acted in good faith, relying on the clear representations

                                  made by HEA and Drummond regarding their cooperation. He trusted their assurances

                                  that access concerns would be addressed, fully expecting their commitment to be

                                  honored.

                                  2.       Material Change: This reliance led to a substantial disadvantage, Ohana later

                                  claimed non-compliance despite their own failure to follow through, creating a false

                                  narrative of refusal.

                                  3.       Unfairness: Allowing HEA and Drummond to shift their position would lead to

                                  an unjust outcome, benefiting them from the very obstacles they created.

                          27      This conduct bars them from seeking relief, as established in North. Star Marine, Inc. v.

                          MN ANDA, 13 F. Supp. 2d 631 (D. Md. 1998), where the court noted: "A party cannot create

                          a situation to its advantage and then claim harm caused by that same situation. "


                                                                                                                 Page 10 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System   Page # 10 of 36                             Exhibit 107
                   Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25       Page 68 of 226




                         4        Promissory Estoppel: Restatement (Second) Of Contracts, § 90
                         28       The doctrine of promissory estoppel is designed to enforce promises when one party has

                         relied on them, and injustice would result if those promises were not kept. It holds parties

                         accountable for promises that induce reasonable reliance to ensure fairness .

                                   1.      Clear Promise: HEA and Drummond explicitly promised to resolve access issues

                                  and cooperate with Dillon-Capps.

                                  2.       Reasonable Reliance: Dillon-Capps, acting in good faith, relied on these

                                  promises, adhering to the written accord and following expected compliance protocols.

                                  3.       Avoiding Injustice: The later accusations of non-compliance were unfounded

                                  and unjust, given that HEA and Drummond's actions caused the very obstacles Ohana

                                  now claims.

                         29       This conduct bars relief, as underscored in North Star Marine, Inc. v. MN ANDA,

                         where the court affirmed: "Equity requires that promises reasonably relied upon be enforced to

                         prevent unfair outcomes. "


                             C   MD, Criminal Law Code § 9-101 •ALL of Ohana & M&S material statements and
                                                     claims are pedured statements
                          1       Perjury and the Integrity of the Judicial Process
                         30       MD Criminal Law Code§ 9-101 defines perjury as the act of making a false statement

                         under oath regarding a material fact, knowing it to be false, with the intent to deceive. The

                         purpose of this law is to maintain the integrity of the judicial process and ensure that truth is the

                         foundation of all legal proceedings. Courts must deny relief when a party's statements are proven

                         to be false and made with the intent to deceive.



                                                                                                                  Page 11 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page# 11 of36                                Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8        Filed 01/03/25        Page 69 of 226




                                  1.       False Material Statements: Every material statement and claim presented by

                                  Ohana and M&S in this case has been knowingly false . They have consistently made

                                  false assertions under oath regarding my compliance, the state of the systems, and the

                                  nature of my actions . Each claim lacked factual accuracy and was intended to mislead the

                                  court and deflect from their own misconduct.

                                  2.       Intent to Deceive: The pattern of false statements shows a clear intent to deceive

                                  the court, manipulate the legal process, and gain an unfair advantage. Their testimony

                                  contradicts documented evidence and aims to create a false narrative that unjustly targets

                                  me.

                          31      This conduct constitutes perjury, as outlined in MD Criminal Law Code§ 9-101 , and

                         bars them from pursuing any legal claims, as supported in United States v. Dunnigan, 507 U.S.

                          87 (1993), where the court held: "A conviction for perjury can serve as evidence that a party is

                          not entitled lo the benefits ofjudicial equity, given their knowing al/empt to deceive the court. "

                          2       Impact of Perjury on the Case
                                   1.      Complete Lack of Credibility: The false material statements by Ohana and

                                  M&S undermine their credibility entirely. Their perjured testimony means they cannot be

                                  trusted to present truthful information, directly affecting the court' s ability to render a fair

                                  judgment.

                                  2.       Intentional Obstruction of Justice: Their deliberate lies were not isolated

                                  incidents but a calculated strategy to obstruct justice. This level of misconduct directly

                                  impacts the integrity of the judicial process and the credibility of their claims.




                                                                                                                     Page 12 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System    Page# 12 of36                                 Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8        Filed 01/03/25      Page 70 of 226




                         32       Their conduct, defined by repeated false statements under oath, makes it impossible for

                         them to pursue any form of relief, as reinforced by In re Michael, 326 Md. 326,604 A.2d 1229

                         (1992), where the Maryland Court of Appeals emphasized: "Perjury strikes at the very core of

                         the judicial process, and any party found to engage in perjury forfeits their ability to seek

                         equitable relief or redress through the courts. "




                                                      CONCLUSION OF CORE ARGUMENTS

                                  1.       The lawsuit itself and all papers filed since have no legal basis because they are

                                  not in support of a legal claim or claim to which relief can be granted.

                         33       Ohana Growth Partners, LLC and Miles & Stockbridge, PC have engaged in a

                         fraudulent and baseless lawsuit against me, and every single material statement and claim is

                         made to mislead the court into believing something both know is untrue.

                         34       Before the lawsuit was even filed they violated my FMLA and ADA rights, engaged in

                         to Estoppel perpetuate their fake narrative, retaliated against Darren Koritzka and myself for

                         engaging in the protected acts of asserting my rights in the cease-and-desist email and

                         engaging in whistleblowing when reporting the unlawful conduct of Richard Hartman and

                         Glenn Norris to the owners at 2:05 PM email and then for multiple hours in text to Justin

                         Drummond. The act of suspending me, also breached the accord made on June 7th , and the

                         perjured statements made against me in their filings and subsequent papers is Fraud and

                         Defamation.




                                                                                                                   Page 13 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System    Page # 13 of 36                              Exhibit 107
                    Case 1:24-cv-03744-BAH                 Document 16-8     Filed 01/03/25      Page 71 of 226




                          35      Ohana and M&S were fully aware of their actions and came to the court with Unclean

                          Hands and are barred from any and all claims for relief.

                          36      Ohana and M&S were fully aware of their statements and made them with the

                         intention of misleading the court. Every single claim and material statement in support of

                         their claims are perjured statements.

                          37      Ohana and M&S were fully aware of their actions and the act of filing the fraudulent

                          and baseless lawsuit and the pursuit thereof for over four months is Abusive Use of the

                         Judicial System, Malicious Prosecution, but most importantly Abuse of Process. Since

                         June 14, 2024, Ohana and M&S have sought to evade accountability and consequences, and

                         their Abuse of Process has continued since. The Notice of Voluntary Dismissal is only one

                          more filing with the same purpose - evading accountability and consequences.

                                                                 III RULES OF PURPOSE
                          38      Everything I have filed has been in accordance with the "Rules of Purpose." Purpose is

                          not limited to the words on a page, but rather the purpose speaks to the intentions to which those

                          words were put on a page. A purpose that can not be dismissed or forgotten or those words will

                          become meaningless scribbles used to abuse and impose the will of economic advantage as a

                          weapon no different than laws like Black Codes, the arguments made for separate but equal , and

                          the language of laws during the Jim Crow era.

                          39      The misuse of legal language to impose disadvantage is well documented, and

                          weaponizing of the legal system to maintain any hierarchy of power is the reason and intent

                          behind constitutional protections. The protection afforded by FMLA leave, ADA, and the 14th




                                                                                                                Page 14 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System   Page# 14 of36                             Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8      Filed 01/03/25       Page 72 of 226




                         Amendment right for Due Process are not the incoherent and unintelligible ramblings that Robert

                         Brennen and Michael Barranco would want you to believe they are.

                         40       They are the blood, sweat, and tears of countless Americans who spent 76 years to

                         abolish slavery in the 13 th Amendment of 1865, Due Process and Equality in the 14 th

                         Amendment of 1868, and the voting rights for all men in the 15 th Amendment of 1870.

                         41       It only took 50 more years for women to get the same right in the 19th Amendment of

                         1920, and it would be another 43 years and a President willing to change the political landscape

                         of the country to do the unbelievable and achieve the Equal Pay Act in 1963, Civil Rights Act

                         of 1964, and Voting Rights Act of 1965.

                         42       Inspiring a nation of hidden heroes to rise-up for LGBTQ+ rights, gaining national

                         attention with the Stonewall Riots in 1969, and marking a pivotal shift in LGBTQ+ activism

                         that is still going on today.

                         43       17 years later, disability rights were recognized at a national level with the

                         comprehensive protections of the Americans with Disabilities Act (ADA) in 1990, the Family

                         and Medical Leave Act (FMLA) in 1993, and the Supreme Court's decision in Lawrence v.

                         Texas in 2003 decriminalizing same-sex relationships followed by Obergefell v. Hodges in

                         2015 so that non-hetero couples could get married.

                         44       The intent of words on a page are worthy of such rambling as to argue, plea, and motion

                         against no notice TRO ex parte hearings, 2-day notice show cause orders, denied motions before

                         argument are heard, premature default orders, and a lawsuit with no claim for relief formed form

                         perjured statements and perpetuated for over four months . Leaving me in financial default with

                         severe memory loss and catatonic episodes that could kill me.


                                                                                                                   Page 15 of 36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page# 15 of36                                 Exhibit 107
                    Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25        Page 73 of 226




                          45      The purpose of those words on a page are intended to prevent the Abusive Use of the

                          Judicial System, Prevent Malicious Prosecution, and prevent the Abuse of Process that would

                          now allow the perpetrators to escape again free of accountability and consequences.


                                                  A Rule 1: Md . Rule 1-311 (b): Effect of Signature

                                  Adherence to Rule 1-311 and the Pumose of Accountability;
                          46      Maryland Rule 1-311(b) emphasizes the necessity of accountability in the filing of legal

                          papers. It mandates that all documents filed with the court must not be presented for any

                          improper purpose and must be grounded in fact, warranted by existing law, or supported by

                          a good faith argument for changing the law. The requirement of an attorney 's signature is

                          meant to deter abuse of process and ensure the integrity of the legal system.

                          2       Misuse of Legal Resources and Deprivation of Rights;
                          47      This case is about Ohana and M&S leveraging their considerable legal, financial, and

                          reputational power to undermine my rights. Their conduct in court and in filings consistently

                          reflects an attitude that their objectives outweigh my rights under the law. In pursuing their

                          baseless claims, they prioritize their own interests over the principles of justice.

                          3       Jurisdictional Missteps and Evasion of Relevant Law:
                          48       If they want to argue the merits of FMLA, ADA, and Constitutional law then they are in

                          the wrong courthouse. I attempted to file a motion to dismiss on Jurisdictional grounds on June

                          26, 2024, with Judge Barranco, but "this case is not about .. . FMLA, ADA, the FTC Act, or

                          Constitutional rights" because it is now about Ohana and M&S filing and continued pursuit of a

                          baseless fraudulent lawsuit with no claim of relief for over four months .




                                                                                                                 Page 16 of 36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System   Page# 16 of36                              Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8        Filed 01/03/25        Page 74 of 226




                         4        Compelling Evidence and Withdrawal to Avoid Accountability:
                         49       When I filed a motion to compel the production of evidence that could justify their

                         lawsuit, Ohana and M&S's response was not to engage with the facts but to withdraw their

                         case, signaling their inability to substantiate their claims. This act is a clear indication of their

                         acknowledgment that they could not defend the harm they have caused me.

                         50       Their withdrawal, coming after 135 days of pursuing a fraudulent lawsuit, is not an act of

                         good faith but a strategy to avoid legal scrutiny. It is a tacit admission that their position is

                         indefensible, not a genuine retreat or correction.

                         5        Inability to Sustain Their Claims and Avoidance of Accountability;
                         51       In a mere 17 days, my legal actions have brought them to a point where they can no

                         longer hide behind procedural maneuvers. They must now face the consequences of their unjust

                         actions without the shield of procedural tactics.

                         52       As the plaintiffs in this case, it is their duty to defend the legitimacy of their claims. Their

                         strategy of retreat and withdrawal is a transparent attempt to avoid accountability. The court

                         should not be distracted by their empty arguments and personal attacks, which serve to further

                         their abuse of the judicial system.

                         53       This case should be seen for what it truly is: a misuse of the legal system by Ohana and

                         M&S to harass and inflict harm, only to retreat when confronted with the truth. They have

                         chosen to manipulate procedural rules rather than substantiate their claims. The integrity of the

                         court requires that such tactics not be rewarded, and that those who wield the law for improper

                         purposes face the consequences of their conduct.




                                                                                                                    Page 17 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System     Page# 17 of36                                 Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8      Filed 01/03/25      Page 75 of 226




                         54       Their opportunity for defense will come when they face me as Defendant, but if they are

                         allowed to run from their actions their legacy will be severe irreparable harm and a fraudulent

                         court record.


                                                  B Rule 2: Md. Rule 1-201 : Rules of Construction

                                  Clarifying the Motion to Add Counsel and Misrepresentation of Facts·
                         55       The motion was never about dictating who Ohana could select as counsel but about

                         acknowledging the attorneys already engaged: Holly Drumheller Butler and Steven D. Frenkil.

                         Despite Holly's consistent representation over the past 10 months and Steven's active role from

                         the original filing-appearing in thee-file system, named on the complaint, and nominated for

                         negotiations-M&S have deliberately obscured this fact. This tactic is a clear violation of Rule

                         4.1 (truthfulness in statements to others) and Rule 3.3 (candor toward the tribunal). By not

                         accurately declaring their involvement, they misled the court about the true nature of who is

                         representing Ohana. Done so they can obfuscate their knowledge of my personal contact

                         information and avoiding accountability for a no notice TRO.


                         2        Pattern of Procedural Manipulation;
                         56       M&S ' s pattern of misusing procedural rules is evident in several key instances:

                                  I.       No Notice TRO: They abused the formal announcement process, using an email

                                  they knew was non-functional despite having access to my mobile number and personal

                                  email, thereby avoiding proper notification.

                                  2.       Misleading Scheduling: Three days after the TRO, they misrepresented the show

                                  cause order's scheduling, resulting in only two days' notice instead of the required




                                                                                                                Page 18 of 36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page# 18 of36                              Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8         Filed 01/03/25    Page 76 of 226




                                  timeline, and denying me the mandated prehearing conference and 20 days to prepare a

                                  defense under Maryland Rule 15-206(c)(2).

                                  3.       Premature Default Request: They filed for a default order prematurely,

                                  attempting to depriving me of the opportunity to address the claims fully. Then they

                                  argued that a pleading which has no ability to contain exhibits or attachments was the

                                  correct interpretation of the automatic extension rule. Another instance of twisting

                                  procedural rules to suit their needs while avoiding the true scrutiny those rules were

                                  designed to provide.

                         3        Voluntary Withdrawal as Evasion:
                         57       Now, faced with the prospect of confronting the motions for relief and their own conduct,

                         M&S seek a voluntary dismissal. However, voluntary dismissal is not a tool for evasion; it is

                         meant to allow a party to withdraw a case and avoid over four months of malicious prosecution.

                         Allowing withdrawal at this stage, without addressing the pending violations, would be to

                         condone a clear abuse of process.

                                  1.       In Cooter & Gell v. Hartmarx Corp., 496 U.S. 384 (1990), the Supreme Court

                                  highlighted that voluntary dismissal does not absolve a party of misconduct during

                                  litigation. The court stressed that such dismissals should not be a refuge for those who

                                  misuse the legal process to their advantage.

                                  2.       Further, Judge Posner' s reasoning in Doe v. City of Chicago, 360 F.3d 667,673

                                  (7th Cir. 2004) supports the principle that the integrity of the judicial system requires

                                  holding parties accountable when they misuse procedural rules, regardless of their

                                  attempts to exit litigation unscathed.


                                                                                                                  Page 19 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System       Page# 19 of36                            Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8      Filed 01/03/25     Page 77 of 226




                         CONCLUSION
                         58       M&S's conduct throughout this case shows a calculated effort to manipulate rules when

                         convenient, discard them when inconvenient, and argue against their intent and purpose when

                         necessary. They have consistently demonstrated a pattern of misleading filings , procedural

                         abuses, and evasion, culminating in an attempt to voluntarily withdraw and escape the

                         consequences of their actions.

                         59       Maryland Rule 1-201 emphasizes that procedural rules are designed to ensure fairness,

                         due process, and efficient administration of justice. The violations here reflect a disregard for

                         the fundamental intent behind all rules, with M&S choosing strategy over substance at every

                         tum.


                         CITATIONS;
                         60       Rule 4.1 (Truthfulness in Statements to Others): "An attorney shall not knowingly

                         make a false statement of material fact or law to a third person."

                         61       Rule 3.3 (Candor Toward the Tribunal): "A lawyer shall not knowingly make a false

                         statement of fact or law to a tribunal."

                         62       Maryland Rule 15-206(c)(2): "The scheduled hearing date shall allow a reasonable time

                         for the preparation of a defense and may not be less than 20 days after the prehearing

                         conference."

                         63       Cooter & Gell v. Hartmarx Corp., 496 U.S. 384 (1990) : Establishing that voluntary

                         dismissal does not shield a party from misconduct during the litigation.

                         64       Doe v. City of Chicago, 360 F.3d 667,673 (7th Cir. 2004): Emphasizing the need for

                         courts to maintain the integrity of the judicial process and address procedural misuse.


                                                                                                               Page 20 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page # 20 of 36                             Exhibit 107
                   Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25        Page 78 of 226




                         65        By holding M&S accountable to the true intent and purpose of procedural rules, this

                         court can ensure that abusive litigation tactics do not prevail , and that justice is served in a

                         manner consistent with the principles of fairness and integrity that the legal system is meant to

                         uphold.

                                                 IV EXPEDITED INJUNCTIVE HEARING: 19-732
                         66        On October 8, 2024, I filed a Motion for an Urgent Hearing to address violations of

                         Constitutional Rights and Maryland Rule 1-201. By October 11 , a ruling directed a motion

                         judge to hear the matter, acknowledging the urgency. However, despite the financial severity of

                         my situation, soon 3 weeks will have passed without resolution.

                         67        The prolonged delay has had catastrophic consequences: my business opportunities have

                         collapsed, leading to financial default. My health has deteriorated significantly, with catatonic

                         episodes intensifying into a severe malignant state. My physical and cognitive health have

                         suffered grave harm, and my memory is no longer improving. Less than 12 hours ago, I

                         experienced profound confusion, struggling to distinguish when events had occurred. This

                         disorientation-the loss of context for memories- has made it difficult to track and manage

                         basic tasks, further compounding the stress and harm inflicted by these delays.

                         68        Allowing Ohana Growth Partners, LLC and Miles & Stockbridge, P.C. to withdraw from

                         the hearing isn 't a simple withdrawal- it's a victory through abuse of process. They have left me

                         in a severely diminished state, and the damage is done. My health has declined to a point where I

                         require costly care, and I don 't know if I'll ever work again in the same capacity. The harm I've

                         endured cannot be undone, but they must be held accountable for presenting a lawsuit devoid of

                         any truthful material statements.


                                                                                                                  Page 21 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page# 21 of36                                 Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8       Filed 01/03/25       Page 79 of 226




                         69        The relief! requested is minimal compared to what I will seek in later litigation. They are

                         evading consequences: sanctions, disqualification, judicial scrutiny for future litigation, and

                         investigations into their unlawful and unethical actions. While they claim to be concerned with

                         financial matters, they have gained a windfall of nine figures through recent refinancing. The

                         token relief I seek could significantly change lives as a new precedent, including mine, my

                         disabled brother' s, my elderly mother' s, and my wife ' s.

                         70        Winter is approaching, and without the relief sought in the seven motions, lives are at

                         risk. Those who depend on me will suffer, despite doing nothing wrong. I was unlawful

                         termination, they violated my FMLA and ADA rights, then found a way to have my due process

                         rights brushed aside for their convenience.

                         71        Ohana and M&S have no case, no cause of action, and no valid claim for relief. Every

                         material statement and claim they have made is false. This hearing would compel them to answer

                         for their conduct, holding them accountable and, more importantly, saving lives now and in the

                         future.

                                        V CLOSING ARGUMENTS INSPIRED BY RICHARD POSNER
                         72        I believe that if Judge Richard Posner were to examine this case, he would be highly

                         critical of the plaintiffs attempt to voluntarily withdraw, as it is a strategy to evade

                         accountability for the severe harm they have caused- both physically and financially. The

                         conduct of the plaintiff throughout this litigation aligns with the very patterns of abuse of

                         process that Judge Posner has consistently warned against and permitting them to withdraw

                         without addressing the pending motions for relief would undermine the purpose and integrity of

                         the judicial system.


                                                                                                                    Page 22 of 36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System    Page # 22 of36                                Exhibit 107
                   Case 1:24-cv-03744-BAH                 Document 16-8       Filed 01/03/25      Page 80 of 226




                                                A Intent to Evade Accountability and Harm Caused

                         73       The plaintiffs motion to voluntarily withdraw is not just an attempt to close this case, but

                         a calculated effort to avoid the consequences of their actions . As the U.S . Supreme Court

                         emphasized in Cooter & Gell v. Hartmarx Corp., 496 U.S. 384 (1990), "voluntary dismissal

                         does not automatically absolve a party of responsibility for wrongful or improper conduct during

                         litigation." This case involves significant physical and financial harm inflicted upon me , and

                         allowing the plaintiff to withdraw without consequences would be tantamount to sanctioning

                         their misuse of the legal system.

                         74       Judge Posner, who has a well-known emphasis on the intent and purpose behind laws,

                         would likely view this attempt to evade responsibility as an affront to the principles of justice. In

                         Richman v. Sheahan, 512 F.3d 876 (7th Cir. 2008), he noted that "litigation should be reserved

                         for cases with concrete disputes and substantive evidence," not as a means for manipulation or to

                         gain unfair advantages. Here, the plaintiffs attempt to withdraw is designed to avoid addressing

                         the substantive harm they have caused.


                                                        B   Pattern of Abusive Litigation Tactics
                         75       The plaintiffs behavior throughout this case fits the classic definition of abuse of

                         process, where legal proceedings are manipulated for improper purposes. According to

                         Restatement (Second) of Torts § 682, abuse of process occurs when someone uses "a legal

                         process against another primarily to accomplish a purpose for which it is not designed. " Judge

                         Posner' s ruling in Reid v. White Motor Corp., 886 F.2d 1462, 1471 (7th Cir. 1989)

                         highlighted the need for courts to ensure that the legal process is not misused, stating that "the

                         judiciary must not allow itself to be turned into an instrument of harassment or oppression."

                                                                                                                 Page 23 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System    Page # 23 of36                             Exhibit 107
                    Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25       Page 81 of 226




                          76      In our case, the plaintiff's ongoing actions- including this motion to withdraw- are

                          attempts to escape the legal and financial consequences of their conduct. The seven pending

                          motions for relief are directly tied to addressing this misconduct, and withdrawing without

                          accountability would permit the plaintiff to weaponize the legal system for their own advantage.


                                           C Judicial Efficiency and the Puwose of Motions to Dismiss

                          77      In Vukadinovich v. Posner, 279 F.3d 994 (7th Ci r. 2002), the discussion on motions to

                          dismiss highlighted Judge Posner' s view that such motions are critical to filtering out baseless

                          claims and preventing misuse of the court's resources. A motion to dismiss serves the dual

                          purpose of protecting against frivolous or meritless actions and maintaining the efficiency of the

                         judicial system.

                          78      The plaintiffs attempt to withdraw without consequence parallels Posner's view on the

                          purpose of these early judicial mechanisms: to prevent unnecessary prolongation of cases and to

                          focus on the merits. Allowing the plaintiff to escape the consequences of the motions for relief

                          would violate these principles, creating a precedent where litigants can inflict harm and then

                          evade redress by strategically withdrawing.


                                         D Substantive Evidence and the Inte~rity of the Judicial Process

                          79      Judge Posner has repeatedly emphasized that the judicial system must be based on

                          concrete evidence and fairness . In Doe v. City of Chicago, 360 F.3d 667, 673 (7th Cir. 2004),

                          he stated, "claims must be scrutinized to ensure they are not built on speculative foundations. "

                          Here, the plaintiff's claims- followed by their sudden withdrawal- are because they lack the

                          substance and credibility necessary to justify relief or a lawsuit, yet they have inflicted real and


                                                                                                                   Page 24 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System   Page # 24 of36                               Exhibit 107
                    Case 1:24-cv-03744-BAH                 Document 16-8        Filed 01/03/25     Page 82 of 226




                          tangible harm. The motions for relief are not merely procedural; they are an essential response to

                          the plaintiff's misconduct, grounded in evidence that must be addressed.

                          80      Allowing voluntary withdrawal without addressing the harm would be a miscarriage of

                          justice, as Judge Posner would likely argue that the legal system's integrity requires confronting

                          and rectifying any abuse, not allowing it to slip through procedural loopholes.


                                                                        CONCLUSION

                          81      In conclusion, Your Honor, the plaintiffs motion to voluntarily withdraw is a clear

                          attempt to evade the consequences of their actions and avoid the pending motions for relief.

                          Judge Posner's extensive writings and judicial opinions underscore that courts must act as

                          guardians of fairness and efficiency, not allowing the system to be manipulated for improper

                          ends.

                          82      The principle established in Cooter & Gell and reiterated by Judge Posner in various

                          cases is that the purpose of the legal system is to address legitimate grievances and provide

                          accountability, not to be used as a shield for those who seek to harm others and then retreat

                          without consequences. Granting the plaintiff's withdrawal would undermine the purpose of this

                          honorable court and violate the standards of justice that Judge Posner has long advocated.

                          83      Therefore, I respectfully request that this court either deny the plaintiffs voluntary

                          dismissal or condition it upon a thorough adjudication of the pending motions for relief. The

                          harm caused must not go unanswered, and the judicial process must remain a forum for truth,

                          accountability, and the proper administration of justice-values that I believe Judge Posner

                          would argue are central to the role of the judiciary.


                                                                                                                  Page 25 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System     Page # 25 of 36                           Exhibit 107
                   Case 1:24-cv-03744-BAH                 Document 16-8       Filed 01/03/25       Page 83 of 226




                                                  VI ADDITIONAL FACTS AND ARGUMENTS

                                             A Daniel Levett; Ohana Had Other Admins With Access
                         84       Dante Martinez's Role: Dante Martinez, the Help Desk Manager, holds an administrator

                         position with privileged roles, meaning his access goes beyond standard non-privileged

                         administrators. His privileges grant him the highest level of access.

                         85       Help Desk Capabilities: Martinez and other Help Desk staff have the ability to manage

                         all functionalities, including accessing other mailboxes using their privileged Exchange

                         administrator roles .

                         86       Conclusion from 1 & 2: Ohana & M&S's claims that there are no other administrators

                         are false . They have a whole team with administrative privileges.

                         87       Affidavit of Daniel Levett: Levett suggests I can access accounts using only my phone

                         or personal email. However, he omits that my personal email is a backup for regaining access to

                         my account in case I'm locked out. This method only grants the same access Levett already has

                         to my email.

                         88       Password Reset Access: With access to an email account, full control can be regained

                         via password reset. This applies equally to accounts with a Global Administrator (GA) role, as

                         those accounts are not different from other privileged roles in this respect.

                         89       Implications: The Help Desk can use their current access to obtain further access or

                         grant it to others. This demonstrates that Ohana never lost access and didn't need injunctive

                         relief to regain it. While the first two points could be attributed to a lack of technical

                         understanding, they are aware that an entire Help Desk team has administrative access.




                                                                                                                      Page 26 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System    Page # 26 of 36                                Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8       Filed 01/03/25    Page 84 of 226




                         90       Conclusion: The affidavit of Daniel Levett confirms that Ohana retained access and had

                         no legitimate need for injunctive relief.


                                                                 B No Hording of Access

                         91       Access for Help Desk Director: I was arranging to grant the Help Desk Director access

                         to a Global Administrator (GA) emergency account. This is documented in emails and meeting

                         invites, following the same rationale I used to grant access to Justin Drummond.

                         92       Outreach to Karen Cepress: I also contacted Karen Cepress through Teams, attempting

                         to set up similar access for her. Cepress had previously been involved in PCI DSS compliance

                         and had an account in the old system.

                         93       Redundancy and Compliance: These efforts were part of a broader strategy for regional

                         redundancy and compliance. Once I figured out how to give access to Justin Drummond, I

                         realized I could extend this to the Help Desk Director in Texas for redundancy and to Cepress for

                         her expertise in compliance.

                         94       Account Creation for Geoff VanMaastrich: In addition, I created a separate account

                         for GeoffVanMaastrich from Planet Fitness HQ. Despite my efforts, VanMaastrich declined the

                         offered access on two occasions.

                         95       Conclusion: These actions demonstrate a clear effort to share administrative access with

                         relevant individuals, directly contradicting claims that I was hoarding access.


                                                        C No Employees Access Was Removed




                                                                                                              Page 27 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System    Page # 27 of 36                         Exhibit 107
                   Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25     Page 85 of 226




                         96       Lack of Supporting Evidence: If the claim were accurate, there would be clear system

                         logs or documentation showing instances where I removed employee access . No such evidence

                         has been presented.

                         97       Access Changes Were Collaborative: The only modifications to access were made in

                         coordination with the IT team as part of discussions about implementing " on-demand access" for

                         privileged roles, such as Global Administrator. These changes were aimed at adjusting and

                         expanding access, not restricting it.

                         98       Communicated with IT Team : My efforts to update access were fully documented in

                         emails with the IT team. These communications focused on tweaking access settings to provide

                         broader access to the appropriate personnel, not to reduce it.

                         99       Conclusion: The actions taken were consistent with a collaborative effort to improve

                         access control, and there is no evidence to support the claim that I restricted or removed access

                         from any employees.


                                              D Recommendation for Standard E-Discovery Practice:

                         100      The court should make it a standard practice to include logs in all e-discovery requests.

                         This requirement would significantly deter evidence tampering, as maintaining accurate logs is a

                         common practice not limited toe-discovery.

                         101      Importance of Logs: Missing or incomplete logs are inherently suspicious and cast

                         doubt on the authenticity of e-discovery data. If previous e-discovery requests involving Ohana

                         Growth Partners, LLC, had included logs, the data provided might have been different.

                          102     Suspicious Patterns: Emails I've reviewed suggest that some actions around e-discovery

                         requests were questionable. For instance, during an urgent migration of emails to M365 , an e-

                                                                                                                Pagc 28 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page # 28 of 36                            Exhibit 107
                   Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25       Page 86 of 226




                         discovery request coincided with this move. After the e-discovery was completed, the urgency to

                         migrate abruptly stopped, resuming only years later in 2023 when external circumstances

                         necessitated immediate action.

                          103     Conclusion: Requiring logs in e-discovery would ensure greater transparency and reduce

                         the risk of evidence manipulation, promoting more accurate and honest litigation outcomes.


                                             E Comparing Emergency Actions Sept 2023 v June 2024

                          1       September 2023 Emergency Response;
                          104     In late August to September 2023 , when I was on the verge of being promoted to a new

                         executive position, a serious hardware risk arose. A failed air conditioning unit threatened to

                         overheat the on-site servers, endangering business continuity. 1n response, the entire server

                         infrastructure was swiftly relocated within weeks. This decision was made without prolonged

                         scrutiny or debate, focused solely on protecting business operations. There was no questioning of

                         the urgency, costs, or technical details- actions were taken promptly to mitigate risk.


                         2        June 2024 Situation - A Contrastin" Approach:
                          105     In June 2024, similar risks affected the financial data due to neglected maintenance by

                         Ryan Brooks, reaching a critical stage. Unlike the rapid response in September 2023 , Glenn

                         Norris refused to authorize basic, standardized procedures essential for database integrity. This

                         inaction posed a threat of data loss or corruption due to the system 's inability to write data

                         correctly- standard measures that should have been implemented months earlier to protect vital

                         financial information.




                                                                                                                  Page 29 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page# 29 of36                                Exhibit 107
                   Case 1:24-cv-03744-BAH                 Document 16-8       Filed 01/03/25      Page 87 of 226




                          3       Key Contrast in Responses
                          106     The difference in urgency and decision-making between these two situations is stark. In

                          September 2023 , with my imminent promotion, the urgency and need to protect the hardware

                          was clear, and swift actions were taken without hesitation. By contrast, in June 2024, when my

                          role was being portrayed negatively, the same sense of urgency was missing. This suggests a

                          shift in priorities or motivations, especially given the basic and standardized nature of the actions

                          that were delayed in 2024.


                          CONCLUSION
                          107     The comparison between these two scenarios illustrates a shift in how risks are handled

                          and how priorities may have been influenced by my position within the organization. In 2023 ,

                          actions were taken swiftly when I was viewed favorably. In 2024, during a time when my actions

                          were being portrayed negatively, similar threats to data were deprioritized, highlighting potential

                          inconsistencies in how my role and decisions are now being characterized.


                                                       F Court Op inion - Judge Michael Barranco

                          Amended Notes: Section has been rewritten for improved clarity and focus on the negative

                          impact to the proceedings. However, the content was not substantively modified. Additional

                          content about the adverse impact is in Affidavit of Voluntary Dismissal.

                          108     Fraud upon the court had a profound impact on both my life and the court's perception of

                          this case. I first experienced the consequences of this fraud during the initial hearing, when Judge

                          Michael Barranco posed a troubling question: "Why can't they just remove you as the PCI

                          Compliance Officer and then force you to do it?" This question stands out as a pivotal



                                                                                                                  Page 30 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System   Page # 30 of 36                             Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8       Filed 01/03/25       Page 88 of 226




                         moment because it was the first significant recollection I regained, indicating that something was

                         seriously wrong.

                          109     However, Judge Barranco's handling of the case revealed multiple concerning actions:

                                  1.       He dismissed my statements regarding my disabilities, deciding himself what I

                                  was capable of, which gave me the impression he had already accepted Robert Brennen's

                                  narrative before the hearing even began.

                                  2.       He denied my motion for a continuance after hearing just the introduction, cutting

                                  me off before I could even explain my reasons.

                                  3.       Despite being informed that my PTSD was causing memory issues, he insisted on

                                  swearing me in.

                                  4.       He ignored my approved FMLA status, ADA accommodations, and evidence that

                                  I requested to use protected leave hours before the Plaintiff's demands. He prohibited me

                                  from raising jurisdictional priority issues to move the case to federal court.

                                  5.       During cross-examination of Randall Romes, I attempted to get Romes to clarify

                                  his expert evaluation, but Judge Barranco interrupted, taking over the questioning and

                                  ending my opportunity to ask further questions.

                                  6.       The Judge frequently asked me leading questions, eventually limiting my

                                  responses to "yes" or "no," which prevented me from fully explaining my position.

                                  Robert Brennen has since exploited the Judge's opinions as confirmation, but omits the

                                  context of due process issues.

                                  7.       On multiple occasions, the Judge made suggestions and posed questions in a way

                                  that appeared to support the Plaintiff's arguments. His approach often seemed


                                                                                                                   Page 31 of 36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System    Page # 31 of36                               Exhibit 107
                    Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25       Page 89 of 226




                                  indistinguishable from that of Plaintiffs attorney, given how little prompting was

                                  required from Brennen .

                                  8.       At the outset, Judge Barranco acknowledged that the timeline of events was

                                  improper, yet continued without offering any rationale for deviating from established

                                  scheduling rules.

                                  9.       When asked if both parties had tried to resolve the matter, I noted an agreement

                                  that Ohana had abandoned. The Judge, however, accepted Brennen' s non-verbal

                                  response--a shrug and confused sound- as sufficient, without seeking clarification.

                                   10.     The Judge issued injunctions with conflicting instructions, requiring me to

                                  complete actions in a system while simultaneously prohibiting access to that system,

                                  making compliance impossible.

                                   11.     Two unswom individuals, Justin Drummond and Rich Hartman, acknowledged

                                  that I was their technical expert, yet the Judge did not question how these non-technical

                                  individuals could submit affidavits with technical claims about a system to which they

                                  had no access.

                                   12.     Although the Judge correctly referenced part of the opinion from Federal Trade

                                  Commission v. Wyndham Worldwide Corporation, I confirmed it was about "least

                                  privilege" access. Despite this, he failed to grasp the relevance of least privilege--a core

                                  concept in PCI compliance- and dismissed the connection to the case.

                                   13.     My wife, a licensed therapist, testified about my deteriorating condition, but the

                                  Judge dismissed her observations, stating he would only consider testimony from




                                                                                                                  Page 32 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System   Page# 32 of36                                Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8      Filed 01/03/25       Page 90 of 226




                                  healthcare professionals-despite two letters from my doctors and FMLA paperwork

                                  being already in the court record.

                         110      Conclusion: These actions indicate a consistent pattern of bias and a lack of thorough

                         consideration for the evidence and legal standards relevant to my case. The cumulative effect of

                         these judicial choices profoundly impacted the court's perception of me and the proceedings.


                                       G Proper Judicial Role in Preliminary Stage: Purpose of Mootness

                         111      The doctrine of mootness serves to maintain judicial efficiency and integrity, ensuring

                         courts only engage with disputes that are still relevant. Its purpose in the preliminary stage is to

                         validate the foundation of a case, particularly when the legitimacy of the plaintiff's claims is in

                         question.

                                  1.      Relevance to Case Assessment: During the preliminary phase, the court' s role is

                                  to assess the validity and materiality of the claims. Declaring motions moot prematurely

                                  undermines this stage's function to verify which issues are significant.

                                  2.      Ensuring Fair Review: Mootness should not be used to sidestep foundational

                                  scrutiny. In this case, dismissing preliminary motions prevented a proper examination of

                                  whether the plaintiffs claims had any real substance.

                         112      This improper application of mootness during the preliminary phase prohibits accurate

                         case assessment, as illustrated in US Bancorp Mortgage Co. v. Bonner Mall Partnership, 513

                         U.S. 18 (1994), where the court noted: "Mootness is not a license/or courts to avoid resolution

                         of key issues if they remain pertinent to the case."




                                                                                                                  Page 33 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page # 33 of 36                              Exhibit 107
                    Case 1:24-cv-03744-BAH                Document 16-8        Filed 01/03/25        Page 91 of 226




                          CONCLUSION OF MOOTNESS
                          113     The misuse of the doctrine of mootness in this preliminary phase illustrates a failure to

                          engage with the true purpose of the doctrine. By dismissing motions as moot without evaluating

                          the material substance of the plaintiffs claims, the court failed to fulfill its responsibility to

                          clarify the core issues at the heart of the case. Proper application of mootness ensures that only

                          irrelevant matters are excluded, preserving the efficiency and fairness of the judicial process.




                                                                                                                     Page 34 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System    Page # 34 of 36                               Exhibit 107
                    Case 1:24-cv-03744-BAH                 Document 16-8     Filed 01/03/25        Page 92 of 226




                                                           DECLARATION OF AFFIRMATION
                                  I solemnly declare and affirm under penal ties of perjury and upon personal knowledge

                         that the contents of the foregoing paper and exhibits thereto are true.



                          October 28, 2024

                                                                                /s/ Ryan Dillon-Capps
                                                                                Ryan Dillon-Capps (Pro Se)
                                                                                Email: ryan@mxt3 .com
                                                                                1334 Maple Avenue
                                                                                Essex, Maryland 21221
                                                                                Telephone: (703) 303-1113




                                                                                                              Page 35 of36



. Amended Affidavit of Plaintiff's Abusive Use of the Judicial System   Page# 35 of36                           Exhibit 107
             •
                   Case 1:24-cv-03744-BAH                 Document 16-8      Filed 01/03/25     Page 93 of 226




                                                              RESPECTFULLY SUBMITTED

                         October 28, 2024                                       /s/ Ryan Dillon-Capps
                                                                                Ryan Dillon-Capps (Pro Se)
                                                                                Email : ryan@mxt3 .com
                                                                                1334 Maple Avenue
                                                                                Essex, Maryland 21221
                                                                                Telephone: (703) 303-1113




                                                               CERTIFICATE OF SERVICE

                     I HEREBY CERTIFY that on October 28, 2024, a copy of Amended Affidavit of Plaintiff's

                     Abusive Use of The Judicial System via email to rbrennen@milesstockbridge.com and served on

                     via first-class mail, postage prepaid on:



                                  Robert S. Brennen
                                  Miles & Stockbridge P.C.
                                  100 Light Street
                                  Baltimore, Maryland 21202



                                                                                ls/Ryan Dillon-Capps
                                                                                Ryan Dillon-Capps (Pro Se)




                                                                                                             Page 36 of36



. Amended Affidavit of Plaintiffs Abusive Use of the Judicial System   Page # 36 of36                         Exhibit 107
                 Case 1:24-cv-03744-BAH            Document 16-8        Filed 01/03/25      Page 94 of 226




                          OHAN A GROWTH PARTNERS,                         IN THE

                          LLC                                            CIRCUIT COURT

                                      Plaintiff,                          FOR

                          vs.                                             BAL TIM ORE COUNTY

                          RYAN DILLON-CAPPS                              CASE NO: C-03-CV-24-

                                      Defendant.                         002264


                                              AFFIDAVIT FOR SANCTIONS



             I, Ryan Dillon-Capps, being over the age of eighteen (18) and competent to testify, and having

             personal knowledge of the facts contained herein, state as follows :



             1        On June 7, 2024, I reached an agreement with Justin Drummond, President of Ohana

             Growth Partners, wherein I would provide access to an account with Global Administrator

             privileges. The accord resolved the Plaintiffs request for access, and Justin Drummond agreed to

             satisfy the agreement on Monday and Tuesday, June 10-11 , 2024.

             2        Contrary to our agreement, Justin Drummond did not facilitate the fulfillment of our

             accord. Despite my repeated follow-ups , he delayed the process, leading me to believe that the

             agreement would be satisfied the following week. Ohana Growth Partners has since filed this

             lawsuit, alleging that I refused to cooperate-a claim that contradicts the facts of our prior

             agreement.

             3        Miles & Stockbridge, counsel for Ohana Growth Partners, is aware of the agreement

             made on June 7, 2024, and the fact that Ohana Growth Partners failed to fulfill their obligations.

                                                                                                    Page 1 of 11

Affidavit for Sanctions                                  Page# I of28                                          Exhibit 107
& Exhibits 1-5
                 Case 1:24-cv-03744-BAH           Document 16-8         Filed 01/03/25       Page 95 of 226




             This is evidenced by documents submitted in my defense filings, which clearly demonstrate that

             l was not at fault for the lack of access to the account. Despite this, Miles & Stockbridge

             continues to support these false claims by Ohana Growth Partners.

             4        Without providing me with proper notice, Miles & Stockbridge obtained a Temporary

             Restraining Order (TRO) then filed for enforcement with a show cause order. Misleading the

             court, the law firm claimed that show cause hearings had a 10 day scheduling requirement while

             arguing that due process should be violated in the name of justice to reduce it further to 5 days

             and with the 2 day delay to be notified provide 3 days ' notice to show cause on a fraudulently

             obtained TRO on a fraudulent lawsuit. The rule should have provided a prehearing conference

             and then a minimum of 20 days, not 3.

             5        On July 2, 2024, I requested Miles & Stockbridge, counsel for Ohana Growth

             Partners, to provide a transcript of the hearing held on June 26, 2024. In response, they stated

             that they would only release the transcript after receiving $12,500, a sum related to fraudulently

             obtained contempt charges. This sum has no legitimate basis, as the contempt charges were

             improperly secured through misrepresentation.

             6        By conditioning the release of the court transcript on payment of money tied to fraudulent

             charges, Miles & Stockbridge deliberately obstructed my access to crucial evidence necessary

             for defending against the claims in this case. Their refusal to provide the transcript until payment

             is made has directly impaired my ability to fairly litigate this matter. This conduct violates the

             rules of professional conduct governing fairness and obstructs the judicial process, causing

             significant prejudice to my defense.

             7        I believe Miles & Stockbridge's actions are unethical and amount to intentional

             obstruction of evidence, which has prevented me from presenting my case and has delayed



                                                                                                     Page 2 of 11

Affidavit for Sanctions                                  Page# 2 of28                                             Exhibit 107
& Exhibits 1-5
                  Case 1:24-cv-03744-BAH           Document 16-8         Filed 01/03/25      Page 96 of 226




             justice in this matter. Their refusal to comply with a reasonable request for evidence not only

             violates procedural norms but also demonstrates bad faith in these proceedings.

             8        The Temporary Restraining Order (TRO) was obtained using an email address that I was

             not permitted to access . The complaint included a suspension notice indicating that I was

             prohibited from accessing certain systems, including email. This raises questions about the

             methods used to provide notice and the accuracy of the claims made in the lawsuit. It seems

             unreasonable to expect me to access a prohibited system to receive notice. Additionally, there is

             no valid argument to be made that they did not know what they were filing and serves to

             demonstrate collusion establishing they are co-conspirators in defrauding the court.

             9        They have argued that they provided a valid notice, and I point out that this case is based

             on their necessity to obtain injunctive relief, and recently have argued to the court that I had used

             the email the night before and strongly inferring that I had a choice, and my choice was to not be

             notified. Miles & Stockbridge made the same argument on compliance with conflicting orders

             that demanded I access and make changes in a system that the same order was including a

             prohibition to do either of those things. There is no way that I could have been notified or

             complied with without incurring defiance given the restrictions imposed upon me.

             10       Despite raising issue with the wording in the order, I was a daily fine of $2500 and

             neither Ohana nor Miles and Stockbridge took issue with this. Instead, they updated the order to

             change the named entity from those at Hartman Executive Advisor to Randall Romes.

             11       This informed me that the daily rate for someone perpetuating a false narrative was the

             going rate because that is the messaging provided to me by the Judge. I also learned that

             Hartman Executive Advisors was not currently involved and can deduce this contrary to the

             affidavit because



                                                                                                     Page 3 of 11

Affidavit for Sanctions                                   Page# 3 of28                                          Exhibit 107
& Exhibits 1-5
                Case 1:24-cv-03744-BAH            Document 16-8          Filed 01/03/25     Page 97 of 226




                      1. There is no reason for the co-conspirators to change who is receiving access unless
                         they not involved which is in direct contradiction to Daniel Lavette 's Affidavit that
                         says he was involved the entire time.
                      2. After the Affidavit Ohana quickly obtains access to a Global Admin account with the
                         assistance of another administrator,
                      3. This means that the claim to have no other admins and to have no access to an
                         account with the Global Adrnin are both false claims.
                      4. If access was obtained quickly after the Affidavit saying they were involved the entire
                         time, then why didn't they do it sooner?

             12       Based on the documented evidence where they replied on coercive threats to compel me

             to do something unlawful. I don ' t make a claim, but offer the observation that people are

             predictable and have clearly definable patterns. Justin Drummond suddenly had a vacation the

             week in March and June where they tried and then did take adverse action against me.

             Communications involving accusing Holly Butler are followed by the March and June plans to

             take adverse action against me. Richard Hartman targeted Darren Koritzka for writeup and then

             leave of absence in March and then after the email at 2:05 in June. I reported the action to Justin

             Drummond in March and then HR closed the investigation. The request for attorney information

             resulted in HR closing the Fraud investigation in June. Glenn Norris signed a contract with HEA

             and Glenn Norris has demonstrated that when he doesn 't get what he wants the resolution can

             include coercive threat, and this is why I didn't name HEA as there is evidence that suggests to

             me that they lie in their Affidavit out of duress.

             13       When monetary damages are awarded, I believe that Ohana Growth Partners and Miles &

             Stockbridge are both independently and as co-conspirators responsible for perpetuating the false

             narrative of this case from June 14, 2024, until the day they cease with perpetuating the false

             narrative. Considering what they both accepted as a reasonable daily rate for what the judge

             determined was me perpetuating the false narrative that I was choosing not to comply. I submit

             that this be the amount of relief assigned again. I also point out that Miles and Stockbridge and


                                                                                                    Page 4 of 11

Affidavit for Sanctions                                   Page# 4 of28                                           Exhibit 107
& Exhibits 1-5
                Case 1:24-cv-03744-BAH             Document 16-8          Filed 01/03/25       Page 98 of 226




             Ohana Growth Partners gave up a defense against this number being used when they thought it

             was a good number to assign, and if there had been two of me then the court ruling would have

             been no different in the assignment of cost being per person as the wording is that it was

             assigned by the individuals choice. l had no choice as the order was impossible to comply

             without defying the order, but they do and they have no excuse for choosing to continue with

             their course of action.

             14       Until then the Plaintiff and Miles & Stockbridge are continuing to engage in actions

             designed to harass me and prolong this litigation unnecessarily. Their repeated filings rely on the

             same misrepresentations and false narratives, wasting both judicial resources and my time. They

             continue to file oppositions that rehash the same arguments without addressing their lack of a

             claim, lack of particular harm, lack of explanation how I was a risk, or even acknowledging the

             factual inaccuracies that have already been pointed out because they can only hope that they

             convince the court one more time to ignore the substantive purpose and meaning of the law and

             manipulate the court into one final signature that they will leverage to avoid a judicial review of

             their unlawful and unethical activities.

             15       Their latest opposition ignores what they filed and how this case is structured as an

             injunction. The motion to vacate was a joint filing to vacate both the TRO and the show cause

             order attached to it, as the TRO and preliminary injunction are central to the Plaintiffs

             complaint. Miles & Stockbridge's filing is essentially enforcing the Plaintiffs complaint.

             16       The purpose of Md. R. Civ. P. Cir. Ct. 2-322 is to raise legal issues early in litigation,

             allowing Defendants to challenge vague or baseless claims. Rule 2-322 is rooted in fairness ,

             aiming to prevent Defendants from being burdened by flawed cases. Inspired by Fed. R. Civ. P.

             12, Rule 2-322 addresses motions that can be resolved without a trial on the merits.



                                                                                                       Page 5 of 11

Affidavit for Sanctions                                    Page# 5 of28                                            Exhibit 107
& Exhibits 1-5
                  Case 1:24-cv-03744-BAH          Document 16-8         Filed 01/03/25       Page 99 of 226




             17       Maryland Rule 2-322 is specifically designed to address issues the court can determine

             without a trial on the merits. Some of these must be raised before an answer is filed, while others

             prefer to be addressed early. The rules penalize or prohibit certain actions to encourage proper

             completion of preliminary matters before moving to an answer and adding additional pleadings.

             18       The Plaintiff and their counsel have consistently misused procedural rules throughout this

             litigation. Claiming it was in for justice to violate due process under false pretense and

             misleading the court to what the scheduling rules are. However, now they want to separate the

             words from the context and purpose to which they exist.

             19       The Partners at Miles & Stockbridge have had my personal phone number and email

             address since December 2023 when I emailed them seeking legal assistance on the same issues

             that ultimately brought us here today, and Steven Frenkel responded to my inquiry. Therefore,

             Holly Butler, Steven Frenkel, and Robert Brennen all had access to my personal phone

             number and email address 6 months before they chose to not use it. Steven Frenkel has been

             unofficially joined to this case the entire time as seen in the very first email messages exchanged,

             and Holly Buttler almost met her ethical requirements in saying that she worked for Ohana.

             20       However, she failed to say that Ohana had an adverse position to me, an unrepresented

             person to which she was saying her involvement was to perform a fraud investigation. An

             investigation that never once utilized the department resources to gain access to the data in the

             legal hold that had been secured for the purpose of aiding the 3rd party investigator

             21       They choose not to investigate as they claimed was their purpose, and they choose to use

             an invalid contact method, and they choose to mislead the court with a fraudulent email thread,

             and they choose to mislead the court on the statute, and they are choosing now to mislead the




                                                                                                     Page 6 of 11

Affidavit for Sanctions                                  Page# 6 of28                                            Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH            Document 16-8          Filed 01/03/25       Page 100 of 226




             court by pretending preliminary motions are not for challenging the basis of their fraudulent

             case, and are choosing to pursue a default order in a case lacking particularized harm.

             22       The Plaintiff and Miles & Stockbridge's actions are a direct negative impact on my

             ability to pursue litigation that does have merit and is not based on a false narrative to avoid

             being held accountable. Their refusal to honor the original agreement, combined with their

             continued presentation of false evidence is placing undue financial burden on me and inflicting

             emotional harm against a person who just wanted to use their FMLA leave so they could focus

             on their mental health.

             23       Instead, I now have new symptoms and the daily panic attacks that last for hours pale in

             comparison to the moment where I realize I don't know where I am and don 't know how I got

             here or what is going on. I have been referred to have more comprehensive treatment which may

             include inpatient treatment for an unforeseeable time, and I can' t do that because of this case. I

             can't do that because I am supporting my elderly and disabled mother, disabled brother, my wife,

             and myself. I can' t do that because I am not the only victim in this case and Darren Koritzka has

             been terminated, Ohana has expressed their intentions to remove Ann Pinera, and they hold over

             the head of Cielo IT, their help desk, a note where their actions and previous statements suggest

             that they are eager to demand that note for no other purpose then to hurt Cielo TT.

             24       The act of doing so may end the organization, and it should be known that Cielo IT

             current situation is not entirely of their own accord as their reputation was targeted and damaged

             and if they are to fall then they do so with sufficient reason to establish a claim by the actions of

             those also involved in other unlawful and suspicious activities. The manipulation of the court

             process is prolonging justice and preventing me seeking justice for irrevocably changing my life

             for the worse because they didn't want to negotiate and address my concerns to prevent



                                                                                                      Page 7 of 11

Affidavit for Sanctions                                  Page# 7 of28                                           Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH             Document 16-8          Filed 01/03/25      Page 101 of 226




             retaliation on others and provide assurances that I wasn' t going to have problems from others

             illegal activities later. It also prevents satisfaction of the other victims both those who know and

             those who are unaware .

             25       Given Robert Brennen's litigation history, where his defense strategy is to minimize

             damages by attacking the merits of the case, it is notable when he fails or avoids arguing the

             merits in this instance. In prior cases, such as Streeter v. Walden University LLC, where his

             defense successfully led to a dismissal based on procedural grounds, and in Claudio De Simone

             v. Alfasigma USA, Inc., where complex business interests were defended, Brennen's typical

             approach is to robustly contest the substantive claims to avoid large damage awards . This shift in

             strategy, where he avoids addressing the merits, should be considered as a failure to uphold his

             usual defense practices and reflects greater culpability.

             26       As such, a 2x multiplier for liquidated damages is appropriate in this case. This

             multiplier not only compensates for the harm caused by the plaintiff's actions but also

             acknowledges the deviation from their typical strategy, suggesting a greater underlying fault . By

             avoiding the merits of the case, Brennen implicitly concedes the validity of the claims,

             warranting enhanced damages to account for this behavior.

             27       From the outset of this case, I expressed disbelief that it had even been filed, and I have

             repeatedly given both parties ample notice that sanctions would be sought. I have consistently

             encouraged the Plaintiff to end this fraudulent lawsuit, offered to engage in discussions to

             resolve the matter, and requested negotiations. Despite these efforts, the Plaintiff and their

             counsel have continued to pursue this case with intentional disregard, even though they are

             fully aware that the case is founded on fraud . The removal of the show cause order without

             ever presenting particularized harm or establishing any cause-and-effect relationship to



                                                                                                      Page 8 of 11

Affidavit for Sanctions                                   Page# 8 of28                                          Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH            Document 16-8           Filed 01/03/25      Page 102 of 226




             support their claims further demonstrates that this case has always been a pretense. It is evident

             that the Plaintiff has used the Court not as a means for evading justice but as a tool to inflict

             harm upon me and damage my reputation.

             28       To Miles & Stockbridge and Ohana Growth Partners, the Baltimore County Circuit

             Court has become a carelessly wielded tool in their effort to harm others, with no regard for the

             impact of their actions on those they have misled. They have leveraged their law firm's

             longstanding reputation and personal relationships to manipulate the Court and show

             disregard for the institution, the judicial body, and the individuals they have targeted . This is

             not just about harming me; it reflects their broader disregard for the integrity of the judicial

             system. I have delayed filing bar and criminal complaints of my own, hoping that others would

             take action to counteract their misuse of power. I sincerely apologize to the Baltimore County

             Circuit Court for being pulled into this fraudulent situation, and had it not been for the mental

             breakdown I suffered, I believe this case could have been resolved before the first hearing

             29       Instead, this case has become an unbelievable situation where I, as a pro se litigant,

             have struggled to adequately explain the material facts of the case. Since June 17th, I have

             been severely hindered in finding legal representation. Even those who considered taking on my

             case were discouraged by the overwhelming complexity and manipulated narrative presented

             by the Plaintiff.

             I am presenting the court with 5 new exhibits:

                  l) Email message to Miles & Stockbridge on 20240910 at 15:53 informing them of my

                      intent to reply in opposition and reminding them of my prior offers to negotiate that are

                      unanswered.




                                                                                                      Page 9 of 11

Affidavit for Sanctions                                 • Page# 9 of28                                            Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH              Document 16-8            Filed 01/03/25   Page 103 of 226




                 2) Email Message that contains the attachment presented as exhibit 3. Provided the email to

                      show notice was delivered.

                  3) A "Final" attempt to end their baseless lawsuit and they do not reply to any of these.

                 4) Robert Brennen denying evidence until I meet his demands - obstruction

                  5) Steven Frenkel response in December with my email and phone number and also shows

                      some of the issues that are the true cause for this lawsuit.




                                         DECLARATION OF AFFIRMATION

             I SOLEMNLY DECLARE AND AFFIRM UNDER PENAL TIES OF PERJURY AND
             UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE FOREGOING PAPER
             AND EXHIBITS THERETO ARE TRUE.


             September 27, 2024                                               s/ Ryan Dillon-Capps
                                                                              Ryan Dillon-Capps (Pro Se)
                                                                              Email: ryan@mxt3.com
                                                                              1334 Maple Avenue
                                                                              Essex, Maryland 21221
                                                                              Telephone: (703) 303-1113




                                                                                                    Page 10 of 11

Affidavit for Sanctions                                   Page # IO of 28                                     Exhibit 107
& Exhibits 1-5
                Case 1:24-cv-03744-BAH            Document 16-8          Filed 01/03/25   Page 104 of 226




                                           RESPECTFULLY SUBMITTED,


               September 27, 2024                                          /s/ Ryan Dillon-Capps
                                                                           Ryan Dillon-Capps (Pro Se)
                                                                           Email: ryan@mxt3 .com
                                                                           1334 Maple Avenue
                                                                           Essex, Mary land 21221
                                                                           Telephone: (703) 303-1113




                                                 CERTrFICATE OF SERVICE
               I HEREBY CERTIFY that on September 27, 2024, a copy of the Affidavit for Sanctions was

        sent via email to rbrennen@rnilesstockbridge.com and served on via first-class mail, postage prepaid

         on:



                      Robert S. Brennen
                      Miles & Stockbridge P.C.
                      l 00 Light Street
                      Baltimore, Maryland 21202




                                                                  ls/Ryan Dillon-Capps
                                                                  Ryan Dillon-Capps (Pro Se)




                                                                                                 Page 11 of 11

Affidavit for Sanctions                                Page # 11 of 28                                     Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH   Document 16-8        Filed 01/03/25   Page 105 of 226




                                           EXHIBIT I




Affidavit for Sanctions                      Page# 12 of28                                  Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH                 Document 16-8             Filed 01/03/25         Page 106 of 226


        G Outlook
        Re: Notification of Service for Case: C-03-CV-24-002264, Chana Growth Partners, LLC vs. Ryan Dillon-Capps for
        filing Opposition, Envelope Number: 17940350

        From Ryan Wagner <ryan@mxt3.com>
        Date Tue 2024-09-10 3:53 PM
        To    Edwards, Kimale J. <kjedwards@milesstockbridge.com>
        Cc    Brennen, Robert S. <RBRENNEN@milesstockbridge.com>; Duvall, Jessica L. <jduvall@milesstockbridge.com>; Frenkil, Steven
              D. <sfrenkil@milesstockbridge.com> ; Rachel Kiefer <rachel.kiefer@mdcourts.gov> ; Edwards, Kimale J.
              <kjedwards@milesstockbridge.com>; vklein@miless tockbridge.com <vklein@milesstockbri dge.co rn >




        Dear Kimale Edwards,

        Thank you for your email. We have received the opposition to our motion to dismiss and are currently preparing
        our reply. As mandated by Rule 2-322(a), we are required to file our motions to dismiss before answering the
        complaint. Unfortunately, we have less control over the timing of these proceedings than Miles & Stockbridge and
        cannot obtain rulings within minutes or hours of filing .

        Furthermore, neither Ohana nor Miles & Stockbridge has responded to negotiate. The only offer that was
        responded to occurred before the lawsuit and was accepted by Ghana's president. Regrettably, Ohana failed to                             v;
                                                                                                                                                  C:
        honor that agreement and instead chose to file this lawsuit, representing to the court that no such agreement                             0
        existed .                                                                                                                                uC:
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        In our forthcoming reply, we will address the opposition and make it clear to the Court that this lawsuit represents              .D '-
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                                                                                                                                          ..c _,
        an abusive use of the judicial process. Additionally, we must express our concern about Miles & Stockbridge                        X
                                                                                                                                          w >
        representing Ohana in this matter, given that the firm has its own separate legal issues with the Defendant. We                     ~
                                                                                                                                                -0
        believe this constitutes a conflict of interest, and we formally request that your firm withdraw from th is case.                       t.=
                                                                                                                                                '-
        Should you choose to do so, we are willing to support the withdrawal and offer Ohana an extension to retain new                         <(

        legal counsel.

        If you would like to discuss this matter further, please let us know your availability.

        Sincerely,
        Ryan Dillon -Capps




Affidavit for Sanctions                                       Page # 13 of 28                                               Exhibit 107
& Exhibits 1-5
                Case 1:24-cv-03744-BAH   Document 16-8       Filed 01/03/25   Page 107 of 226




                                            EXHIBIT2




Affidavit for Sanctions                      Page# 14 of28                                 Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH                        Document 16-8                Filed 01/03/25   Page 108 of 226


        rll Outlook
        Immediate Action Required - Final Attempt to Resolve Critical Legal Issues

        From Ryan Wagner <rya n@mxt3.com>
        Date Fri 2024-08-23 10:26 AM
        To     Brennen, Robert S. <rbrennen@mi lesstockbridge.com> ; Edwards, Kimale J. <kjedwards@milesstockbridge.com >; Frenkil,
               Steven D. <sfrenkil@milesstockbridge.com> ; Hoffberger, Victoria (Tory) <vhoffberger@milesstockbridge.co m >


        i 1 attachments (1 27 KB)
        Immediate Action Required - Final Attempt to Resolve Critical Legal lssues.pdf;




        Please see the attached email.

        Ryan Dillon -Capps
        Pro Se Defendant
        Ema il: .!Y.an@mxt3.com I Phone: 703-303 -1113



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Affidavit for Sanctions                                                Page# 15 of28                                           Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH   Document 16-8        Filed 01/03/25   Page 109 of 226




                                           EXHIBIT3




Affidavit for Sanctions                      Page# 16 of28                                  Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25         Page 110 of 226

                                                                                             Ryan Dillon-Capps
                                                                                              Pro Se Defendant
                                                                    Email: ryan@mxt3.com I Phone: 703-303-1113


                      August 23, 2024

                      Mr. Robert Brennen
                      Miles & Stockbridge
                      100 Light Street
                      Baltimore, MD 21202

                      Subject: Immediate Action Required - Final Attempt to Resolve Critical Legal Issues



                      Dear Mr. Brennen,

                      The time has come for you and your client, Ohana Growth Partners, to confront the serious

                      consequences of your actions. The ongoing litigation, driven by both your counsel at Miles &

                      Stockbridge and the leadership at Ohana, has not only failed to achieve its intended objectives but
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                      has also significantly increased your collective exposure to severe legal repercussions.                                    ·c
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                      This lawsuit, built on a foundation of perjury, fraudulent notification practices, and egregious                    :..c 0
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                      ethical failures-including the failure to perform ex parte duties-has already caused irreparable                            -0
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                      damage to your credibility. Your firm and your client now face substantial risks, including

                      disqualification from this case, sanctions for perjury, and allegations of fraud and abuse of the

                      judicial system. These actions are not only unethical but potentially criminal, and they will not go

                      unchallenged.


                      The shared culpability between Ohana and Miles & Stockbridge is undeniable. The submission of

                      false statements under oath, the calculated abuse of judicial processes, and the pursuit of a

                      baseless legal strategy represent a collective effort to mislead and deceive. This collaboration in

                      unethical practices has created significant liability, including potential civil fraud claims under

                      regulatory scrutiny and criminal charges for obstruction of justice, mail and wire fraud, and

                      conspiracy. Furthermore, these actions constitute serious ethical violations as outlined in the


                                                           Page 1 of 5
                          This document is being sent via email and first-class mail on August 23, 2024.
Affidavit for Sanctions                                      Page# 17 of28                                                  Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25          Page 111 of 226

                                                                                             Ryan Dillon-Capps
                                                                                              Pro Se Defendant
                                                                    Email: ryan@mxt3.com I Phone: 703-303-1113


                      Maryland Rules of Professional Conduct, Rule 19-303 .3 (Candor Toward the Tribunal), and other

                      applicable legal standards.


                      Your continued pursuit of this case, rather than engaging in direct and honest negotiations with

                      me, has only deepened these risks. The fraudulent notification practices you have employed, the

                      deliberate submission of false filings, and the systemic efforts to undermine the integrity of this

                      case arc clear violations of both legal and ethical standards. These actions have exposed both your

                      firm and your client to the very real possibility of punitive damages and severe legal sanctions.


                      It is important that you fully understand the severity of the situation you have created. The

                      reckless and malicious actions taken by you and your client have not only introduced significant                              rJl
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                      legal risks but have also placed my life in grave danger. As a direct result of the stress and
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                      psychological trauma caused by your actions, I have experienced severe dissociative episodes-                        .D ' -
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                      an extremely serious psychological condition that, in rare cases, can lead to sudden death due to                             e,:s
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                      the body's inability to regulate itself. Should these actions result in such a fatal outcome, I will                        -<(


                      ensure that your firm and your client are pursued to the fullest extent of the law. Arrangements

                      have already been made to secure funding and engage a highly proficient legal team to carry

                      forward this action, backed by all necessary evidence and documentation.


                      Failure to comply with these demands or address the ongoing violations will compel me to file a

                      Motion to Compel Discovery for any documents not yet provided, including the court transcripts

                      and other critical evidence. I will also seek a Protective Order if any further attempts at

                      harassment or retaliation are made against myself or those associated with this case. Additionally,

                      a Motion for Sanctions will be filed to address your unethical conduct, and should ethical

                      violations continue, I will have no choice but to file a formal complaint with the State Bar,

                      seeking disciplinary action against those involved.
                                                           Page 2 of 5
                          This document is being sent via email and first-class mail on August 23, 2024.
Affidavit for Sanctions                                       Page# 18 of28                                                  Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH                  Document 16-8            Filed 01/03/25           Page 112 of 226

                                                                                               Ryan Dillon-Capps
                                                                                                Pro Se Defendant
                                                                      Email: ryan@mxt3.com I Phone: 703-303-1113


                      In addition to civil actions, I am prepared to pursue all available criminal remedies, including

                      filing complaints for obstruction of justice, perjury, and fraud with both state and federal

                      authorities. The ongoing fraudulent conduct in this case may also trigger regulatory

                      investigations, and I will not hesitate to involve agencies such as the Securities and Exchange

                      Commission (SEC) if the financial transactions involved are deemed suspect.


                      It is also critical to note that, while I am prepared to litigate this matter fully , this course of action

                      would likely expose your firm and your client to extensive media coverage, further damaging

                      your reputation. This is not a threat but a natural consequence of pursuing litigation that is rooted

                      in misconduct and unethical practices.




                      Key Immediate Actions Required


                      1. Extension of Answer Deadline:

                      By 4 PM today, August 23 , 2024, you must confirm an extension of the answer deadline until 15

                      days following the formal termination of negotiations. The request for default must be withdrawn

                      immediately as a sign of good faith .


                      2. Immediate Return of Compensation and Benefits:

                      By September 1, 2024, all unpaid compensation, covering the period since June 13, 2024, must be

                      included in my paycheck. Additionally, all benefits must be fully reinstated without delay.


                      3. Payment Related to Refmancing Deal:

                      My rightful share of the refinancing deal must be included in the September I, 2024 paycheck,

                      with no further attempts to delay or obstruct this payment.

                                                           Page 3 of 5
                          This document is being sent via email and first-class mail on August 23, 2024.
Affidavit for Sanctions                                        Page# 19 of28                                                  Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25        Page 113 of 226

                                                                                            Ryan Dillon-Capps
                                                                                             Pro Se Defendant
                                                                   Email: ryan@mxt3.com I Phone: 703-303-1113


                      These actions are non-negotiable and must be completed by the specified dates to demonstrate a

                      genuine willingness to resolve this matter. Failure to comply will be taken as a clear signal that

                      Ohana and Miles & Stockbridge have no intention of resolving this issue amicably, forcing me to

                      proceed with the next steps in litigation and potential criminal complaints.




                      Additional Actions and Timeline


                      As a sign of good faith and openness to resolve all issues quickly and allow all parties to move

                      on, I also require the following:
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                      • Court Transcripts:                                                                                               M         §
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                      Provide copies of all court transcripts currently in your possession by 4 PM today.                                · ;::     0
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                      • Employment and Contract Status:                                                                                          '-
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                          •   CielolT: The contract with Cielo!T must remain intact throughout these negotiations.

                          •   Ann Pinera: Ann Pinera's employment must remain secure and unchanged during these

                              negotiations.


                      • Disclosure of Agreements:

                      Full disclosure of any agreements or documents provided to Ann Pinera, Darren Koritzka, or

                      CieloIT since May 21 , 2024, including their current status.


                      • Prohibition Against Harassment or Retaliation:

                      Cease any and all harassment or retaliation against me, Ann Pinera, Darren Koritzka, or CieloIT

                      immediately.

                                                           Page 4 of 5
                          This document is being sent via email and first-class mail on August 23, 2024.
Affidavit for Sanctions                                      Page # 20 of 28                                               Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25         Page 114 of 226

                                                                                             Ryan Dillon-Capps
                                                                                              Pro Se Defendant
                                                                    Email: ryan@mxt3.com I Phone: 703-303-1113


                      • Privileged Log:

                      Provide a comprehensive privilege log detailing any documents or communications withheld

                      under claims of privilege.




                      Last Chance to Resolve This Matter


                      The consequences of your continued resistance are severe and will only escalate from this point

                      forward . While I remain open to resolving this matter without further escalation, this is your final

                      opportunity to engage in genuine and good faith negotiations. A failure to comply with the
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                      demands outlined in this email will leave me no choice but to finalize preparations for the next                         ·..::;
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                      steps, which will include the initiation of further litigation and the pursuit of criminal complaints.            · - C/)
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                      Be assured, the repercussions of ignoring this final opportunity will be significant and                          Cl-l ·;;:
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                      unavoidable.                                                                                                             '-=
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                      I expect your immediate attention to this matter and a formal response by 4 PM today confirming

                      your compliance with these demands.




                      Sincerely,

                      Ryan Dillon-Capps
                      Pro Se Defendant
                      Email: ryan@mxt3.com
                      Phone: 703-303-1113



                                                           Page 5 of 5
                          This document is being sent via email and first-class mail on August 23, 2024.
Affidavit for Sanctions                                      Page# 21 of28                                                Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH   Document 16-8          Filed 01/03/25   Page 115 of 226




                                           EXHIBIT4




Affidavit for Sanctions                      Page # 22 of 28                                  Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH               Document 16-8              Filed 01/03/25   Page 116 of 226


          •    Outlook


        Re: [EXTERNAL] REdwards, Kimale J. <kjedwards@MilesStockbridge.com>equest for Copy of
        Transcript

         From Brennen, Robert S. <RBRENNEN @milesstockbridge.com >
         Date Tue 2024-07-02 4:56 PM
         To     ryan @mxt3.com <ryan @mxt3.com >
         Cc     Edwards, Kimale J. <kjedwards@milesstockbridge.com >



         The filings also show that you now owe Ohana $12,500 in fines. Have you paid any of that?

         I think I can get authority to provide the transcript that Ohana paid for if you provide me the password
         for administrative control of Ohana 's GoDaddy account, which Ohana also paid for.

         Sent from my iPhone


                On Jul 2, 2024, at 16:18, Ryan Wagner <ryan@mxt3.com > wrote:



                [EXTERNAL]



                Thank you for the 27th. I show in the filings that there is one for the 26th. Do you have
                the one from the 26th?

                On Mon, Jul 1, 2024 at 8:27 AM Brennen, Robert S. <RBRENNEN@milesstockbridge.com >
                wrote:

                   As you requested.




                   <image001.R!lg~     Robert Brennen I Principal



                                       Miles & Stockbridge



                                       direct: +1 (410) 385-3653




                   From: Ryan Wagner <rv~mxt3.com >
                   Sent: Friday, June 28, 2024 4 :17 PM
Affidavit for Sanctions                                      Page # 23 of 28                                  Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH                          Document 16-8                  Filed 01/03/25                Page 117 of 226

                   To: Brennen, Robert S.<RBRENNEN@MilesStockbridge.com>; Edwards, Ki male J.
                   <kjedwards@MilesStockbridge.com>
                   Subject: [EXTERNAL] Request for Copy of Transcript




                   [EXTERNAL]



                   @Brennen, Robert S. @Edwards, Kimale J. My wife said you asked for a transcript
                   during court yesterday. Do you have a transcript of any of the last two hearings? Could
                   you email them to me?



                   -RDC




                   Confidentiality Notice:                                                                                                                                  rJ:J
                                                                                                                                                                            C:
                   This e-mail, including any attachment(s), Is Intended for receipt and use by the intended addressee(s), and may contain                                  0
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                   confidential and privileged Information . If you are not an Intended recipient of this e-mail, you are hereby notified that any                          C:
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                   unauthorized use or distribution of this e-mail Is strictly prohibited, and requested to delete this communication and its
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                   attachment(s) without making any copies thereof and to contact the sender of this e-mail Immediately. Nothing contained in the                  ..c: 0
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                   addressor to the terms of any agreement that may be the subject of this e-mail or Its attachment(s), except where such intent                           '-=
                                                                                                                                                                           '--
                   is expressly indicated.                                                                                                                                 ~



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Affidavit for Sanctions                                                  Page # 24 of 28                                                             Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH   Document 16-8        Filed 01/03/25   Page 118 of 226




                                           EXHIBIT 5




Affidavit for Sanctions                      Page# 25 of28                                  Exhibit 107
& Exhibits 1-5
                  Case 1:24-cv-03744-BAH                       Document 16-8            Filed 01/03/25   Page 119 of 226


         ra       Outlook


         Re: [EXTERNAL] Inquiry for Legal Assistance in Employment, Whistleblower, and Defamation
         Matters

         From Frenkil, Steven D. <sfrenkil@milesstockbridge.com>
         Date Wed 2023-12-20 5:12 PM
         To           ryan@mxt3 .com <ryan@mxt3.com>



         Dear Mr. Wagner -

         I am in receipt of your email below sent to me earlier this afternoon.

         There is a conflict of interest that prevents me and my law firm from representing you in this matter or
         in any matter.

         I am compelled to bring to your attention that your unilateral communication of information to me
         without any reasonable expectation that I am willing to discuss the possibility of forming an attorney-
         client relationship with you means that you are not a prospective client of my law firm within the
         meaning of the applicable rules of professional conduct.

         Very truly yours,

         Steven D. Frenkil


         Prin cipal

         100 Light Street I Baltimore, MD 21202
         D: +1410.385.3758 I C: +1410.591.5705 I F: +1410.773 .9019

                       MILES
                       STOCKBRIDGE
        !!i.!! I ~ I sfrenkil@milesstockbridg~ I !lP.ioad Secure File

        lmCID




                      On Dec 20, 2023, at 2:28 PM, Ryan Wagner <ryan@mxt3.com> wrote:




                      [EXTERNAL]

                      I hope this letter finds you well. I am writing to seek your professional guidance and potential legal
                      representation regarding a complex legal situation I am currently facing. After conducting research
Affidavit for Sanctions                                                 Page# 26 of28                                          Exhibit 107
& Exhibits 1-5
               Case 1:24-cv-03744-BAH              Document 16-8           Filed 01/03/25       Page 120 of 226
                and considering your expertise, I believe your assistance in matters related to employment law,
                whistleblower protections, and defamation may be invaluable.



                Background :

                I am the Vice President of IT at the largest privately held Planet Fitness franchise , and I
                have encountered various legal concerns that have impacted my professional reputation ,
                mental health, and overall well-being . I am seeking legal advice to understand my rights,
                potential legal remedies and the best course of action moving forward .


                Employment Law:

                I have experienced distressing issues within my workplace, including instances of
                harassment, bullying, and a hostile work environment. These circumstances have created
                a challenging and uncomfortable work environment, affecting not only my professional life
                but also my well-being .


                Whistleblower Protections:

                Additionally, while performing duties and tasks directed by the CFO, I have uncovered                                    VJ
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                                                                                                                                         0
                fraudulent and altered information. This discovery has led me to believe that I may be                                 ·.;:::;
                                                                                                                                         u
                entitled to whistleblower protections under the law. I am seeking guidance on the available                     tr)      C:
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                legal safeguards to protect against retaliation and the potential avenues for pursuing                          ..D "-
                justice.
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                Defamation:                                                                                                            <(



                The fabricated and altered information has had a detrimental impact on my reputation ,
                both internally within the company and externally. I believe there may be grounds for a
                defamation claim , and I am interested in exploring the possibility of taking appropriate
                legal action to protect my reputation and seek remedies for the harm caused .


                Request for Legal Assistance:

                Given the complexity and sensitivity of my situation, I am reaching out to you for
                professional guidance and potential legal representation . I kindly request an initial
                consultation to discuss the details of my case and to evaluate the potential legal options
                available to me. I am prepared to provide you with the relevant information, documents,
                and evidence that I currently have parsed out during the consultation .


                If you believe that your expertise aligns with my needs, I would greatly appreciate your
                assistance in navigating these legal matters. Alternatively, if you are unable to provide the
                specific legal services I require, I kindly ask for your guidance in directing me to another
                attorney who may be better suited to handle my case .


Affidavit for Sanctions                                    Page# 27 of28                                          Exhibit 107
& Exhibits 1-5
  '   '   .       Case 1:24-cv-03744-BAH                           Document 16-8                   Filed 01/03/25

                   Confidentiality is of utmost importance to me, and I assure you that all information shared
                                                                                                                                Page 121 of 226


                   will be treated with the strictest confidence.


                   Thank you for considering my request. I look forward to the opportunity to discuss my
                   case with you further and to potentially engage your legal services. Please let me know of
                   your availability for an initial consultation at your earliest convenience. I have a meeting
                   scheduled for tomorrow afternoon that could include retaliation for a recently filed HR
                   complaint as well as retaliation against me for being a whistle-blower.

                   Should you require any additional information or have any questions, please do not
                   hesitate to contact me. Thank you for your attention to this matter.

                   Respectfully,

                   Ryan Wagner
                   Mobile: 703-303-1113
                   1334 Maple Ave
                   Essex MD 21221



                                                                                                                                                                                 VJ
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          Confidentiality Notice:
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Affidavit for Sanctions                                                      Page# 28 of28                                                                 Exhibit 107
& Exhibits 1-5
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 122 of 226




                               OHANA GROWTH PARTNERS,                                 IN THE

                               LLC                                                    CIRCUIT COURT

                                                Plaintiff,                            FOR

                               VS.                                                    BALTIMORE COUNTY

                               RYAN DILLON-CAPPS                                      CASE NO: C-03-CV-24-

                                                Defendant.                            002264


                            MOTION TO ASSERT RIGHTS AND REQUEST FOR IMMEDIATE RULINGS

                     1       Defendant, Ryan Dillon-Capps, respectfully submits this motion to assert rights before

                     this Honorable Court and request immediate rulings on outstanding matters critical to the

                     resolution of this case. Despite recent positive developments, including the long-delayed entry of

                     the Motion for Sanctions on September 30, 2024, and the release of previously withheld

                     transcripts from June 26, 2024, on the same day. The speed of these actions does not align with

                     the urgency of the harm inflicted upon the Defendant. Given the extensive delays and the

                     ongoing irreparable harm caused by this case, Defense asserts the right to have these matters

                     resolved expeditiously to prevent further undue harm and suffering.


                                                            I JUDICIAL OVERREACH
                     2       The default order was granted 6 days before the deadline for an answer was due, in

                     violation of Md. Rule 2-613. The court acted prematurely and exceeded Judicial Discretion,

                     without allowing the Defendant the full legal time to respond and exacerbating this issue by

                     ignoring the opposition for over 40 days . This is a clear example of the court exceeding its

                     discretion and depriving Dillon-Capps of due process.
                                                                                                             Page 1 of 44




Motion to Assert Rigths and Request For Immediate Rulings    Page # 1 of 44                                   Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 123 of 226




                     3       No testimony was taken to support the default judgment, and rulings were made in favor

                     of lawsuit that is deficient its prima facia elements. Compounded by fraudulent claims that are

                     contradicted by evidence already provided to the court. Judicial decisions were made in a way

                     that enables the Plaintiff and Counsel to further inflict harm and deprive Dillon-Capps of due

                     process, further demonstrating an abuse of discretion that requires immediate corrective action.

                                                            11 CLEAR LEGAL RIGHT
                     4       Dillon-Capps had a legal right to file opposition and motions to vacate and strike. Under

                     Md. Rule 2-321(c), motions like the Motion to Strike automatically extend the time to file an

                     answer, but the court failed to account for this. Defendant's clear legal right to challenge the

                     basis of a fraudulent case was violated when the court ruled to prematurely grant the entry for

                     default order.

                     5       The court has a mandatory duty to rule on the Defense motions and filings in a timely

                     and fair manner, as required by Md. Rule 2-311 and the general principles of due process . By

                     refusing to act, the court is abdicating its responsibilities, and presenting no legal avenues to

                     appropriately remedy the injustice and harm that continues from a fraudulent case within the

                     Baltimore County Circuit Court.

                     6       The court has already demonstrated its ability to issue expedited rulings on show-cause

                     orders, TROs, default judgments, and other matters within a couple days or less . In this context,

                     the unreasonable delay in addressing the errors of ruling and granting our Motion for Sanctions

                     is further abuse of judicial discretion. Defense 's Motion for Sanctions must be ruled upon in a

                     timely manner to ensure that justice is served, and perpetuation of a fraudulent lawsuit must end

                     immediately with sufficiency of relief for Dillon-Capps. The failure to act on this motion is


                                                                                                               Page 2 of 44




Motion to Assert Rigths and Request For Immediate Rulings    Page # 2 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8           Filed 01/03/25   Page 124 of 226




                     denying Dillon-Capps an avenue for immediate financial relief and protection from further

                     retaliation .

                     7       The continued procedural delay perpetuates the injustice suffered by the Defendant.

                                                  ill PREVENTION OF FURTHER HARM
                     8        The sanctions sought will act to prevent further harm to the Defendant. The court's

                     delay in ruling has allowed the fraudulent lawsuit to continue, contributing to the ongoing

                     significant financial hardship and psychological damage. From this fraud the Defendant now

                     suffers from catatonia, a life-threatening condition that after being caused by the co-conspirators

                     Miles & Stockbridge and Ohana Growth Partners hindered Dillon-Capps defensive efforts and is

                     now exacerbating the financial and emotional stress through the Court 's inaction.

                     9        Without immediate relief, the Defendant will remain unable to afford necessary medical

                     treatment and is posed to result in Dillon-Capps defaulting on their financial obligations,

                     placing them at continued risk of irreparable harm. Furthermore, the ongoing suppression of the

                     motion perpetuates a fraud on the court, undermining the judicial process.

                     lO      The court's failure to correct the erroneous rulings and grant necessary relief from the

                     default judgment and fraudulent lawsuit that deprived Dillon-Capps of employment medical

                     benefits, financial stability, insured protections, and exacerbating their PTSD to breaking point

                     that it resulted in the onset of catatonia, a life-threatening and permanent risk to Dillon-Capps.

                     11      The ongoing inaction and refusal to address the Defense motions or the Courts previous

                     missteps continue to deepen this harm, as Dillon-Capps remains financially and emotionally

                     burdened by a case that should have been resolved months ago. Allowing the fraudulent claims

                     to persist, the court is contributing to further disenfranchisement.


                                                                                                              Page 3 of 44



Motion to Assert Rigths and Request For Immediate Rulings   Page# 3 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8           Filed 01/03/25   Page 125 of 226




                                         IV STATEMENT OF FACTS - PREMATURE ORDER
                     Fact 1: The request for a default order was made on August 20, 2024, at 10:58 AM .

                     Fact 2: The default order was issued the same day, August 20, 2024, at 2:54 PM, which

                     highlights that the defendant was deprived of any opportunity to be heard before a ruling was

                     made to highlight why the request made prematurely.

                     Fact 3: Md. Rule 2-32l(a): This rule provides that a defendant has 30 days to file an answer

                     unless otherwise specified under sections (b) and (c ).

                     Fact 4: Md. Rule 2-321 (c): If a motion is filed pursuant to Rule 2-322 , the deadline for filing an

                     answer is automatically extended by 15 days after the court's ruling on the motion.

                     Fact 5: Md. Rule 2-322(e) : A party may file a motion to strike before responding to a pleading.

                     Fact 6: Md. Rule 2-322(e) contains no distinction between the success or failure of a motion to

                     strike.

                     Fact 7: The only requirement is that the motion must be filed before responding to the pleading.

                     Fact 8: It says verbatim "Motion to strike. On motion made by a party before responding to a

                     pleading, ... " further instructions are distinct and unique to the phrasing to which they belong,

                     and furthermore - where was the Plaintiff's adherence to statutes when they incorrectly cited

                     scheduling, failed to provide notice, and then argued mootness during the preliminary stage.

                     Fact 9: On August 9, 2024, Judge Stringer denied a motion to strike filed by the defendant

                     before answering the pleading, which automatically extended the time to file an answer.

                     Fact 10: 15-day extension: Under Md. Rule 2-32l(c), the defendant had 15 days after August 9,

                     2024, to file an answer, which calculates to August 24, 2024 (a Saturday).




                                                                                                              Page 4 of 44



Motion to Assert Rigths and Request For Immediate Rulings   Page# 4 of 44                                       Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 126 of 226




                     Fact 11: Md. Rule l-203(a)(l): If the last day of a filing deadline falls on a Saturday, Sunday, or

                     holiday, the deadline extends to the next business day . In this case, the deadline extended to

                     Monday, August 26, 2024.

                     Fact 12: The answer was therefore due on Monday, August 26, 2024.

                     Fact 13: Judge Andrew M. Battista issued the default order on August 20, 2024, at 2:54 PM, 6

                     days before the answer was due, without testimony being taken and on the same day it was filed.

                     Demonstrating the courts capacity to act quickly.

                     Fact 14: The default judgment was issued prematurely, exceeding the judicial discretion allowed

                     by Md. Rule 2-613 .

                     Fact 15: Judge Battista's decision to grant a default order before the answer deadline and

                     without testimony exceeded the judicial discretion outlined in Md . Rule 2-613 . This rule

                     provides that a default order can only be entered if the defendant has failed to plead in the time

                     allowed by the rules. By issuing the default prematurely, the judge did not comply with the

                     mandatory requirements of the rule, which undermines due process and procedural fairness.

                     Fact 16: Judicial discretion is limited by the rules, and if judges were permitted to alter time lines

                     or make decisions without notice or regard to procedural deadlines, it would destroy trust in the

                     judicial system. Md. Rule 2-613 aims to provide certainty and fairness in the process by ensuring

                     that defendants have adequate notice and time to respond before any default judgment is granted.

                     When this framework of rules is ignored, it deprives individuals of their fundamental rights and

                     procedural safeguards.

                     Fact 17: Entry by Clerk: The order was officially entered by Julie L. Ensor on August 21 , 2024,

                     at 12:41 PM, reinforcing the improper timing of the default judgment.


                                                                                                               Page 5 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 5 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 127 of 226




                     Fact 18: Opposition to the request was entered on August 20, 2024, at 5:05 PM

                     Fact 19: As of September 30, 2024, no ruling has been made on the Opposition.

                     Fact 20: Motion to Dismiss pursuant to Rule 2-322(a) was made on August 26, 2024, at 11 :40

                     PM

                     Fact 21: Motion to Dismiss was entered as denied on September 17, 2024, at 3:42 PM

                     Fact 22: The deadline to answer was automatically extended to October 2, 2024

                     Fact 23: Motion to Strike Opposition of Motion to Vacate Default Order was filed on September

                     25 , 2024, at 6: 13 AM and currently has no ruling.

                     Fact 24: Motion for Sanctions was filed on September 27, 2024, at 6:20 AM. It was received

                     and served through automation, but was not entered until September 30, 2024, at 9:00 AM.

                     Fact 25: The Plaintiff has received rulings faster than the Defendant is able to have items added

                     to the docket.

                                                V MD. RULE 322(E): MOTION TO STRIKE
                     12      Defense raises issue with the Plaintiffs position in claiming a judicial value of a rule

                     requiring a defendant to file an answer while unresolved motions or issues remain, particularly

                     when awaiting court rulings. In this scenario, Rule 1-201 of the Maryland General Provisions

                     provides an important framework: it mandates that rules must be interpreted to secure simplicity

                     in procedure, fairness in administration, and elimination of unjustifiable expense and delay.

                     When a rule mandates or prohibits certain conduct, the consequences of noncompliance are

                     either explicitly defined by the rule or determined by the court in the light of the totality of the

                     circumstances and the purpose of the rule.




                                                                                                                Page 6 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 6 of 44                                       Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 128 of 226




                     13      Applying this to Md. Rule 2-322(e) (motions to strike), the rule allows a party to file a

                     motion to strike before answering a pleading, extending the time line under Md. Rule 2-321 (c).

                     However, the system does not compel the court to respond to these motions within a specific

                     timeframe, often resulting in unjustified delay. This delay contradicts the principles set forth in

                     Rule 1-20 l , where the purpose is to minimize unnecessary expense and promote fairness.

                     14      The judicial process here can cause confusion and pressure the defendant into submitting

                     an answer prematurely. Without knowing the court's ruling on the motion, the defendant may

                     face unfair circumstances where they are essentially "guessing" the ruling. In cases where judges

                     issue rulings that conflict with their prior decisions, or average over 3 weeks to respond, the lack

                     of clarity can make it feel like a blind effort, removing the practical utility of rules designed to

                     extend timelines or permit challenges.

                     15      The purpose of allowing motions to strike is to cleanse the lawsuit of improper material

                     before forcing the defendant to respond to allegations, ensuring fairness . However, without

                     timely rulings on such motions, the extension intended to benefit the defendant is undermined,

                     turning the rule into a procedural hurdle rather than a protective measure. The delay in obtaining

                     a ruling might force the defendant into prematurely "shotgunning" their defense or filing motions

                     in anticipation of the court's future decision-precisely what Rule 1-201 seeks to prevent by

                     promoting fairness and simplicity in legal proceedings.

                     16      In short, the value of Md. Rule 2-322(e) is diminished when judicial delays undermine

                     the purpose of securing simplicity, fairness, and preventing undue expense. Forcing a defendant

                     to file an answer without resolution of pre-answer motions contradicts these foundational

                     principles.


                                                                                                                Page 7 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 7 of 44                                       Exhibit 107
              Case 1:24-cv-03744-BAH                 Document 16-8           Filed 01/03/25   Page 129 of 226




                     17      If any error was made in the filing, it was a genuine mistake , and the Defendant has

                     demonstrated both the reasons for the delayed filing and, beyond a reasonable doubt, that they

                     are the only party with a valid claim . Under Md. Rule 1-201, the rules of procedure are to be

                     construed to eliminate unjustifiable expense and delay. Any delays in this case, caused by

                     confusion or timing issues, fall within the reasonable bounds of a legitimate mistake that does

                     not warrant the court's dismissal of the defendant's claims.

                     18      Regardless of the dispute over procedural correctness, it remains beyond the court 's

                     discretion to award judgment to a party without a legitimate claim that fails to meet the prima

                     facie requirements for a civil case. Md. Rule 2-501 requires that a party must meet their initial

                     burden of proof to sustain a case. If the opposing party has failed to establish even the most basic

                     facts of their claim, no court should award judgment in their favor, and this would constitute an

                     abuse of judicial discretion.

                     19      The advocacy for a fraudulent case not only compromises the ethical duties of counsel,

                     as required under Maryland Rules of Professional Conduct 19-303.1 , but also demonstrates a

                     failure to provide adequate legal services to Ohana Growth Partners. This failure to act within

                     ethical boundaries highlights that the plaintiffs attorneys are unable to represent their client with

                     the integrity and competence demanded by the rules of legal practice.

                     20      The evidence presented firmly establishes that Dillon-Capps is the victor in this case,

                     with a valid and reasonable claim for harm. Under Md. Rule 2-602 , the court has a duty to

                     resolve claims where substantial justice can be achieved. As it stands, Dillon-Capps has a

                     rightful claim that should be satisfied without further delay, in order to avoid additional harm to

                     the defendant.


                                                                                                              Page 8 of 44



Motion to Assert Rigths and Request For Immediate Rulings   Page # 8 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8           Filed 01/03/25   Page 130 of 226




                                         VI JUNE 18, 2024: PERPONDERANCE OF EVIDENCE
                     21      The case was insufficient the day it was filled with out particularized harm, an

                     explanation how Dillon-Capps was the arbiter of a harm, or even as the prima facia element of

                     contractual debate requires the explanation of how the contractual violation would be the

                     mechanism of a harm. Furthermore, there is a preponderance of evidence satisfied by the

                     Defendant on June 181\ 2024, and inclusive of the Plaintiffs own statements should have been

                     sufficient for a ruling in favor of the Defendant because the Plaintiff told the Court this was

                     retaliation for FMLA and the Defendant told the Court that they agreed and had presented

                     noticed 2 hours earlier with the additional point that there is an unnamed 3rd party who was also

                     retaliated against. Darren Koritzka has since been fired under the false pretense of restructuring,

                     and the Court ever since June 18th has furthered egregious harm and injustice against the direct

                     victims of Ryan Dillon-Capps and Darren Koritzka. Almost, maybe still will, enable co-

                     conspirators Ohana Growth Partners and Miles & Stockbridge to legitimize their fraudulent,

                     retaliatory, and harmful actions.


                                                             No REFUSAL - HEA

                     When:June 14, 2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court

                     Affidavit of Richard Hartman (Pages 11-12):

                     22      On this date, Miles & Stockbridge and the Baltimore County Circuit Court became

                     aware of an email sent by Ryan Dillon-Capps, which was referenced in Richard Hartman's

                     affidavit. The email contained an update from Dillon-Capps indicating their ongoing efforts to

                     satisfy the company ' s request. Additionally, the email emphasized that ownership was included

                                                                                                                Page 9 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 9 of 44                                        Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 131 of 226




                     on the email thread to ensure transparency and oversight of the process. This communication

                     demonstrates that Dillon-Capps was actively working to comply with the demands made,

                     contradicting any assertions that they were refusing to cooperate.

                     23      This information became part of the court's record on June 14, 2024, and was critical in

                     ensuring that the actions of Dillon-Capps were properly understood within the context of the

                     case.


                                              No REFUSAL - POST SUSPENSION ORDERS


                     When:June 14, 2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court

                     Correspondence to Judge Troffer

                     24      Email to HEA from Dillon-Capps' personal email (Pages 72-73):

                     On June 17, 2024, at 6:40 PM, Ryan Dillon-Capps attempted to satisfy the post-suspension

                     orders by reaching out to HEA via personal email. This correspondence demonstrated continued

                     compliance with the demands issued prior to the suspension. Dillon-Capps communicated their

                     ongoing efforts to meet the required obligations, directly addressing the court's concerns about

                     any perceived refusal or lack of action on their part.

                     25      This email highlights Dillon-Capps ' proactive measures following the suspension,

                     ensuring that both Miles & Stockbridge and the Baltimore County Circuit Court were made

                     aware of the attempts to resolve the issues, despite the suspension in place.


                                 No NOTICE NOT GIVEN - ON FILING AND HEARING OF TRO




                                                                                                           Page 10 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # IO of 44                                  Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 132 of 226




                     When: June 17, 2024, at 11:05 PM
                     Who: Miles & Stockbridge

                     Email Exchange to Miles & Stockbridge:

                     26      An email was sent on June 17, 2024, at 11:05 PM, citing that an invalid email had been

                     used to provide notice of the Temporary Restraining Order (TRO) hearing. The email stated that

                     the notification system failed because the incorrect email address was utilized.

                     27      Brennen's email mentioned that notice of the hearing was provided 35 minutes before

                     the hearing took place, leaving insufficient time for proper preparation. This correspondence was

                     cited in court filings to argue that notice was improperly given, thus violating procedural

                     requirements.



                     When:June 18, 2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court

                     28      Correspondence to Judge Troffer:

                     29      On June 17, 2024, at 11:05 PM, an additional email was sent requesting that correct

                     personal contact information be used for future communications, as the invalid email had

                     previously been used. The assumption was made that Miles & Stockbridge was not aware of the

                     incorrect email usage and had unintentionally failed to give proper notice. This request was

                     recorded as part of the case file on Page 66 of the court records.

                     30      35-minute notice claim:

                     31      June 17, 2024, at 9:13 AM, Brennen's email indicated that a hearing was scheduled to

                     occur approximately 35 minutes from the time the email was sent. This timeline was logged on

                     Page 62 of the court records, showing that there was insufficient time for the recipient to


                                                                                                            Page 11 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 11 of 44                                   Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 133 of 226




                     adequately prepare for the TRO hearing, raising due process concerns about the timing of the

                     notification and hearing.


                                     No REFUSAL - BROOKS, NORRIS, DRUMMOND, BRICK



                     When:June 14, 2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court

                     32      Correspondence to Judge Troffer

                     Norris tells PFHQ he will and does not (Page 55):

                     33      June 5, 2024, at 10:51 AM, Glenn Norris refused to provide any solution for satisfying

                     the franchisor-imposed PCI DSS v4 least privilege requirements. Dillon-Capps, however,

                     continued to meet these requirements and attempted to satisfy the request, demonstrating

                     compliance with PCI DSS regulations. The failure to resolve the issue and meet the requirement

                     to provide Ryan Brooks access is attributed to Norris ' inaction, not any refusal by Dillon-Capps.

                     34      Victor Brick's Duplicate Order (Page 50):

                     35      May 23, 2024, at 11:59 PM, Victor Brick submitted an order duplicating Norris ' prior

                     demand for Ryan Brooks to be granted access, which was already delayed due to Norris' refusal

                     to resolve the PCI DSS compliance issue.

                     36      Glenn Norris' Demand for Access (Page 52):

                     37      June 5, 2024, at 10:26 AM, Glenn Norris reiterated the demand for Ryan Brooks to be

                     granted access, along with Justin Drummond and Victor Brick, despite ongoing compliance

                     efforts by Dillon-Capps.

                     38      Write-up for Insubordination (Pages 48-49):

                                                                                                           Page 12 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 12 of 44                                   Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 134 of 226




                     39      May 23, 2024, write-up was created, covering events from May 22, 2024, accusing

                     Dillon-Capps of insubordination. The write-up links negative employment actions, including a

                     planned termination, to the failure to provide Ryan Brooks access, even though Dillon-Capps

                     had expressed concerns about violating PCI DSS standards.

                     40      Escalation to CEO (Pages 45-47):

                     41      May 22, 2024, at 2:05 AM, Dillon-Capps escalated the issue to the CEO after reporting

                     coercive threats. This escalation came after attempts to meet PCI compliance requirements,

                     which contradicted the demands being made by Norris, Drummond, and Brick. The report

                     included specific details about PCI DSS mandates, showing Dillon-Capps' effort to satisfy the

                     requirements while fulfilling their role as PCI Compliance Officer.

                     42      Escalation to PFHQ (Page 34):

                     43      May 21, 2024, at 5:13 PM, Dillon-Capps escalated the issue to PFHQ (the franchisor)

                     and involved Justin Drummond to assist in de-escalating the situation. Dillon-Capps urged

                     against performing actions that would violate regulatory standards tied to PCI DSS compliance.

                     44      PFHQ Franchisor Standards Document (Pages 30-31):

                     45      The document from PFHQ states that even franchise owners are subject to franchisor

                     limitations and cannot act beyond certain operational or security requirements, highlighting the

                     restrictions imposed on Dillon-Capps regarding system access.

                     46      PCI DSS Standards Document (Pages 22-29):

                     47      Though partially obscured, the PCI DSS document shows that Dillon-Capps ' compliance

                     efforts aligned with the established security standards, as referenced in the original hand-

                     delivered pages.


                                                                                                            Page 13 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 13 of 44                                     Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8              Filed 01/03/25   Page 135 of 226




                     48      Email to Karen Debus (Pages 16-17):

                     49      May 24, 2024, Dillon-Capps sent an email to Karen Debus addressing Richard Hartman 's

                     interference with FMLA and concluding with a statement about Dillon-Capps ' willingness to

                     satisfy the PCI DSS request. The refusal to state a specific purpose for access continued to

                     prevent compliance, despite Dillon-Capps' clear efforts to meet the requirement.


                                                            Approved For FM LA Leave



                     When:June 14, 2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court

                     50      Affidavit of Richard Hartman as Exhibit 1 (Page 3):

                     51      June 14, 2024, Richard Hartman ' s affidavit (page 2) confirms his belief that Ryan

                     Dillon-Capps was requesting FMLA leave and ends with the acknowledgment on page 3 that

                     Dillon-Capps faced retaliation for asserting those rights . The affidavit further addresses Richard

                     Hartman's response to Dillon-Capps ' FMLA request and references Exhibit B from June 13,

                     2024, where Dillon-Capps asserted their FMLA rights in two emails, sent at 12:03 PM and

                     11:57 PM, respectively. The second email corrects an earlier omission of names and alleges that

                     Hartman's response included coercive threats, which potentially violated FMLA statute 29

                     U.S.C. § 2615(a) and Md. Code Ann., Lab. & Empl. § 3-801 et seq ..



                     When: June 18, 2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court

                     52      Correspondence to Judge Troffer (Pages 18-21):



                                                                                                            Page 14 of 44




Motion to Assert Rigths and Request For Immediate Rulings    Page # 14 of 44                                  Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 136 of 226




                     53      Pages from FMLA medical forms have been scanned and submitted, with medical

                     information redacted to protect privacy. The originals, reviewed by the court and sent to Miles &

                     Stockbridge, confirm that PTSD was the qualifying medical condition, and ADA

                     accommodations were being provided.

                     54      Affirmed Status (Page 17):

                     55      May 23, 2024, at 4:55 PM, an email from Karen Debus affirmed that Dillon-Capps was

                     approved for FMLA leave, specifically to use it for PTSD. The process to invoke FMLA

                     involved notifying the employer when the leave was for FMLA purposes, which Dillon-Capps

                     followed by informing the company of their absence.

                     56      Request made on June 13th, 2024, before Richard Hartman's Email (Pages 3-4):

                     57      On June 13, 2024, at 7:12 AM and 7:15 AM, Dillon-Capps sent emails to Justin

                     Drummond, Richard Hartman, and Glenn Norris, specifically stating that they would be

                     using FMLA leave on that day and would notify them when they planned to return to work. This

                     request occurred two hours before Hartman ' s email, and Dillon-Capps clearly identified the

                     leave as related to FMLA.


                                              Richard Hartman 's Ongoing FMLA Interference


                     When:June 18, 2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court

                     58      Correspondence to Judge Troffer (Pages 12-16):

                     59      On May 24, 2024, at 8:00 AM , Dillon-Capps sent an email to Karen Debus responding

                     to the false claim that Richard Hartman had not previously interfered with their FMLA rights .

                     This email included screenshots of text messages and emails showing Richard Hartman's prior
                                                                                                          Page 15 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 15 of 44                                  Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 137 of 226




                     actions attempting to interfere with Dillon-Capps' FMLA leave. Specifically, the messages

                     showed that Hartman attempted to apply a different, less accommodating standard for FMLA

                     leave than was granted to other employees. This deviation from the company handbook suggests

                     that Hartman was engaging in discriminatory treatment, violating 29 U.S.C. § 2615(a), which

                     prohibits employers from interfering with, restraining, or denying the exercise of FMLA rights.

                     60      Hartman's actions, as shown by the screenshots, also sought to deprive Dillon-Capps of

                     their income by imposing restrictions that were not supported by the company's official leave

                     policies, further constituting interference under FMLA and violating Md. Code Ann., Lab. &

                     Empl. § 3-801 et seq .. These documented attempts were submitted to the court as part of Dillon-

                     Capps' ongoing claims of FMLA interference and retaliation.


                                                    Unattached Defendant Darren Koritzka


                     When:June 18,2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court

                     61      Correspondence to Judge Troffer (Pages 7-8):

                     62      June 13, 2024, Darren Koritzka was placed on a leave of absence, as shown in the

                     Leave of Absence letter provided on pages 7-8 of the case documents. The stated reason for this

                     leave was to perform a review of IT Operations, raising questions about the true motive behind

                     Koritzka's suspension. The timing of this action and the given reason are critical as they suggest

                     a false pretense, particularly when compared with other employment actions taken in the case,

                     including the retaliation against Dillon-Capps for asserting FMLA rights.

                     63      Koritzka' s removal under the guise of an IT review may further demonstrate

                     inconsistencies or falsehoods in the management of the situation, and how unrelated or
                                                                                                           Page 16 of 44



Motion to Assert Rigths and Request For Immediate Rulings   Page# 16 of 44                                    Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 138 of 226




                     unattached defendants are implicated without clear justification, potentially supporting claims of

                     bad faith or improper conduct by the involved parties. This document became part of the court

                     record on June 18, 2024, when it was submitted as correspondence to Judge Troffer.


                                                            Stated Basis of Suspension


                     When:June 14,2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court

                     64      Affidavit of Richard Hartman as Exhibit 1 & Suspension Letter as Exhibit IC (Page 2 of

                     Exhibit IC and Page 17 of Exhibit 1) :

                     65      The June 13, 2024, suspension letter, referenced in Richard Hartman' s affidavit, outlines

                     the stated basis for Ryan Dillon-Capps ' suspension.

                             1.       The letter cites refusal to comply with orders as the primary reason for the

                             suspens10n.

                             2.       The suspension also references the email Dillon-Capps sent earlier on June 13,

                             2024, as contributing to the decision.

                     66      The suspension letter and affidavit detail how these two elements- failure to comply

                     with orders and the earlier email-were presented as the official reasons for the suspension. The

                     admission to the Court where Richard Hartman removed beyond reasonable doubt they were

                     filing a lawsuit against Dillon-Capps and suspended them as retaliation.


                                           What Email Are They Responding to For Suspension


                     When:June 14, 2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court
                                                                                                             Page 17 of 44



Motion to Assert Rigths and Request For Immediate Rulings   Page# 17 of 44                                      Exhibit 107
               Case 1:24-cv-03744-BAH               Document 16-8             Filed 01/03/25   Page 139 of 226




                     67      Affidavit of Richard Hartman: Exhibit B (Pages 11-12 or Page 16):

                     68      June 13, 2024, at 12:03 AM , Ryan Dillon-Capps sent an email asserting their right to

                     use approved FMLA leave. No other earlier communication from Dillon-Capps precedes this

                     letter in the submitted records . The Plaintiff did not provide any other email before this letter that

                     would serve as the basis for subsequent actions.

                     69      However, it later became apparent that Dillon-Capps' email sent at 2:05 AM- just 15

                     minutes before Richard Hartman placed Darren Koritzka on leave-likely influenced

                     Hartman's retaliatory actions. In this email, Dillon-Capps named Koritzka and requested that the

                     owners intervene to address Hartman and Glenn Norris, whose continued actions were causing

                     additional liability for Ohana Growth Partners. This email also highlighted the very concerns

                     that Dillon-Capps had been raising regarding the filing of fraudulent lawsuits and similar actions

                     that could expose the company to further legal risks.

                     70      Hartman ' s swift reaction in placing Koritzka on leave shortly after this communication

                     furthering the validation of retaliatory behavior, and furthering the narrative of FMLA

                     interference under 29 U.S.C. § 2615(a) and violations of Md. Code Ann., Lab. & Empl. § 3-

                     801 et seq.. This sequence of events, combined with the lack of other early communications

                     before the suspension, supports claims that Dillon-Capps was attempting to prevent harm to the

                     company, while Hartman and Norris were acting in a manner that increased the company 's

                     liability.


                                            Why Did Richard Hartman Send the Demand Email


                     When:June 14, 2024
                     Who: Miles & Stockbridge and Baltimore County Circuit Court
                                                                                                               Page 18 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 18 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 140 of 226




                     71      Affidavit of Richard Hartman (Page 3):

                     72      June 14, 2024, Richard Hartman stated in his affidavit that it was "my" email and "my

                     directive" that initiated the demand sent to Ryan Dillon-Capps. Hartman personally claimed

                     ownership of the email, asserting that he was the one responsible for issuing the directive.

                     73      Affidavit of Richard Hartman (Page 14, Exhibit B, Page 4):

                     74      June 13, 2024, at 9:01 AM, the email to Dillon-Capps made the demand, but the email

                     referenced Glenn Norris as the individual making the demands. The use of Glenn's name in the

                     email creates ambiguity regarding who was truly behind the directive, despite Hartman later

                     talcing ownership of it in his affidavit.

                     75      Affidavit of Justin Drummond (Page 2):

                     76      June 14, 2024, Justin Drummond stated in his affidavit that the 9:01 AM email sent by

                     Hartman was actually done "at his direction ." This suggests that Drummond, not Hartman, was

                     the person who instructed the email to be sent, adding another layer of inconsistency regarding

                     who initiated the demand.

                     77      The affidavits from Hartman and Drummond contradict each other, with both claiming

                     responsibility in different ways for the June 13th demand email. This raises questions about the

                     true author of the directive, and removes the foundation to trust the Plaintiff to be honest to the

                     Court, which is central to the ongoing dispute involving Dillon-Capps.

                                                      Vil PLANTLFF'S EXHIBIT UST
                     78      As of September 28, 2024, the plaintiff has provided no evidence to support their claim.

                     As of September 28, 2024, here is the total exhibit list:


                                        A June 14, 2024, Richard Hartman Affidavit - Exhibit 1:
                                                                                                             Page 19 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 19 of 44                                     Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 141 of 226




                     79      Irrelevant Hyperlinks and Bad Faith Conduct

                     80      Md. Rule 20-301(b) explicitly states that hyperlinks embedded in submissions are not

                     part of the official record unless they point to documents already included in the official court

                     record. The hyperlink to the Microsoft webpage does not meet this requirement and therefore

                     does not qualify as part of the record.

                     81      Md. Rule 1-311 mandates that affidavits and other legal filings must contain accurate

                     and truthful information. The quote from the webpage, which incorrectly represents its contents,

                     constitutes a violation of this rule. The affidavit containing this misleading information fails to

                     meet the standard of truthfulness required under this rule .

                     82      The technology referenced on the Microsoft webpage is not relevant to the Plaintiffs

                     system. Md. Rule 5-401 defines relevant evidence as that which tends to make a fact of

                     consequence more or less probable. Since the Microsoft technology differs from what the

                     Plaintiff uses, this evidence lacks relevance. Under Md. Rule 5-403, misleading or confusing

                     evidence must be excluded, as its inclusion would confuse the issues.

                     83      The use of the misleading hyperlink and quote demonstrates bad faith , which violates

                     Md. Rule 1-341. This rule permits sanctions against parties who present claims or defenses

                     without substantial justification or for improper purposes.

                          Technical Claims with No Access by Layman
                     84      The non-technical head of HR making claims of personal knowledge regarding the

                     technical status of the environment, while also asserting that the help desk lacks access,

                     contradicts Md. Rule 5-602. This rule requires that a witness testifying to a matter must have

                     personal knowledge of the subject. The head of HR, being non-technical, lacks the requisite


                                                                                                              Page 20 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 20 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 142 of 226




                     personal knowledge under this rule, making their claims inadmissible unless they directly

                     witnessed or had access to the environment.

                     85      During the June 26, 2024, court hearing, Judge Michael Barranco's request for technical

                     expertise and the subsequent declaration of Ryan Dillon-Capps as the technical expert by Justin

                     Drummond and Richard Hartman raises concerns under Md. Rule 5-701. This rule limit' s

                     opinion testimony by lay witnesses, such as Drummond and Hartman, to opinions based on

                     rational perceptions and not technical matters they admittedly do not understand. By presenting

                     themselves as non-technical while offering statements on the system, they may have overstepped

                     their permissible testimony under this rule. Furthermore, Md. Rule 5-602 again applies, as

                     neither Drummond nor Hartman has personal knowledge of the system, leading exclusion of

                     their statements as they lack the foundation to testify on technical matters.

                                              2       Personnel Records Managed by HRIS System Paycom
                     86      Richard Hartman's claim in his affidavit that he has no access to personnel records

                     conflicts with his role as head of HR and administrator of the independent HRIS system. Under

                     Md. Rule 1-311, Hartman's affidavit must be truthful and based on personal knowledge. His

                     statement about lack of access appears inconsistent with his administrative duties, which include

                     overseeing personnel records which are managed in Paycom - the system he is the administrator

                     for. Furthermore, on June 26, 2024, Miles & Stockbridge acknowledged that tall of Hartman 's

                     issues had been "fixed." However, Judge Michael Barranco did not inquire into how this issue

                     was resolved, potentially missing a critical point for clarification under Md. Rule 5-602, which

                     requires witnesses to have personal knowledge of the matters they testify about. This lack of




                                                                                                          Page 21 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 21 of 44                                   Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 143 of 226




                     inquiry leaves a gap in the record, undermining the credibility of Hartman' s affidavit and raising

                     questions about the nature of his access to the HRTS system.

                                              3       Excuses away admission of FMLA retaliation
                     87      Richard Hartman acknowledges that Dillon-Capps expressed a desire to use FMLA and

                     assert a position that suggests the company has the right to violate FMLA. This stance directly

                     contravenes 29 U.S.C. § 2615(a)(l), which explicitly prohibits retaliation or interference with an

                     employee's exercise of FMLA rights. Statements they violated FMLA and 29 C.F .R. §

                     825.220(c), which bars any adverse actions against an employee for attempting to use FMLA,

                     are further supported by the suspension letter (see below) reinforces this.


                                              4        Exhibit IA; Employment agreement
                     88      The employment contract in question is missing a section number due to missing pages,

                     which renders the document incomplete. Under Md. Rule 2-303, pleadings must provide a clear

                     and concise statement of facts , including the presentation of a complete and valid contract in a

                     breach of contract claim. An incomplete contract missing key sections cannot form the basis of a

                     breach claim because it fails to meet the requirements of a valid agreement, which are essential

                     under Md. Rule 2-305.

                     89      Additionally, for a claim of injunctive relief, a valid, enforceable contract must be shown

                     to exist. Without a complete contract, the plaintiffs claim lacks the legal foundation necessary to

                     seek such relief, subjecting the case to dismissal under Md. Rule 2-322(b )(2) for failure to state

                     a claim upon which relief can be granted. The absence of crucial pages further compromises the

                     claim, as the contract's enforceability remains unproven without all its terms being present.




                                                                                                            Page 22 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 22 of 44                                    Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 144 of 226




                                              5        Exhibit 1B email thread with 9:01 email ordering Dillon-
                                      Capps to work·
                     90      The following replies show Dillon-Capps asserting their protected right to make use of

                     their approved FMLA leave, and informing Richard Hartman that they are talking steps to satisfy

                     the order. There is no statement to support refusal.

                                              6        Exhibit IC email exchange and suspension email·
                     91      Dillon-Capps response demonstrates they are under the impression that Richard Hartman

                     is the one who Justin Drummond will act against and adds Justin Drummond to the thread before

                     Justin Drummond suspends them. The letter states it is in response to refusal which their own

                     evidence contradicts and the email they sent, and the only email submitted before suspension is

                     the engagement of the protected act to assert their rights to make use of their approved FMLA

                     leave. Demonstrating they are retaliating in the act of suspension and filing of the lawsuit.


                                               B    June 14, 2024: Justin Drummond Affidavit

                     92      On June 7, 2024, Ryan Dillon-Capps texted Justin Drummond offering a solution to

                     provide the requested Global Administrator account, which Drummond accepted, with

                     satisfaction expected between June 10th and 11th. However, Justin Drummond evaded

                     satisfaction, misleading the Defendant by suggesting it would occur the following week.

                     Drummond's affidavit claims that at 9:0 l AM, he directed Richard Hartman to send an email

                     making a demand and asserts that Dillon-Capps refused access.

                     93      This timeline conflicts with Dillon-Capps ' June 13th outreach to Drummond, wherein

                     Dillon-Capps provided emails showing their two efforts that day to meet the request,

                     contradicting Drummond's assertion that there were no updates. These inconsistencies suggest a


                                                                                                            Page 23 of 44



Motion to Assert Rigths and Request For Immediate Rulings   Page# 23 of 44                                     Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 145 of 226




                     violation of Md. Rule 1-311 , which mandates truthfulness in affidavits. Drummond's statements,

                     claiming Dillon-Capps refused access, appear false, amounting to perjury under Md. Code,

                     Criminal Law § 9-101 , which prohibits knowingly making false statements under oath.

                     94      Drummond's email sent 12 hours later, notifying Dillon-Capps of his suspension, further

                     reinforces the claim of improper and retaliatory conduct. This aligns with Md. Rule 1-341 , which

                     sanctions parties for bad faith or improper conduct during legal proceedings, as the timeline

                     suggests Drummond was aware of Dillon-Capps' efforts but continued to mislead both the court

                     and Dillon-Capps regarding the status of the request.


                                C June 25, 2024: Affidavit of Randall Romes - Expert #1 for Plaintiff

                     95      The affidavit, which includes a copy-paste of prior filings and a hyperlink that

                     misrepresents the contents, creates a misleading account under Md. Rule 1-311 , which mandates

                     that all affidavits and filings submitted to the court must be truthful and accurate. The

                     contradictory statements, where the affidavit quotes a hyperlink saying one thing while the

                     content of the hyperlink states the opposite, undermine the integrity of the evidence and may

                     violate Md. Rule 1-341 , addressing bad-faith or improper conduct in legal proceedings.

                     96      Further, the affidavit's claim that the correspondence received did not contain any

                     requirements contradicts evidence provided through emails and pages of PCI standards, thus

                     violating Md. Rule 5-402 for presenting irrelevant or false information. The affidavit references

                     PCI DSS standards but erroneously argues that federal and state laws do not enforce PCI

                     compliance, despite laws like Nevada Revised Statutes 603A and federal frameworks that

                     incorporate PCl compliance into legal obligations.



                                                                                                             Page 24 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 24 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 146 of 226




                     97      The lawsuit also focuses on Dillon-Capps ' alleged breach of their employment

                     agreement, and the defense's affidavit, which contains over 100 pages, reinforces the

                     organization's commitment to maintaining PCI compliance. The submission also references

                     multiple laws that require PCI compliance, including NRS 603A in Nevada, and the attached

                     700+ pages of evidence further solidify the legal and contractual obligations, effectively

                     dismantling any claim that PCI DSS violations are not subject to legal enforcement.


                                   D July 3, 2024: Affidavit of Daniel Levett - Expert #2 from HEA


                     98      Daniel Levett's affidavit, which asserts that other administrators had access to a Global

                     Administrator account and that Levett worked with them to verify such access, directly

                     contradicts the claims made by Ghana regarding their need for injunctive relief. According to

                     Md. Rule 5-602, witnesses must have personal knowledge of the matters they testify to. Levett's

                     detailed account undermines Ghana's assertions, as Levett establishes both the presence of other

                     administrators and the ability to access the system, which invalidates the basis for the requested

                     injunctive relief.

                     99      Additionally, Ghana's claims are further weakened by the fact that non-technical

                     personnel made technical assertions, which are inherently unreliable under Md. Rule 5-701 , as

                     lay witnesses are prohibited from giving expert opinions in technical fields. The court should

                     have viewed these statements as unreliable or inadmissible under Md. Rule 5-403, which allows

                     the exclusion of evidence that confuses or misleads the court.

                     100     Levett's involvement, including his claim that the delay in response was due to allowing

                     satisfaction in receiving access, introduces equitable estoppel. Estoppel occurs when a party's

                                                                                                             Page 25 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 25 of 44                                    Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 147 of 226




                     misleading silence or conduct prevents another party from asserting a fact, as recognized under

                     Md. Rule 2-322 in affirmative defenses . Levett 's affidavit presents a clear case of estoppel , as it

                     shows the other party had knowledge but chose not to act, directly contradicting the grounds for

                     the claim.


                                           E August 20, 2024: Affidavit of the process ' s server

                     101     The process server's statement to Dillon-Capps, "I don 't look at it, I just serve it," aligns

                     with his role, which is strictly to deliver documents without reviewing their content. Under Md.

                     Rule 2-121(a), service of process requires the delivery of summons and complaint, but it does

                     not necessitate that the process server be familiar with the contents. This ensures the impartiality

                     of the process server, whose primary function is to execute the delivery rather than review the

                     legal documents.

                     102     In this case, the certificate of notice was omitted, and the served proposed order was

                     signed and dated by Judge Marc A. DeSimone Jr. on September 17, 2024, at 10:50 AM, with a

                     corresponding e-filed stamp of 12: 18 PM on June 14, 2024. The service occurred at 11 :30 AM

                     on September 17, 2024 and was handed to the process server on June 14th . This timeline and the

                     records are consistent with the requirements under Md. Rule 1-323, which mandates that the

                     clerk' s office keep accurate records of all filed documents, including proposed orders.

                     103     As for the inquiry into the matching records, Miles & Stockbridge ' s explanation and the

                     fact that the records coincide with what was received provide clarity on the situation. Under Md.

                     Rule 1-341 , no bad faith or improper conduct has been suggested here . The statement about not

                     making accusations and withholding the submission of this as evidence demonstrates a measured

                     approach under Md. Rule 5-104(a), which governs the admissibility of evidence. The factual

                                                                                                               Page 26 of 44



Motion to Assert Rigths and Request For Immediate Rulings   Page# 26 of 44                                        Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 148 of 226




                     assertion is that both the court record and the party' s own communications show the proposed

                     order was filed on June 14, 2024.


                                          F August 20, 2024: Affidavit of Non-Military Service.

                     104     The issue raised pertains to the incorrect submission of a service request, which involved

                     hyphenated names, leading the system to treat Ryan Dillon-Capps as two separate individuals,

                     Ryan Dillon and Ryan Capps. This misstep highlights procedural deficiencies in the case's

                     handling. Errors in the naming conventions, such as splitting a hyphenated name, could result in

                     improper identification and record matching yielding incorrect results.

                     105     This Plaintiff procedural mismanagement is an example of what is commonly referred to

                     as "throwing spaghetti at the wall," meaning the approach lacks precision and strategy. The

                     manner in which elements of this case have been presented does not satisfy the required

                     standards of diligence or accuracy set forth in Md. Rule 1-341 , which emphasizes the importance

                     of proper, justifiable conduct in legal proceedings. The submission error serves as a final

                     demonstration of the lack of attention to detail and procedural compliance throughout this case.


                                 VITI JUNE 17,2024:NONOTICEEXPARTEHEARfNG FOR TRO
                     106     On the evidence from June 14th, 2024, provided exclusively by the Plaintiff, there exists

                     sufficient evidence to deny an Ex Parte TRO and to challenge the legitimacy of the lawsuit itself.


                                                     A No Particularized Harm provided
                     107     The Plaintiff has only made generalized hypothetical statements that elude to a belief

                     they have without explanation or evidence to support a basis for this belief.


                                      B No Plausible Cause-and-Effect Relationship Demonstrated

                                                                                                            Page 27 of 44



Motion to Assert Rigths and Request For Immediate Rulings   Page # 27 of 44                                   Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8              Filed 01/03/25   Page 149 of 226




                     108     The Plaintiff fails to establish a clear cause-and-effect relationship explaining how

                     Dillon-Capps poses a legitimate risk of harm, relying instead on generalized hypotheticals.


                                                                C Timing of Action

                     109     Plaintiff claims this conflict began on May 21 , 2024, but waited nearly a month to request

                     a TRO, which was filed on June 17th. If Dillon-Capps posed an imminent threat, why was no

                     action taken sooner? What changed in that month, and where is the evidence or explanation to

                     justify the delay?


                                               D Questionable Reguest for Injunctive Relief
                     110     If Dillon-Capps is indeed a risk, why does the Plaintiffs request for injunctive relief

                     include asking him to access the system? Companies facing real security threats typically do not

                     grant access to the alleged risk, especially without law enforcement oversight. The norm would

                     be inclusive of steps that prevent access, not inviting the perceived threat back into the system.


                                                     E      Delayed Action After Suspension
                     111     Plaintiff suspended Dillon-Capps and then filed for injunctive relief yet, claims no ability

                     to remove him from the system. In a genuine threat scenario, companies act swiftly and

                     specifically, often involving law enforcement to mitigate risk. Yet, the Plaintiffs actions were

                     vague, delayed, and lacked the urgency or specifics one would expect in a true security crisis.


                                                               F Lack of Motivation

                     112     Plaintiff offers no plausible explanation for why Dillon-Capps would seize control of the

                     system. Typically, such actions come with demands- ransom, monetary, or otherwise. Here,


                                                                                                            Page 28 of 44




Motion to Assert Rigths and Request For Immediate Rulings    Page # 28 of 44                                   Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 150 of 226




                     after four years of service, there 's no claim of a demand or even a stated motive for Dillon-Capps

                     to harm the company. It defies logic that someone would take control of critical systems without

                     any stated reason, and then take no immediate action.


                                                        G    Implausible Case Structure

                     113     Plaintiff's case suggests that for nearly a month, Dillon-Capps held their system

                     "hostage" with no demands or actions, yet they did not ask him for any explanation. Only after

                     suspending him, they seek injunctive relief, asking the court to essentially reiterate their previous

                     requests rather than seeking immediate intervention to remove their ability to access the system.

                     There's no mention of police involvement, and the relief sought doesn't align with the behavior

                     of a company truly facing an internal systems threat.

                     114     Additionally, the Plaintiff eventually sought contempt orders, demanding a $2,500-per-

                     day fine . If Dillon-Capps is the kind ofrisk they describe, why would they believe financial

                     penalties, or even incarceration, would deter him from retaliating by destroying their systems?

                     Their logic-that stripping someone of all financial resources and then imprisoning them would

                     not provoke further harm-simply doesn't hold up.

                     115     Furthermore, a law firm that is not advocating for direct intervention to seize the

                     technological means necessary to cause harm demonstrates that neither Ohana Growth Partners

                     nor Miles & Stockbridge ever saw Ryan Dillon-Capps as a risk. Showing that Miles &

                     Stockbridge knew from the moment they filed the lawsuit that it was born from a false pretense

                     and contains perjured affidavits.


                                                                   H No Notice


                                                                                                             Page 29 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 29 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 151 of 226




                     116     Email Address on Certificate of Notice: The Certificate of Notice indicates that

                     notification was sent to ryan.dilloncapps@ohanagp.com . However, this is problematic given

                     the suspension.

                     117     Suspension Prohibits System Access: The suspension email sent to Dillon-Capps

                     specifically states that they are prohibited from accessing their systems. This raises serious doubt

                     about whether notice could have been received, as email services are part of the systems that

                     were restricted due to the suspension.

                     118     Association of Email and Systems: The complaint and supporting affidavits tie

                     together the concepts of system access and email:

                             1.       Richard Hartman's Affidavit (paragraphs 3 and 4) makes it clear that access to

                             the email system is part of the work systems affected by the suspension.

                             2.       It is common knowledge that Microsoft 365, which likely includes work email, is

                             a system typically inclusive of email services. Given this, it is reasonable to infer that

                             suspending access to work systems means suspending access to email as well.

                     119     Court Record and Lack of E-Service: The court records also show that no e-service

                     was used before the defendant Dillon-Capps added their own e-service to the record. The

                     following filing details support this:


                                  o   Envelope for the proposed order of contempt (No. 17004733), filed on June

                                      27, 2024, at 10:48 AM, shows that both Ryan Wagner and Ryan Dillon Capps

                                      are listed as parties with no e-service available on page 2.




                                                                                                              Page 30 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 30 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8           Filed 01/03/25   Page 152 of 226




                     120     Thus, the combination of the suspension preventing access to work-related email systems

                     and the lack of e-service notice in court records provides a compelling basis for believing that no

                     effective notice was provided to Dillon-Capps. This raises significant due process concerns

                     about the validity of any subsequent court actions taken under the assumption that notice had

                     been properly served.


                                                 I Conflicting Information on Material Facts
                     121     Conflicting information in the affidavits on material facts like who is responsible for the

                     demand issued at 9:01 AM.

                             1.         Richard Hartman stating it was his demand, and the exhibit he presents saying

                             Glenn Norris ordered the demand

                             2.         Justin Drummond stating that he is responsible, and he directed Richard Hartman'

                             actions.


                                                  J    Evidence Contradicts Claim of Refusal
                     122     No supporting evidence showing any refusal, and the evidence submitted shows

                     compliance with the request.


                                                   K    Plaintiff saxs the lawsuit is retaliation
                     123     Submitted evidence sufficiently shows the Defendant has met their prima facia element to

                     have notified them, which could have occurred afterwards - but occurring beforehand makes it

                     retaliation too.

                     124     Richard Hartman's affidavit and suspension letter says this is retaliation connected to

                     FMLA but is worded as why he believes they are allowed to violate FMLA, and then stating that
                                                                                                            Page 31 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 31 of 44                                    Exhibit 107
               Case 1:24-cv-03744-BAH               Document 16-8            Filed 01/03/25    Page 153 of 226




                     because the Defendant didn't work instead of taking FMLA leave is the basis of the suspension.

                     They admitted to retaliation for taking FMLA leave as the premise of the lawsuit. When this

                     issue was raised by the Defendant as part of 3 reasons for dismissal because of judicial priority

                     of the federal government they were prohibited from arguing any point related to FMLA leave

                     by Judge Michael

                     125     The burden of harm is excessively in favor of the Ex Parte and the issuance of the TRO is

                     evidence that Miles & Stockbridge failed in their ethical Ex Parte duties. The Court upon

                     reviewing what was filed and what was being argued did not align to meet the ethical ex parte

                     duties which should have incurred additional scrutiny and suspicion raising the bar to meet.

                     126     The lead document, employment agreement jumps numbers , and the court should have

                     rejected it when filed, but in court while arguing for the Ex Parte TRO this should have been a

                     cause for dismissal of the case. Allowing them to refile with a complete agreement to base their

                     entire claim that there was a violation of said agreement, but no TRO for June 171\ 2024, nor any

                     other verdict in their favor until it is because it is still the agreement used despite protest and

                     motions.

                     127     Hyperlinks are considered to not be part of any court record when they reference

                     something not in the court record. Affidavits then supporting documents are using the same

                     hyperlink to a Microsoft website to be the basis for arguing why they believe a technical fact to

                     be true. If a hyperlink is prohibited from being on the record and it is in required documents like

                     the memorandum and affidavit and is supporting a material fact to establish the necessity for

                     their claim. Then the documents need to be redone and refiled in the same way that a motion to

                     strike a portion of a document would result in the document being refilled to prevent it from


                                                                                                                Page 32 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 32 of 44                                        Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25     Page 154 of 226




                     corrupting the proceedings with inadmissible portions of the document on the record. Since it

                     can't ever be on the record, then you can ' t ever truly cite it or rely on it and it's an invalid source

                     to establish a fact or claim. For the TRO this too should have been a dismissal of the case since

                     they do not have a valid memorandum and Richard Hartman 's affidavit contains the agreement

                     and email. The agreement is the foundation of their claim. They are all still present and "on the

                     record" despite protest and motions.

                      IX JUNE 26, 2024: HEARING TO SHOW CAUSE AND PRELIMINARY INUNCTION
                     128     The evidence strongly supported that the defendant Ryan Dillon-Capps and unattached

                     Daren Koritzka were the victims of retaliation for use of Dillon-Capps using and asserting their

                     right to use FMLA. Both protected acts

                     129     Dillon-Capps has met their prima facia requirement that on June 13 th the use of FMLA

                     had been requested and the Plaintiff was aware of this before they violated it to demand that they

                     work. The prima facia requirement must now be met by Ohana to explain how their actions were

                     not a violation of FMLA. Not that they were burdened and had an excuse, but how it was not a

                     violation of FMLA.

                             1.      No evidence of there being a refusal.
                             2.      All evidence shows efforts to satisfy are exclusively being made by the
                             Defendant, and this includes the evidence submitted by the Plaintiff.
                             3.      Richard Hartman claims two different versions of who is responsible for the email
                             at 9:01 AM. Justin Drummond claims a third version of who is responsible for the email
                             at 9:01 AM.
                             4.      Richard Hartman has interfered with Dillon-Capps FMLA rights previously and
                             did so without others that work with him knowing.
                     130     Those are the facts that don't aid the Plaintiff, they act as a record for ruling against the

                     Plaintiff, and yet the ruling record does not reflect this.



                                                                                                                 Page 33 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 33 of 44                                         Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 155 of 226




                                    A June 26th, 2024 - Motions to Dismiss for Federal Jurisdiction

                     131      Motions to Dismiss Based on Federal Jurisdiction: On June 26th, 2024, in open court,

                     Dillon-Capps made Motions to Dismiss challenging the court's jurisdiction, citing federal

                     government priority for three distinct reasons:

                     132      FMLA: The Family and Medical Leave Act (FMLA), a federal law, takes precedence as

                     it provides for protected leave, which Dillon-Capps invoked. This should have been recognized

                     as a matter under federal jurisdiction.

                     133      ADA: The Americans with Disabilities Act (ADA), which mandates reasonable

                     accommodations, including leave for individuals with disabilities, also implicates federal law.

                     Dillon-Capps argued that the AD A's protections were not being upheld.

                     134      FTC and PCI Compliance: Citing FTC v. Wyndham (relating to Wyndham ' s failure to

                     implement adequate security practices), Dillon-Capps contended that the Federal Trade

                     Commission (FTC) had jurisdiction over the matter due to alleged violations of Payment Card

                     Industry Data Security Standard (PCI DSS v4) compliance requirements, specifically around

                     account management and least-privilege permissions - court opinion of FTC v Wyndham says

                     they are held responsible for their failure to do the same. Judge Barranco stated in open court

                     that he found the court opinion but did not understand how account access being poorly granted

                     in that case had any merit in a claim where the Plaintiff wanted access granted to them without

                     any adherence to restricting access in the same manner that court ruled against Wyndham for not

                     doing.

                     135      Dillon-Capps was preventing form presenting a full argument which included additional

                     court cases and Maryland Personal Information Protection Act (PIPA), Md. Code Ann.,


                                                                                                           Page 34 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 34 of 44                                  Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 156 of 226




                     Com. Law§ 14-3503(a). The mechanism to preventing unauthorized access, use, modification,

                     or disclosure is more commonly known as account management. The act of restricting access to

                     prevent unauthorized access, use, modification, or disclosure is more commonly known as least

                     privilege. In layman terms, you grant access for only what is justified by the job and duties they

                     have, and in doing so you prevent them from accessing things to which they do not have a

                     justifiable reason to be accessing.

                     136     Judge Michael Barranco acted outside of Judicial discretion in his rulings and actions

                     which he believed were actions necessary to help Ohana Growth Partners and Miles &

                     Stockbridge obtain access. It does not change material facts that his intentions were to help

                     someone violate Maryland Criminal Law. This is an attempt to violate Md. Code Ann., Com.

                     Law§ 14-3503(a) because at no point during the lawsuit has Ohana Growth Partners or Miles &

                     Stockbridge ever provided a response to the question "what is the access for". What if the access

                     was being used to delete evidence associated with the accounting irregularities that were reported

                     on October 16, 2024?


                                             B Court's Denial and Refusal to Hear Arguments:

                     137     The court denied the motion relating to FTC v. Wyndham (#3) and refused to hear

                     arguments for the FMLA and ADA motions (#1 and #2). The judge also prohibited further

                     discussion of FMLA or ADA rights violations, effectively limiting the scope of arguments that

                     Dillon-Capps could raise in court.

                                                       X JUNE 27rn: HEARING DAY 2




                                                                                                           Page 35 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 35 of 44                                   Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 157 of 226




                     138     Contempt Orders and Judicial Overreach: In this case, Judge Barranco imposed a

                     $2,500 per day contempt charge based on conflicting court orders that the Petitioner could

                     not possibly comply with, further compounding the harm. The orders effectively stated, "do not

                     do it" and "do it," creating an impossible situation in which compliance with both directives was

                     impossible, and yet failure to comply subjected the Petitioner to severe daily fines . When

                     attempting to seek relief or clarification, the Petitioner was met with immediate resistance:

                     139     Motion for Continuance: Upon speaking just four words, the Petitioner' s motion for

                     continuance was denied by Judge Barranco, who cut off further argument.

                     140     Prohibition on Cross-Examination: The Petitioner was prohibited from effectively

                     cross-examining the Respondents ' expert witness, despite significant contradictions in the

                     expert's affidavit versus the court record. After merely prompting the expert with a question,

                     Judge Barranco interrupted the process and began direct questioning of the Petitioner, cutting

                     off cross-examination entirely.

                     141     Disability Dismissal: Judge Barranco opined that Dillon-Capps was not "disabled

                     enough" to qualify for accommodations in his courtroom or from his ruling discretion ,

                     dismissing any further conversation about ADA rights violations. This ruling directly contradicts

                     federal protections under the Americans with Disabilities Act (ADA), which clearly covers

                     individuals with recognized disabilities like PTSD and catatonia. The Plaintiffs had already

                     affirmed in their statements and fillings that Dillon-Capps was receiving ADA accommodations

                     and approved for FMLA leave, and the Defendant had provided additional supporting evidence,

                     and the Defendant's spouse testified to the same.




                                                                                                            Page 36 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 36 of 44                                   Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8              Filed 01/03/25   Page 158 of 226




                     142     The Case Timeline and Continuation of Harm: From the initiation of the case on June

                     14th, 2024, to June 27th, 2024 (13 days), it was already clear that the Petitioner had a strong

                     defense. By June 18th, 2024, the case had been effectively won by the Petitioner based on the

                     evidence presented. Yet, the legal process has dragged on with orders designed to impose

                     financial penalties and emotional stress on the Defendant, all while important judicial rights,

                     such as the right to cross-examination, proper defense, to even have a particularized harm and

                     specified cause and effect relationship to which they can argue against. Every order presented

                     with more and more evidence contradicting Plaintiff's false claims and reinforcing the facts that

                     the lawsuit is fraudulent, and a retaliation have all been denied. Averaging weeks for a ruling.

                     While the Plaintiff and Attorney, co-conspirators, are obtaining rulings that average less than 48

                     hours. Less time than it took to get the Motion for Sanctions entered onto the Docket.

                     143     Now, on September 30th, 2024, more than three months later, the Defense questions

                     the necessity to continue in a case that continues to grow more problematic for Ohana Growth

                     Partners and Miles & Stockbridge. This is especially troubling when viewed in light of Judge

                     Keith Truffer's previously stated opinions on evaluating attorney misconduct.

                                 XI JUDGE TRUFFER: EVALUATING ATTORNEY MISCONDUCT
                     144     Honorable Judge Keith R. Troffer articulated important criteria for evaluating attorney

                     misconduct while serving in the Attorney Grievance Commission of Maryland v. Stein horn

                     (2018). These factors , which align with the principles oflegal ethics, should guide the court in

                     evaluating the actions of Miles & Stockbridge:


                                                            A Credibility of the Attorney:



                                                                                                            Page 37 of 44




Motion to Assert Rigths and Request For Immediate Rulings     Page# 37 of 44                                  Exhibit 107
               Case 1:24-cv-03744-BAH               Document 16-8            Filed 01/03/25   Page 159 of 226




                     The credibility of Miles & Stockbridge has been severely undermined by their repeated failure

                     to separate themselves from the wrongdoing perpetrated by Ohana Growth Partners. They

                     have knowingly pursued fraudulent actions and made no effort to clarify or correct their

                     involvement, which reflects a lack of ethical and trustworthy conduct.


                                                              B lntent to Deceive:

                     There is overwhelming evidence, beyond a reasonable doubt, that the law firm acted with intent

                     to deceive or deliberately obfuscated critical facts in this matter. Their actions have consistently

                     misled the court and harmed the defendant.


                                                               c Personal Benefit·
                     145     The firm operated under a conflict of interest, attempting to protect one of their principal

                     attorneys from facing minor ethical issues while exposing the firm to larger concerns of

                     negligence and malpractice. These actions went far beyond the bounds of zealous advocacy

                     and were motivated by internal risks rather than legitimate representation of Ohana Growth

                     Partners.


                                                      D     Existence or Absence of Harm·
                     146     The actions of Miles & Stockbridge have caused permanent harm to Dillon-Capps,

                     including the onset of catatonia, a life-threatening condition. While the firm may not have

                     intended this specific outcome, their willful actions to deprive the defendant of employment,

                     financial security, and medical coverage demonstrate wanton disregard for human life.

                     Courts have established that intentional harm cannot be excused simply because the specific

                     harm was not foreseen (Taylor v. State, 346 Md. 452 , 697 A.2d 462 (1997); Alston v. Forsythe,

                                                                                                             Page 38 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 38 of 44                                     Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8            Filed 01/03/25   Page 160 of 226




                     226 Md. 121 , 172 A.2d 474 (1961)). Their actions constitute reckless endangerment under Md.

                     Code, Criminal Law § 3-204. We argue this is a case of civil conspiracy and tortious

                     interference with the defendant's employment, and the deprivation of insurance coverage

                     constitutes economic duress and constructive fraud .


                                            E Remorse and Corrective Action of Wrongdoing:

                     147     Despite numerous attempts to provide Miles & Stockbridge with opportunities to correct

                     their course, they have shown no remorse. Instead, they have intensified their efforts to pursue a

                     fraudulent lawsuit, demonstrating their intention to harm. This continued pursuit directly

                     contradicts any potential claim of remorse.


                                                    F Application to Miles & Stockbridge

                     148     The application of Judge Truffer's criteria to Miles & Stockbridge confirms the

                     severity of their misconduct. Their lack of credibility, clear intent to deceive, and disregard for

                     the harm caused to the defendant all point to unethical behavior. The firm 's ongoing refusal to

                     correct their actions necessitates judicial intervention.


                                                                  G   Conclusion
                     149     Disqualification of Miles & Stockbridge is not a punitive measure but a necessary step

                     to protect Ohana Growth Partners from incurring further liability and to prevent continued

                     harm to Dillon-Capps. It is essential to preserve the sanctity of the law and the public's trust in

                     the judicial system. Disqualification also serves to safeguard the court' s resources from being

                     wasted on a case driven by fraudulent motives.



                                                                                                             Page 39 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page# 39 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 161 of 226




                     150     Furthermore, there is a need for a mechanism to protect junior attorneys within the firm,

                     who may be placed in compromising positions that require them to challenge senior partners or

                     principals. Judges, as the adjudicators of legal matters, must uphold the law in a way that instills

                     public confidence in the fairness and integrity of the judiciary.

                     151     Their position of honor we rise for is representational of the trust and power given to

                     them so that one day when we are in a court room we will be just as safe as their family would be

                     in that same room.

                     "We are Baltimore County residents ourselves; our families live here. We want to make sure that
                     the people who appear before us are just as safe as we want our families to be. " - Judge Marc A
                     DeSimone Jr. (source afro.com)
                                               XII NECESSITY FOR URGENCY & RELIEF

                                                             A Financial Hardship:

                     152     The ongoing litigation has created a severe financial strain that may lead to defaulting

                     on financial obligations, which no court can later undo. The loss of financial stability and

                     potential damage to credit and personal financial reputation cannot be compensated by monetary

                     damages after the fact. Courts recognize that financial hardship resulting from legal delays can

                     cause irreparable harm, especially when the defendant's livelihood is directly impacted.


                                              B Permanent Psychological and Physical Hann·
                     153     The psychological trauma inflicted by the plaintiffs actions has already resulted in

                     permanent harm, including catatonia, a life-threatening condition. The triggering event

                     occurred following prolonged mental anguish, culminating in a breakdown on the night of June

                     17, 2024, as discussed in Caroline Dillon-Dillon's affidavit. Enduring eight months of




                                                                                                            Page 40 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 40 of 44                                    Exhibit 107
               Case 1:24-cv-03744-BAH               Document 16-8             Filed 01/03/25   Page 162 of 226




                     harassment, followed by a calculated psychological manipulation led by Justin Drummond,

                     resulted in a mental breakdown , further exacerbating pre-existing PTSD .

                     154       The symptoms of catatonia are severe and pose a real threat of unexpected death,

                     making this condition not only psychologically harmful but potentially fatal. Courts have

                     consistently held that mental health injuries causing long-lasting or permanent effects,

                     particularly life-threatening conditions, warrant immediate judicial intervention. The inability of

                     any subsequent court ruling to reverse these psychological and physical effects necessitates swift

                     action.


                                                              C Impact on Others:

                     155       In addition to the personal harm, there is a significant burden of care placed on you for

                     your elderly mother, disabled brother, and wife, who suffers from cerebral palsy. These

                     individuals rely heavily on you for emotional, financial, and physical support. Any further

                     degradation of your health or financial standing will have a cascading effect on their well-being.

                     The ongoing harm inflicted by the plaintiffs baseless legal actions threatens not only Dillon-

                     Capps but those who are vulnerable and depend on them.


                                          D    Public Interest Section for Prohibitory Mandamus;
                     156       This case not only involves personal harm but also raises significant public interest

                     concerns. The improper granting of a premature default order under Md. Rule 2-613

                     undermines public confidence in the judicial system's integrity. When legal processes are

                     manipulated, or rules are ignored, it erodes the public' s trust that courts will fairl y adjudicate

                     disputes according to established procedures.


                                                                                                                Page 41 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 41 of 44                                        Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 163 of 226




                     157     Furthermore, pursuing claims based on fraudulent pretenses, as demonstrated by the

                     false allegations and misrepresentations made in this case, contributes to a broader harm . Md.

                     Rule 19-303.1 governs ethical conduct in legal practice, and lawyers are obligated to avoid

                     advancing claims lacking legal or factual basis. The legal profession exists to protect the public

                     by ensuring that justice is served, and when a firm knowingly supports a fraudulent claim, it

                     undermines the core principles oflegal ethics and the rule of law.

                     158     Failure to address these injustices not only harms the individuals involved but also deters

                     others from seeking legal redress. Members of the public may lose confidence in the court

                     system, fearing that fraudulent lawsuits could unjustly target them without consequence,

                     particularly if they believe that wealthier entities have the ability to manipulate legal processes.

                     159     As noted in Rule 1-201, the rules of procedure are meant to ensure fairness and the

                     elimination of unjustifiable delay or expense. Allowing such practices to continue unchecked

                     compromises public faith in the courts and diminishes the very fabric of the legal system. It is in

                     the public interest that courts act swiftly to correct such abuses, ensuring that the judiciary

                     remains a place where justice is dispensed impartially.


                                                                  E    Conclusion
                     160     The issuance of the premature default order not only violated procedural rules but also

                     threatens irreparable harm to both the defendant and the broader public interest. Upholding

                     due process and preserving public trust in the judiciary are paramount. Immediate action is

                     necessary to prevent the finalization of an order that contravenes the very principles of fairness

                     and integrity enshrined in the Maryland Rules. Allowing this order to stand would not only



                                                                                                              Page 42 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 42 of 44                                      Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 164 of 226




                     harm the defendant but also undermine public confidence in the courts, encouraging the misuse

                     of legal processes for fraudulent purposes.

                     161     Similarly, perpetuating harm upon Dillon-Capps and allowing a fraudulent case filed for

                     the purpose of harming the Defendant needs to immediately rule on to Dismiss with prejudice

                     and proposed order attached to the Motion for Sanctions provides the means to do this with one

                     small addition. Dillon-Capps has been forced to perform the duties of expert and attorney against

                     a law firm with 3 separate principles and associates in opposition, and doing so while they are

                     operating at less than one third total capacity as a direct result of the harm inflicted upon them.

                     162     The Defense argues that while Dillon-Capps doesn't have a formal bill of attorney fees to

                     present that Ohana Growth Partners and Miles & Stockbridge do, and those expenses are a fair

                     reflection of the cost to litigate this case for either party. Therefore, the court should append to

                     the proposed order recovery include the equitable costs because Dillon-Capps acting as attorney

                     and acting as expert witness is not free. Demonstrating that at a fraction of capacity their worth

                     as both is demonstratively deserving of a significantly higher rate than a band 2 firm, and

                     accepting of the lower value equal to their costs is to speed up resolving that portion of

                     outstanding costs. It is having been an assumption of the Court, Opposing Counsel, and

                     Plaintiff, to which no assertions are made herein, that Dillon-Capps is a layman in either regard.

                     163     We ask that this court promptly correct these violations and protect the public's trust in a

                     judicial system that adheres to fairness, ethical conduct, and the rule of law.




                                                                                                              Page 43 of 44




Motion to Assert Rigths and Request For Immediate Rulings   Page # 43 of 44                                       Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8              Filed 01/03/25   Page 165 of 226
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                                              RESPECTFULLY SUBMITTED
                     October 1, 2024                                    /s/ Ryan Dillon-Capps
                                                                                 Ryan Dillon-Capps (Pro Se)
                                                                                 Email: ryan@mxt3 .com
                                                                                 1334 Maple Avenue
                                                                                 Essex, Maryland 21221
                                                                                 Telephone: (703) 303-1113




                                                            CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that on October 1, 2024, a copy of Motion to Assert Rights and Request

                 Immediate Rulings via email to rbrennen@milesstockbridge.com and served on via first-class mail,

                 postage prepaid on:



                             Robert S. Brennen
                             Miles & Stockbridge P.C.
                             100 Light Street
                             Baltimore, Maryland 21202



                                                                                 ls/Ryan Dillon-Capps
                                                                                 Ryan Dillon-Capps (Pro Se)




                                                                                                              Page 44 of 44




Motion to Assert Rigths and Request For Immediate Rulings    Page # 44 of 44                                    Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25    Page 166 of 226




                               OHANA GROWTH PARTNERS,                           IN THE

                               LLC                                              CIRCUIT COURT

                                                Plaintiff,                      FOR

                               vs.                                              BALTIMORE COUNTY

                               RYAN DILLON-CAPPS                                CASE NO: C-03-CV-24-002264

                                                Defendant.


                         AMENDED AFFIDAVIT FOR MOTION TO ASSERT RIGHTS AND REQUEST FOR
                                              IMMEDIATE RULINGS

                     I, Ryan Dillon-Capps, being over the age of eighteen (18) and competent to testify, and having

                     personal knowledge of the facts contained herein, state as follows :


                                                              I MATERIAL LIES
                             No Breach of Duty: I did not breach any duty, but Ohana did breach their duty of care.

                     2       No Breach of Contract: I breached no contractual obligations. Unlike Ohana who

                     breached the written agreement with me from June 7, 2024, and who wanted to breach a dozen

                     agreement they made in multiple Franchise Disclosure Documents (FDD)

                     3       No Refusal: I complied with all lawful directives and provided lawful and compliant

                     solutions to unlawful and non-compliant ones.

                     4       No Risk: Ohana and Counsel have affirmed and stated under oath what they demanded.

                     They wanted to violated PCI Compliance, breach a dozen contractual agreements, and violate

                     roughly 20 laws over 5 states, DC, and federally. Furthermore, Ryan Brooks was caught trying




                                                                                                             Page I of 14



Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings     Page# 1 of 14                 Exhibit 107
              Case 1:24-cv-03744-BAH               Document 16-8              Filed 01/03/25     Page 167 of 226




                    to gain unauthorized access and the results of his work were discovered and placed systems,

                    data, and the business at risk.

                    5        No Harm: The only harm Ohana has suffered is from their own doing. Ohana affirmed in

                    Richard Hartman' s affidavit and Robert Brennen has confirmed under oath on June 26, 2024.

                    Ohana willingly and knowingly violated my FMLA leave rights in June 13 , 2024. Ohana and

                    Counsel's actions have exacerbated my PTSD. I now suffer from catatonia, which has worsened

                    since June 17 and now presents as malignant, and I have severe memory issues because of Ohan a

                    andM&S .

                    6        No Claim of Authority: No claim of authority beyond my own was ever made, but

                    Ohana has made several false claims of authority involving PCI Compliance, contractual

                    obligation, and ownership of planet fitness health clubs.

                     7       No Exclusive Control of Systems: Roles and responsibilities were distributed,

                             1.      Billing Administrator: LeeAnn Hartman (Richard Hartman' s Wife)

                             2.      Viva Goals Administrator: Justin Drummond

                             3.      Support Administrators: Cielo IT: Managed by Dante Martinez (Ohana

                             Terminated Sept 15)

                             4.      Systems, Database, and Reporting Administrator: Ann Pinera

                             5.      Cloud Administrator: Ryan Brooks (RDC Terminated May 20 II Ohana Rehired)

                             6.      Security Administrator: Ryan Brooks (RDC Terminated May 20 II Ohana

                             Rehired)

                             7.       Backup Administrator: Darren Koritzka (Ohana Suspended June 13)

                             8.       Compliance Administrator: Ryan Dillon-Capps (Ohana Suspended June I 3)


                                                                                                              Page 2 of 14




Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings      Page# 2 of 14                 Exhibit 107
              Case 1:24-cv-03744-BAH               Document 16-8              Filed 01/03/25    Page 168 of 226




                     8       Maintained Compliance: I followed all lawful directives and maintained compliance

                     with all applicable requirements, standards, contractual obligations, and policies .

                     9       No GoDaddy/Domain Registrar Access Requested: Ohana doesn ' t know what

                     GoDaddy is and never mentioned it before they filed this lawsuit.

                                                       II CORNERSTONE OF TRUTH
                     10      Communication Style Criticism: For years, I endured gender- and disability-based

                     harassment at Ohana, with attacks on my communication style that mirrored the criticisms

                     recently levied by Robert Brennen and Judge Barranco. This began with Chief Marketing Officer

                     Josh Gerber during COVlD, when he responded to a routine request needing approval from my

                     supervisor, Glenn Norris, with name-calling and demeaning comments, dismissing me as "just

                     an IT guy." Gerber' s bullying mirrors the tone that others, including Brennen and Barranco, have

                     since reinforced .

                     11      Escalating Hostility: Others- Joshua Beyer, William Flax, and Jared Flax-later

                     intensified the harassment, after my recommendation to consider vendors other than Onsite

                     Solutions, Inc., who was implicated in fraud in 2023 . Their hostility grew with each passing year,

                     creating an environment to deliberate discredit me, culminating in this lawsuit.

                     12      Dismissive HR Responses: Reports of harassment across departments were consistently

                     ignored, with reporting processes structured to discourage formal complaints.

                     13      Unwitting Accomplices: As litigation grew closer, so did the frequency of incidents

                     where Glenn Norris and Richard Hartman leveraged their supervisory role. Frequently

                     manipulating colleagues into unknowing retaliation, such as Kali Roscoe. Similar to how Robert




                                                                                                             Page 3 of 14



Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings      Page# 3 of14                 Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25     Page 169 of 226




                    Brennen extended the aggregate of deceptions to influence members of the Baltimore County

                    Circuit Court.

                     14      Intentional Retaliation : Others willingly perpetuated hostile actions, such as Kristen

                     Seiler ("Seiler"), who acted on false narratives fueled by deliberate misinformation that caused

                     Seiler to engage in hostile conduct she believed was protecting and defending another. Similar

                     to how others today may be engaging in efforts to protect and defend.

                     15      Coordinated Defamation: Instead of pursuing the fraud investigation they claimed to be

                     hired for, Miles & Stockbridge's efforts were levied by Ohana to discredit me . Holly Butler's

                     failure to initiate a legitimate investigation, despite assurances, raised concerns that led me to

                     confront her in March and again in June, days before the lawsuit was filed.

                     Escalation to Fraud: Initially, Brennen and Frenkil may have acted to protect Holly Butler, but

                     Miles & Stockbridge soon leveraged and perpetuated deceptive narratives to sway certain

                     Baltimore County Circuit Court judges and others, inducing actions that favored their agenda

                     without full understanding. Individuals, likely believing they were assisting colleagues, were

                     unknowingly aiding the true perpetrators- those now fully aware of the intent behind their

                     actions, including Glenn Norris, Richard Hartman, Justin Drummond, Robert Brennen, Steven

                     Frenkil, and Holly Butler.

                     16      Driven by deception and a desire to protect reputations, these actors exploited goodwill

                     and professional trust, weaponizing these principles to evade accountability. By manipulating

                     perceptions and minimizing their own accountability, they orchestrated a process that now

                     encompasses Abuse of Process, Malicious Litigation, Perjury, Fraud, and other unethical and




                                                                                                               Page 4 of 14




Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings      Page# 4 of 14                   Exhibit 107
              Case 1:24-cv-03744-BAH               Document 16-8              Filed 01/03/25     Page 170 of 226




                     illegal conduct-each layer deepening the harm inflicted and further distancing the truth from

                     my actions performed in good faith .


                                              III PROFESSIONAL AND PERSONAL HARM
                     17      Financial Losses: Delayed opportunities in AI development, a missed chance to launch a

                    company, and canceled personal milestones- all sacrifices Dillon-Capps made to protect

                    colleagues I once considered friends. Resulting in financial default and leaving me without the

                     means to recover.

                     18      Permanent Harm: Severe memory issues and malignant catatonia have left me

                     functioning at reduced capacity. Pursuit of my career or business is irreparably harmed because I

                     am unable to perform in a similar role or efforts needed to pursue the AI development. These

                     problems would not exist without Ohana and M&S intentional effort to harm.

                     19      Urgent Family Implications: Without relief, Dillon-Capps ' s financial collapse would

                     leave his disabled brother and other dependents vulnerable. He urgently requests court

                     intervention to secure his family 's future and protect against further harm.


                                                        N    ADDITIONAL CONTEXT
                     20      The contents of Additional Context are material statements and facts for other litigation,

                     and presented herein to inform on context, but not intended for other purposes. This current

                     litigation is limited to the events of the litigation for my seven counter claims because the

                     Plaintiff of the original complaint has rested their case, and I am filing for a Motion for Directed

                     Verdict.


                                                               KRISTEN SEILER



                                                                                                              Page 5 of 14



Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings      Page# 5 of 14                 Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25    Page 171 of 226




                     21      Initial Misunderstanding: The incident involving Kristen Seiler arose from a well-

                     intentioned but misunderstood exchange between myself and her supervisor, LeeAnn Hartman.

                     During the conversation, I was attempting to ensure that an upcoming order for IT equipment

                     met LeeAnn's unspoken needs. LeeAnn had previously expressed feeling overlooked in

                     receiving technology resources, often ending up with outdated equipment. As the Accounts

                     Payable Manager and someone who had voiced these concerns, I wanted to address her needs

                     thoroughly.

                     22      Proactive Follow-Up: During a Daily-Standup meeting, the Help Desk Manager and IT

                     Coordinator were giving me the list of expenses to approve, and it included a $30 webcam for

                     LeeAnn. LeeAnn is the wife of the head of HR Richard Hartman and sister of former President

                     and co-founder, Lynne Brick. Being overlooked and ending up with the "hand-me-downs" was

                     something she mentioned casually in a prior conversation, and I wanted to find out what else the

                     IT Department could get for her so that she would feel seen and not overlooked.

                     23      Misinterpretation by Seiler: Unfortunately, due to prior misinformation from Jared

                     Flax, who had continually spread misleading information to Kristen, and the unusual nature of

                     the head of IT following up on a webcam order. She misunderstood my follow-up as invasive

                     rather than supportive. Believing she was advocating on LeeAnn 's behalf, Kristen interrupted the

                     conversation, yelling, "Just give her what she wants!"

                     24      Resolution and Escalation: Recognizing Kristen's reaction as rooted in a misplaced

                     sense of advocacy, I had no intention of escalating the matter. However, LeeAnn, concerned

                     about potential consequences, likely informed her husband, Richard Hartman, of the incident.

                     Richard Hartman then escalated the situation by fabricating a narrative in an email to Glenn


                                                                                                             Page 6 of 14



Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings     Page# 6 of 14                 Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25   Page 172 of 226




                     Norris, portraying LeeAnn as banned by the interaction. This embellished account contributed to

                     further confusion and misunderstanding.

                     25        Pattern of Dishonesty by Richard Hartman: Richard Hartman's involvement in this

                     and similar incidents consistently introduces misinfonnation . His contributions are marked by a

                     pattern of dishonesty, including spoliation and tampering. While he may serve a role within the

                     organization, his repeated distortions and false narratives obscure any constructive contributions

                     he might make.


                                                                 VICTOR BRICK

                     26        Victor Brick's Role and Potential Negligence: As CEO, Victor Brick ("VB") maintains

                     a position of authority over company operations. However, claims that VB was unaware of the

                     actions leading to the lawsuit appear questionable at best. His lack of visible involvement may

                     suggest a deliberate choice to distance himself from events, potentially indicating either

                     negligence or a more conscious evasion of accountability.

                     27        Distancing: On the day of the final strategic session in December 2023, VB abruptly

                     canceled a scheduled meeting with me in Maryland, intended to discuss critical evidence and

                     recommend a third-party investigation. VB's decision to avoid this meeting was a notable red

                     flag, implying potential external influence aimed at preventing a thorough discussion of these

                     issues.

                     Involvement of Miles & Stockbridge: Fallowing VB ' s cancellation, Justin Drummond

                     contacted me to infonn me of the involvement of Miles & Stockbridge. Holly Butler, a

                     representative from Miles & Stockbridge, was introduced as the investigator, despite her lack of


                                                                                                             Page 7 of 14



Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings     Page# 7 ofl4                  Exhibit 107
              Case 1:24-cv-03744-BAH               Document 16-8              Filed 01/03/25     Page 173 of 226




                    the hands-on technical expertise required for a comprehensive and effective investigation. As

                     evident events since, the false pretense was for the purpose of assisting Ohana in terminating me

                     with cause. Requiring them to fabricate cause when none was found and raises serious questions

                     about their ongoing efforts to avoid serious good faith conversations or negotiations .

                     28      Suspicious Travel Arrangements: In the following days, the internal threat systems

                     flagged things that I would later review to discover unusual travel arrangements for Josh Beyer,

                     organized by Justin Drummond. Josh Beyer is the Chief Development Officer and travels

                     constantly without the need for others assistance with the trip pointing at Victor Bricks and his

                     Miami Condo. A voiding more convenient communication methods overlapped with the context

                     mentioned, and Josh Beyer's acquisition and standing at Ohana. (see Josh Beyer section)

                     29      Data Driven Analysis: After I created and trained an AI model to process various forms

                     of data to successfully identify correlation vs causation from both the actions and inactions from

                     the data I was able to process the data on Victor Brick that immediately confirmed a methodical

                     approach to maintaining distance that has evolved over the years, and his actions are consistent

                     to be used against any specified period of time to which the model has been trained and identify

                     when VB is aware and involved and he is intentionally distancing himself from the events.

                     30      June 13, 2024: I don 't want to know and so I never processed the data for June 13 , 2024.

                     I would rather believe he is a father taking care of his daughter. However, I do know from this

                     process that VB has not been an absent CEO in regard to these events overall.


                                                                  JOSH BEYER




                                                                                                               Page 8 of 14



Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings      Page# 8 of 14                  Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25     Page 174 of 226




                     31      Sexual Harassment Allegations Against Joshua Beyer: Beyer was implicated in a

                     sexual harassment lawsuit while at Planet Fitness, involving accusations of coercion under the

                     guise of "business trips" to enable inappropriate advances involving alcohol. These behaviors

                     reportedly mirrored a prior inappropriate relationship where alcohol was a key factor. Beyer

                     allegedly pressured the individual to destroy communication records to avoid exposure.

                     32      Email Transfer and E-Discovery Manipulation : Beyer sent emails from his Planet

                     Fitness headquarters (PFHQ) email to a personal Yahoo account, forwarding these to CFO Glenn

                     Norris . After an e-discovery request was issued, Oharra undertook a rushed migration from on-

                     prem servers to Microsoft 365 , allegedly resulting in a multi-day "outage." Following this, Ryan

                     Brooks informed Norris that e-discovery data was now "ready for download," raising concerns

                     about the preservation of relevant evidence.

                     33      Beyer's Hiring and Franchise Competition : Beyer was hired by Ohana shortly after

                     these allegations surfaced and after Norris had received these emails. In franchise dynamics,

                     rival franchisees are the primary competition, with Area Development Agreements (ADAs)

                     driving profitability. Securing high-value ADAs is essential to Ohana's core strategy,

                     particularly in its effort to maximize Earnings-Before-Interest-Taxes-Depreciation-Amortization

                     (EBITDA).

                     34      Strategic Financial Engineering: Throughout 2023 , Norris focused on a critical l 0-year

                     refinancing arrangement, leveraging a 40% EBITDA-critical to favorable financing terms. This

                     strategy uses tax mechanisms to routinely reduce liabilities, a tactic that walks a fine line

                     between aggressive tax planning and potential illegality under specific circumstances, although

                     typically compliant under applicable laws.


                                                                                                               Page 9 of 14



Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings      Page# 9 of 14                  Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25     Page 175 of 226




                                                             JUSTIN DRUMMOND

                     35      Financial Motivation and Background: Drummond anticipated a significant payout

                     from the company's refinancing deal, which would have been a rare financial opportunity for

                     someone from a non-wealthy background. This possible windfall, coupled with the high stakes

                     of the refinancing, likely influenced him to prioritize actions that would secure the deal ' s closure

                     and maintain the company ' s stability.

                     36      Navigating New Leadership Dynamics: As a newer President, Drummond was still

                     adapting to the complexities of senior leadership, which required balancing immediate decisions

                     with long-term company interests. He faced substantial pressure in managing high-stakes

                     decisions, particularly as his position depended heavily on the established authority of figures

                     like Glenn Norris and Victor Brick. The influence of these senior leaders, coupled with his desire

                     to maintain job security, likely shaped his choices and limited his autonomy .

                     37      Adapting Under Pressure: Drummond's decisions during this period reflect a leader

                     striving to fulfill his role while coping with immense pressures. Despite a lack of seasoned

                     executive experience, Drummond sought to uphold his responsibilities but found himself facing

                     increasing demands and constraints. The decisions he made, while ultimately harmful to me,

                     appear driven by situational pressures and external influences rather than malice or personal

                     intent to harm.

                     38      Perspective on Intent and Harm: Despite the personal impact of Drummond's actions, I

                     believe his choices were shaped by difficult circumstances and mounting pressures, rather than

                     intentional harm . If asked, I would testify to this perspective, as my view of Drummond remains



                                                                                                              Page 10 of 14




Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings     Page# 10 of 14                   Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25     Page 176 of 226




                     that of a leader caught between conflicting demands and limited by the challenges of his new

                     role.


                                                               V CONCLUSION
                     39      This affidavit uses words like Assert Rights and Immediate Rulings, but then I proceed to

                     provide more transparent view of who I am. The intentional contradiction in forcefully assertive

                     title to content is to give the Court insights to the meaning to my actions and posturing, and the

                     content has been heavily reduced and focused from the previous affidavit to demonstrate the

                     meaning of the words intention to give focus with the context they provide.

                     40      Obviously, no lawsuit was the goal, but five months into this lawsuit followed several

                     months efforts to avoid litigation and it may cost me my life. Don 't count me out quite yet

                     because I have survived death so many times that life threatening circumstances are not new to

                     me, but that is not true for everyone else and fraudulent lawsuits are perpetrated by those like

                     Ohana and M&S every day. The two Memorandums of Law outline the arguments and provide

                    justification on why and ability for the court to implementing the precedent.

                     41      The seven counterclaims are intentionally laid out to support a framework that can be

                     shaped with the court opinion. Not a morbid plea, but expression of sincerity in my intentions -

                     if the court asked me to choose between my own life and the precedent to change countless lives

                     it wouldn't be a choice it would be an opportunity. Advocating for myself feels foreign , and my

                     own harm is severe and irreparable by legal definition, but I am hoping that when this lawsuit

                     has concluded that I will be able to use relief to find a way to get back what has been taken from

                     me.




                                                                                                             Page 11 of 14



Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings     Page# 11 of 14                 Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25     Page 177 of 226




                     42      In the meantime, I will pursue additional litigation while looking for and contact former

                     victims of Ohana and M&S . Providing the financial relief that was stolen from them , and at a

                     much slower pace pursuing the AI solutions that I had big plans for.

                     43          The seven counterclaims for equitable relief are not solely about addressing past

                     grievances; they aim to correct and prevent ongoing and future harm to both me and the integrity

                     of this court. Together, these motions are structured around principles that protect, restore, and

                     enforce accountability, ensuring a just process that affirms focus on truth and transparency.

                     44      The "PREVENT" framework within the Directed Verdict outlines each action designed

                     to counterbalance the harm inflicted by the plaintiff's actions, allowing the truth of my

                     experience to emerge without distortion. Each step--Protect, Restore, Enforce, Verify, Ensure,

                     Neutralize, and Terminate-directly confronts the misconduct, bringing the case back to its core

                     meaning and purpose of achieving fairness, both in law and in equity.

                     45      It is my sincere hope that the Court will permit full transparency of the record-

                     excluding only sensitive or confidential material-to allow public access. This measure seeks not

                     just to restore my reputation, but to prevent similar abuse of process in future cases. No

                     resolution can completely undo the damage I have endured, but through the integrity and clarity

                     of an open record, I can begin to rebuild the focus and meaning of my life and career, offering

                     others the truth behind my efforts to protect and uphold what is right.

                     46      I respectfully affirm that the information provided here is true to the best of my

                     knowledge and submitted in good faith to aid the Court toward a fair and just resolution.




                                                                                                             Page 12 of 14



Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings     Page# 12 of 14                    Exhibit 107
              Case 1:24-cv-03744-BAH                Document 16-8             Filed 01/03/25      Page 178 of 226




                                                     DECLARATION OF AFFlRMATION


                     I solemnly declare and affirm under penal ties of perjury and upon personal knowledge that the

                     contents of the foregoing paper and exhibits thereto are true.



                                                                                        s/ Ryan Dillon-Capps
                                                                                        Ryan Dillon-Capps (Pro Se)
                                                                                        Email: ryan@mxt3 .com
                                                                                         1334 Maple A venue
                                                                                        Essex, Maryland 21221
                                                                                        Telephone: (703) 303-1113




                                                                                                                Page 13 of 14



Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings     Page # 13 of 14                     Exhibit 107
              Case 1:24-cv-03744-BAH               Document 16-8              Filed 01/03/25      Page 179 of 226




                                              RESPECTFULLY SUBMITTED

                     October 31, 2024                                            /s/ Ryan Dillon-Capps
                                                                                 Ryan Dillon-Capps (Pro Se)
                                                                                 Email : ryan@mxt3 .com
                                                                                 1334 Maple Avenue
                                                                                 Essex, Maryland 21221
                                                                                 Telephone: (703) 303-1113




                                                          CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that on October 31 , 2024, a copy of Amended Affidavit for Motion to Assert

                Rights and Request for Immediate Rulings via email to rbrennen@milesstockbridge.com and served

                on via first-class mail, postage prepaid on:


                             Robert S. Brennen
                             Miles & Stockbridge P.C.
                             I 00 Light Street
                             Baltimore, Maryland 21202



                                                                                 ls/Ryan Dillon-Capps
                                                                                 Ryan Dillon-Capps (Pro Se)




                                                                                                              Page 14 of 14




Amended Affidavit for Motion to Assert Rights and Request Immediate Rulings     Page # 14 of 14                 Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25   Page 180 of 226




                       OHANA GROWTH PARTNERS, LLC                              IN THE

                                                 Plaintiff,                    CIRCUIT COURT

                                vs .                                           FOR

                       RYAN DILLON-CAPPS                                       BALTIMORE COUNTY

                                                 Defendant.                    CASE NO: C-03-CV-24-002264


                                   AFFIDAVIT OF UNAUTHORIZED CONTRACTUAL MODIFICATIONS

                 I, Ryan Dillon-Capps, being over the age of eighteen (18) and competent to testify, and having

                 personal knowledge of the facts contained herein, state as follows :

                              I, Ryan Dillon-Capps, formally object to the use of the employment contract submitted

                     by Ohana Growth Partners, LLC in the present litigation. The contract presented to the court is

                     incomplete and raises significant concerns regarding the integrity of their submission. Upon

                     filing this lawsuit, Ohana had two options: either rely on the official copy of the contract saved in

                     their system or attempt to retrieve the original version that was provided to me. They opted for

                     the former. However, this decision is fundamentally flawed for the following reasons :

                              l.       The Contract is a Digital File with Missing Content

                              Given that the document in question is digitally stored, the only plausible explanation for

                              the missing section is that someone deliberately removed the content. This raises serious

                              concerns of document manipulation, suggesting the intentional alteration of evidence

                              submitted to the court.

                              2.       Ohana Growth Partners and Miles & Stockbridge 's Lack of Honesty

                              Both Ohana Growth Partners and their legal representatives, Miles & Stockbridge, have
                                                                                                              Page 1 of 36



Affidavit of Unauthorized Contractual Modifications           Page# 1 of36                                     Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8       Filed 01/03/25     Page 181 of 226




                              consistently demonstrated a lack of honesty throughout these proceedings. Their prior

                              conduct undermines any presumption of good faith in submitting this incomplete contract

                              to the court.

                              3.       Documented Communications on Employment Contracts

                              Upon review of internal communications, I have found that discussions surrounding the

                              execution of employment contracts involve Richard Hartman "fixing" issues with already

                              signed agreements. The context of these communications does not indicate efforts to

                              present or execute a new contract in those situations, and I conclude that at some point

                              my saved contract was not a match for the original contract which is why they removed

                              the evidence on June 14, 2024.

                              4.       Essential Terms Missing

                              Despite Miles & Stockbridge's arguments that essential terms about compensation are not

                              important. I am unsure if anyone else would agree that the cost of something is not

                              essential. Without an accurate representation of the cost of labor and other compensation-

                              related terms, the contract remains incomplete and insufficient.

                              5.       Section I is Not Reflective of June 13 Employment

                              The role or position I held on June 13, 2024, is not clearly defined by or enforceable

                              under the terms outlined in Section I of the document they presented. The nature of my

                              duties and responsibilities at that time does not align with the incomplete contract they

                              have submitted.

                              I PREVENTING FURTHER JUDICIAL ABUSE TO DESTROY EVIDENCE



                                                                                                              Page 2 of36



Affidavit of Unauthorized Contractual Modifications        Page# 2 of36                                         Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8       Filed 01/03/25      Page 182 of 226




                     2        Out of an abundance of caution, I have had to limit my own access to evidence that is

                     necessary for future litigation because T feared they would attempt to forcibl y obtain under false

                     pretenses. Instead, I have focused on leveraging their own arguments against them, but they have

                     failed to present a valid argument on their use of a partial contract. This case is reaching the

                     final arguments, and I do not wish to waste time addressing a moot point that they raise to further

                     delay relief.

                     3        Despite my repeated attempts to negotiate a comprehensive resolution to all issues and

                     avoid further litigation and investigations, Miles & Stockbridge has instead chosen to retaliate.

                     They have done so in response to being reported for their misconduct, using baseless accusations

                     and personal insults aimed at my gender and disability. Even mocking the very memory issue,

                     they caused while ironically do the same thing in repeating themselves . Except I am repeating

                     facts and evidence that disproves their continued reliance on fabricated claims that only further

                     demonstrate their bad faith.

                     4        They treat their fraudulent conduct and sanctionable behavior as something to boast

                     about, while the lawsuit itself lacks any fundamental basis for relief or a justifiable reason for

                     being filed against me. Moreover, the case fails to address their violations of the Family and

                     Medical Leave Act (FMLA) and the Americans with Disabilities Act (ADA). I remind those

                     reviewing this affidavit that I was on FMLA leave on June 13 , 2024- a fact that Richard

                     Hartman, Glenn Norris, and Justin Drummond were fully aware of. In fact, Richard Hartman

                     has admitted that the suspension and subsequent lawsuit were, in part, a reaction to one of the

                     three emails sent that day:




                                                                                                               Page 3 of36



Affidavit of Unauthorized Contractual Modifications        Page# 3 of36                                         Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8       Filed 01/03/25      Page 183 of 226




                              1.      The FMLA Leave Notice: At 7:00 AM on June 13, I formally notified the

                              relevant parties that I was using FMLA leave.

                              2.      Cease and Desist to Assert FMLA Rights: Around noon on the same day, I sent

                              a cease-and-desist letter to assert my right to take FMLA leave without interference. This

                              letter included an update, clarifying that I had not refused any requests and had already

                              taken steps to comply where possible.

                              3.       Email to Ohana Ownership: At 2:05 PM, I sent an email to the owners of Ohana

                              Growth Partners, urging them to intervene and halt Richard Hartman and Glenn Norris

                              before they could incur any further liability for the company. Fifteen minutes later,

                              Darren Koritzka was placed on a leave of absence by Richard Hartman, and I was

                              suspended seven hours after that. The following day, this fraudulent lawsuit was filed.

                                                      II AFFIDAVIT OF RANDLL ROMES
                     5        On June 18, 2024, I submitted a letter to Judge Troffer, along with roughly 70 more

                     pages of evidence showing my FMLA, ADA status, contradictions to the claims of refusal, and

                     multiple instances discussing PCI DSS v4 requirements . How, then, does Randall Romes

                     affirm in his affidavit: "I have reviewed Defendant Ryan Dillon-Capps ' letter to the Court dated

                     June 18, 2024," and still conclude that "Defendant Dillon-Capps has not identified any specific

                     PCI DSS requirement"?

                     6        There are two possible explanations for this. First, that they lied about what they read in

                     the court record. But why would someone lie about the contents of a court document when they

                     could simply disagree with the conclusions, as they did when they incorrectly affirmed that there




                                                                                                               Page 4 of36



Affidavit of Unauthorized Contractual Modifications        Page# 4 of36                                         Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8       Filed 01/03/25     Page 184 of 226




                     are no laws concerning PCI compliance? (See the court record for Ajjidavil of Legal

                     Ohligations) .

                     7        Another telling aspect of this affidavit is that parts of it were written by Randall Romes,

                     and we know another significant factor about the information Romes was given . In his affidavit,

                     he states, "I have reviewed Defendant Dillon-Capps' email to attorney Robert Brennen." Given

                     that both the Judge's letter and my email to Miles & Stockbridge were sent to Miles &

                     Stockbridge, who here believes that Ohana Growth Partners hired Randall Romes , gave him

                     these materials, and then submitted his affidavit to Miles & Stockbridge without his

                     knowledge?

                     8        Now consider the following: after you read Miles & Stockbridge telling Ms. Prinkey,

                     "For some reason, when we created the combined PDF I sent you a moment ago, Mr. Romes' e-

                     signature was removed from his affidavit. Attached are the documents as filed with the signed

                     affidavit." Is this just another "mistake," or something more deliberate?

                     9        Who here questions how copy-pasted content can use the exact same quote and hyperlink

                     that leads to the wrong Microsoft page? This link leads to a solution for small businesses, which

                     is vastly different from the technology Ohana Growth Partners actually uses. Wouldn ' t an IT

                     professional-like Randall Romes-know that the page leads to the wrong technology? The

                     difference in scale between the small business solution and the enterprise-level EntraID and

                     other expensive components needed to manage an environment for 1,500 employees across five

                     states and Washington, DC is striking. This discrepancy should have been obvious.

                      10      This brings me to the one time I emailed Ms. Prinkey:




                                                                                                              Page 5 of36



Affidavit of Unauthorized Contractual Modifications        Page# 5 of36                                        Exhibit 107
               Case 1:24-cv-03744-BAH                   Document 16-8              Filed 01/03/25           Page 185 of 226




                     "@Lauren.Prinkey@mdcourts.gov, I am sorry to bother you, but could you forward me the
                     original email that Mr. Brennen is referring to in hi s email to me on the 24th? l couldn't find it
                     and wasn ' t aware you had my email address until the 24th/25 th . Also, are you able to grant me
                     access to the entire case record online? They fil ed the case with either no email address or an
                     email address J don ' t have access to. I have linked my correct email address to the case, but I
                     can' t see anything, and l feel like I am missing correspondence."
                     11       I was referring to an email from June 21, 2024, that I have no record of, which was

                     almost forcibly sent to me by Miles & Stockbridge on June 24, informing me about the TRO

                     hearing in two days. How is it that a hearing was set four days after an order was issued-

                     missing the prehearing conference and falling short of the 20-day minimum? Somehow, this is

                     deemed better than following the proper procedure?

                      12      The response to this email is:

                     "Once again this case has not been assigned to Judge Truffer. Please contact the clerk 's offi ce is
                     you need information."
                      Subject RE: [EXTERNAL] Ohana Growth Partners. LLC v. Ryan Dillon-Capps - C-0~CV-24-2264
                      From: Lauren Pmkey <Lauren.Prinkey@mdcourts.gov>
                      To: Ryan Wagner <ryan@mxt3.com>
                      Date Sent Friday, July 12, 2024 11 :10:47 AM GMT--04:00
                      Date Received: Friday, July 12. 2024 11 :10:51 AM GMT--04:00

                      Good morning,

                      Once again this case has not been assigned to Judge Troffer. Please contact the clerk's office is you need information.

                      Thank you,
                      Lauren


                      13      To be fair, Miles & Stockbridge had sent many emails to Ms. Prinkey, and in one of

                     those, they instructed the law firm to stop sending everything to Judge Truffer. However, my

                     inquiry wasn't about those emails. I was asking specifically about the email from Ms. Prinkey

                     that I dido 't receive, and I wanted to ensure that it had actually been sent to me, as I had no

                     record of it.




                                                                                                                                 Page 6 of36




Affidavit of Unauthorized Contractual Modifications              Page# 6 of36                                                      Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8       Filed 01/03/25    Page 186 of 226




                      14      Judge Troffer ruled on my Letter and Show Cause on June 21 , and then on a motion to

                     reconsider on July 5. I would like to think that perhaps Judge Troffer distanced themselves

                     from the case because they had even the slightest bit of doubt. After all, Judge Troffer

                     exclusively ruled on essentially the same packet of evidence that should have ended the case.

                     The issues surrounding my FMLA, ADA, and even the question of whether PCI compliance is

                     connected to legal obligations could have been resolved at that point. It's common sense that no

                     company, much less the entire Payment Card Industry, would incur additional expenses for no

                     reason. Moreover, it's unreasonable to assume that every merchant would voluntarily adopt such

                     complex and costly standards without any contractual or legal obligation to do so.

                      15      It doesn't take an expert to recognize this : companies are compelled to follow these

                     standards, and the Payment Card Industry must have valid reasons for enforcing them-

                     reasons that prevent companies from suing them for imposing unnecessary regulations . It's

                     common sense, and nothing more, to understand that there must be legal or contractual

                     obligations connected to PCI DSS v4 compliance. Anyone who claims otherwise is not credible

                     at face value .

                      16      That said, if the Affidavit of Legal Obligations doesn 't meet the threshold of common

                     sense, I can provide similar examples from the other 44 states. But here ' s the thing-Judge

                     Troffer and Randall Romes are not the root problem here. Even when you consider the fact that

                     Judge Troffer ruled on the motion to reconsider the continuance three days before it was even

                     submitted, accepted, and entered into the court record with all its exhibits on July 8, 2024, that is

                     not where the blame lies.




                                                                                                              Page 7 of 36



Affidavit of Unauthorized Contractual Modifications        Page# 7 of36                                         Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8       Filed 01/03/25   Page 187 of 226




                     17       So why did this happen? Why is this lawsuit still ongoing? Who is ultimately responsible

                     for all the wrongdoing and harm caused by this process? The answer points to the same two

                     parties: Miles & Stockbridge and Ohana Growth Partners.


                                                      Ill DANIEL LEVETT AFFIDAVIT
                      18      During the weeklong effort to get the Motion to Reconsider the Continuance entered,

                     the previously silent Daniel Levett of HEA suddenly broke his silence by submitting an

                     affidavit, which was paired with the show cause order seeking my incarceration. Quite a leap for

                     a lawsuit rooted in violations of FMLA, ADA, and misinterpretations of its own exhibits.

                     Notably, this occurred the day after my first attempt to submit the motion and days after two

                     hearings where four separate motions were denied without any arguments being heard.

                      19      Bold moves indeed from Miles & Stockbridge. In their rush to strike fear and intimidate

                     me, the Affidavit of Daniel Levett revealed to the Court that the very basis for injunctive

                     relief-now expanded to include a request for my incarceration- was based on a lie. In the

                     affidavit, Daniel Levett admitted that Ohana Growth Partners had other administrators, and

                     that he worked with one of them to show me that they could access the global administrator

                     account. After the affidavit was submitted, with the accompanying show cause order, Mr. Levett

                     proved beyond any doubt that Ohana Growth Partners had access to the account all along.

                     20       Additionally, Mr. Levett inadvertently admitted to Estoppel- a legal principle he likely

                     had no awareness of. However, Miles & Stockbridge certainly did, and they allowed the

                     affidavit to be submitted, perhaps in an attempt to contradict the earlier statement that Hartman

                     Executive Advisors did not want to be involved. There was no justification for being involved

                     the entire time while refusing to respond and receive access, despite numerous attempts on my


                                                                                                            Page 8 of36



Affidavit of Unauthorized Contractual Modifications        Page# 8 of36                                      Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8       Filed 01/03/25     Page 188 of 226




                     part, starting with the first email and continuing far beyond the second and final one they ever

                     sent me. June 17th is even listed on the Show Cause petition, which was the last day I had my

                     full faculties intact before my mental break hours later, leaving me with severe memory issues

                     and catatonia.

                     21       So, who is jointly responsible here? Which parties-both a law firm and a mid-market

                     franchisee-are actively trying to incarcerate a person, despite having an affidavit that literally

                     tells the court there is no need for it? The issue isn 't Judge Michael Barranco, who ruled in

                     favor of the show cause order seeking my incarceration, denied four motions without hearing

                     arguments, ruled on a contempt charge with an order containing conflicting instructions, and

                     granted the preliminary injunction, which is the core reason we are still litigating this case three

                     months after the show cause was withdrawn.

                     22       The real problem lies with the same parties who, just days ago, received notice that the

                     order granting the vacate of the default judgment had been issued- before it was even entered

                     into the system. They then spent the next two workdays filing hateful, nonsensical, and

                     fraudulent rhetoric, continuing to remind everyone how deeply dishonest and unethical they are.

                     The responsible parties are none other than Miles & Stockbridge and Ohana Growth Partners.


                                                 fV COURT RECORD ON FMLA A DADA
                     23       Everyone should review the followin g court records, with attached papers, for a full

                     understanding of the facts :

                              1.       Plaintiff's Affidavit of Richard Hartman

                              2.       Defendant's Correspondence to Judge Truffer

                              3.       Transcript of Show Cause and PI Hearing on June 26


                                                                                                               Page 9 of36



Affidavit of Unauthorized Contractual Modifications        Page# 9 of36                                         Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8        Filed 01/03/25     Page 189 of 226




                              4.      Transcript of Show Cause and PI Hearing on June 27

                              5.      Defendant's Motion to Reconsider Denial of Continuance

                     24       Relevant to this section, the following facts are established from those records:

                              1.      Richard Hartman acknowledges my FMLA status : Richard Hartman explicitly

                              admits that he knew I was on FMLA leave on June 13 .

                              2.      Undisputed FMLA leave entitlement: Neither the court, the plaintiff, nor

                              opposing counsel denies that I was entitled to FMLA leave and was on FMLA leave on

                              June 13.

                              3.      ADA accommodations acknowledged : Aside from Judge Barranco, there is no

                              individual in this case who disputes that I am disabled and qualify for ADA

                              accommodations. Ohana Growth Partners themselves provided these accommodations .

                              The FMLA paperwork, two separate Letters from health care providers, as well as

                              testimony and an affidavit from my spouse, fully support my claim.

                              4.       Ohana's stance on FMLA violations: Ohana Growth Partners does not deny my

                              entitlement to FMLA leave, nor do they deny that they violated it. In fact, their argument

                              hinges on the premise that they have the right to violate it.

                              5.       Federal Government's stance: The Federal government disagrees with Ohana

                              Growth Partners' position.


                                                             LEGAL CITATIONS :




                                                                                                              Page 10 of36



Affidavit of Unauthorized Contractual Modifications        Page# 10 of36                                          Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8         Filed 01/03/25   Page 190 of 226




                     25       Family and Medical Leave Act (FMLA) - 29 U.S.C. § 2615(a)(l): This section of the

                     FMLA makes it unlawful for an employer to interfere with , restrain , or deny the exercise of, or

                     the attempt to exercise, any right provided under the FMLA.

                     26       29 U.S.C. § 2615(a)(2): This section of the FMLA further prohibits employers from

                     retaliating against an employee for opposing any practice made unlawful under the FMLA .

                     27       Americans with Disabilities Act (ADA) - 42 U.S.C. § 12112(b)(5): This provision

                     requires that employers provide reasonable accommodations to qualified individuals with

                     disabilities, unless doing so would cause undue hardship to the employer. FMLA leave may

                     serve as an ADA accommodation.

                     28       29 C.F.R. § 825.220(b): This section of the Code of Federal Regulations specifically

                     states that employers are prohibited from interfering with an employee's FMLA rights .

                     Interference includes not only refusing to authorize FMLA leave but also discouraging an

                     employee from using such leave.

                     29       29 C.F.R. § 825.220(c): Retaliation is expressly prohibited under the FMLA, and adverse

                     actions taken against employees for exercising their rights under the FMLA are illegal.

                     30       Ragsdale v. Wolverine World Wide, Inc., 535 U.S. 81, 89 (2002) : This Supreme Court

                     case reaffirms that employers cannot interfere with or violate the rights guaranteed to employees

                     under the FMLA.


                                                            LEGAL ARGUMENT:

                     31       The FMLA explicitly protects employees from retaliation and interference in relation to

                     their exercise of FMLA leave. Ohana Growth Partners ' actions, as demonstrated by the facts in


                                                                                                           Page 11 of36



Affidavit of Unauthorized Contractual Modifications        Page # 11 of36                                      Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8        Filed 01/03/25   Page 191 of 226




                     this case, clearly constitute a violation of these protections. The evidence presented, including

                     Richard Hartman ' s acknowledgment that l was on FMLA leave and the absence of any denial

                     from the court or opposing counsel regarding my FMLA eligibility, solidifies the argument that

                     Ohana Growth Partners unlawfully interfered with my rights.

                     32       Their argument that they have the "right" to violate my FMLA leave is not only legally

                     baseless but directly contravenes 29 U.S.C. § 2615 and 29 C.F.R. § 825.220, which strictly

                     prohibit any form of interference or retaliation regarding the exercise of FMLA rights. The law

                     provides no leeway for employers to violate these statutory protections, and Ohana Growth

                     Partners' position would open the door to exactly the kind of abuse that FMLA was designed to

                     prevent.

                     33       Additionally, their actions also implicate the ADA, under which I am entitled to

                     reasonable accommodations for my disability. Ohana's conduct not only violated my FMLA

                     rights but also interfered with my legally protected ADA accommodations, as FMLA leave was

                     granted to accommodate my disability. Under 42 U.S.C. § 12112(b)(5), Ohana Growth Partners

                     had a duty to continue providing these accommodations rather than retaliating by filing a lawsuit

                     and suspending me.


                                                       FMLA AND ADA CO CLUSION

                     34       Ohana Growth Partners' claim that they have the right to violate FMLA law is legally

                     indefensible. Their actions, from suspending me while I was on leave to subsequently filing this

                     retaliatory lawsuit, demonstrate clear interference with my FMLA rights and retaliation in

                     violation of federal law. The Federal government, through its clear statutory provisions and


                                                                                                            Page 12 of 36



Affidavit of Unauthorized Contractual Modifications        Page# 12 of36                                         Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25   Page 192 of 226




                     judicial precedent, has unequivocally rejected such employer misconduct, as demonstrated in

                     cases like Ragsdale v. Wolverine World Wide.

                                               V JUNE 26TH MOTIONS ON FMLA AND ADA
                     35       Please see the Transcript of Show Cause and PI Hearing on June 26 for a full

                     understanding of the facts. During the June 26th hearing, I was not permitted to present critical

                     arguments related to my rights under the Family and Medical Leave Act (FMLA) and the

                     Americans with Disabilities Act (ADA) . This denial significantly prejudiced my defense, as the

                     facts and legal basis supporting my entitlement to FMLA leave and ADA accommodations were

                     central to my case.


                                              FMLA ENTITLEMENT AND INTERFERENCE:

                     36       I was on valid FMLA leave on June 13th, a fact that had been acknowledged by Richard

                     Hartman and was not contested by opposing counsel. Under 29 U.S.C. § 2615 and 29 C.F.R. §

                     825.220, I had the right to be free from interference and retaliation while on FMLA leave.

                     However, despite this, I was denied the opportunity to argue that the suspension and lawsuit filed

                     by Ohana Growth Partners were retaliatory actions taken in direct violation of the FMLA.


                                            ADA PROTECTIONS AND ACCOMMODATIONS:

                     37       My status as a disabled individual entitled to accommodations under the ADA was also

                     not contested by Ohana Growth Partners. The accommodations I was receiving, including FMLA

                     leave, were documented and supported by medical records and testimony. 42 U.S.C. §

                     12112(b)(5) requires employers to provide reasonable accommodations, and Ohana Growth



                                                                                                          Page 13 of36



Affidavit of Unauthorized Contractual Modifications        Page # 13 of 36                                   Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8         Filed 01/03/25   Page 193 of 226




                     Partners had been doing so prior to their retaliatory actions. Yet, the court did not allow me to

                     raise the argument that their conduct violated the ADA , further infringing on my ri ghts.


                                                         PREJUDICE TO DEFENSE :


                     38       The inability to present these arguments undermined my ability to full y defend against

                     the claims brought by Ohana Growth Partners. By denying me the opportunity to address these

                     crucial legal issues, the court prevented the consideration of substantial and legally sound

                     defenses that directly challenged the legitimacy of the lawsuit filed against me. Both the FMLA

                     and ADA provide critical protections against retaliatory actions, and the exclusion of these

                     arguments during the June 26th hearing deprived me of a fair opportunity to assert my rights

                     under federal law.


                                                            LEGAL PRECEDENT


                     39       Courts have long held that employees are entitled to present evidence and arguments

                     related to their statutory rights under both the FMLA and ADA. The failure to allow me to

                     present these arguments constitutes a violation of due process and contradicts established legal

                     principles, as seen in cases such as Ragsdale v. Wolverine World Wide, Inc., 535 U.S. 81

                     (2002) (recognizing the right to FMLA leave and the protections against interference) and

                     Barnett v. U.S. Air, Inc., 535 U.S. 391 (2002) (upholding ADA accommodation rights) .

                                            VI UNLAWFUL NATURE OF THEIR REQUESTS :
                     40       For a complete set of facts, please see the court record for the Affidavit of Legal

                     Obligations.



                                                                                                             Page 14 of36



Affidavit of Unauthorized Contractual Modifications        Page # 14 of36                                       Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8        Filed 01/03/25    Page 194 of 226




                     41       Not only did I not refuse their demands, but the unlawful nature of those requests has

                     been clearly demonstrated through clean copies of contracts and a meticulous breakdown of

                     applicable statutes and contractual requirements. This thorough analysis eliminates any doubt

                     about the illegal nature of their actions. These were not lawful orders; rather, they were coercive

                     threats aimed at compelling me to violate more than a dozen contracts as well as the law.

                     42       When their coercive tactics failed-because I provided legal and compliant alternatives-

                     they resorted to evasion and committed estoppel, thereby perpetuating a false narrative. This

                     fabricated narrative has been used repeatedly in their filings, including affidavits, memoranda of

                     law, complaints, petitions for show cause, and their requests for default orders and incarceration.

                                      VII NO EVIDENCE - ONLY LLES AND MANIPULATIO S
                     43       Upon review of the substantial body of evidence presented, the only conclusion is that the

                     plaintiffs have actively engaged in lying and manipulation throughout this fraudulent lawsuit. I

                     have already requested a hearing, and if necessary, I am prepared to dissect each statement they

                     have made, piece by piece, to demonstrate the extent of their falsehoods. However, I am

                     concerned that the court may not schedule this urgent hearing in time to prevent the permanent

                     irreparable harm that I have been warning about for weeks.

                     44       To evade accountability, Ohana Growth Partners, needs to achieve the following

                     conditions:

                              1.       Infiltrate and control the system: Ensure that only those individuals they trust

                              are in positions of authority, without any opposition or oversight that might challenge

                              their actions.




                                                                                                             Page 15 of36



Affidavit of Unauthorized Contractual Modifications        Page# 15 of36                                       Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8        Filed 01/03/25     Page 195 of 226




                              2.      Manipulate discovery: Lay the groundwork for discovery in such a way that they

                              can "discover" the issues they need to address or, preferably, hope that T obstruct the

                              process, giving them grounds to argue obstruction and nullify the evidence.

                              3.      Delete or alter evidence: Modify or eliminate any evidence necessary to align

                              their fabricated version of events with a combination of real and fabricated evidence, or

                              to create an incident that they claim was someone else 's fault. Like from a lawsuit that

                              portrays someone as a harmful risk to the exact thing that need to "protect"

                     45       I remind the court that in November, the first immutable lock protecting the oldest

                     backup of data within their system will expire. This lock, which prevents the deletion of critical

                     data through normal means, was a protection I implemented after discovering that the weaker

                     soft immutability setting had been disabled. Soft immutability prevents accidental deletion, but it

                     can be removed, allowing intentional deletion after a brief buffer period. Fortunately, the buffer

                     had not expired for the November 2023 backups when I intervened to prevent any further

                     tampering.

                     46       Although this system is not foolproof, they have already taken steps to remove key

                     personnel who were aware of the changes I made under the guise of a "departmental

                     reorganization." They knew my primary condition during negotiations was to protect individuals

                     like Darren Koritzka, Ann Pinera, and Cielo IT from unfair retaliation. This was an acceptable

                     condition to them because their ultimate goal was to remove anyone who might know what data

                     they had versus what data they have now.

                     47       Context is crucial- They never had any valid context to suggest I would harm them,

                     their systems, or their data, because there is none . In reality, I was the only one actively


                                                                                                               Page 16 of36



Affidavit of Unauthorized Contractual Modifications        Page# 16 of36                                         Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8        Filed 01/03/25        Page 196 of 226




                     protecting the systems and data, and I did so to protect innocent people from being unfairly

                     targeted. Every action I have taken was to safeguard the company and its employees. I never

                     once acted for my own benefit. (See Section "Philosophy on Mistakes, Victims, and Malice").

                     48       It is vital for the court to understand the broader context of their actions , as this is not a

                     case of misunderstanding or accidental events. The narrative they presented is not only fal se and

                     fraudulent but serves as a cover story to distract from serious, criminal behavior.

                     49       If I had exposed the full truth from day one, the contrast between reality and their fal se

                     narrative would have been so stark that it could have caused more harm than good in the long

                     run. It would have given them the opportunity to attack, using their influence and fa vor with the

                     court to reinforce their fabricated story. Considering where I was mentally and physically in

                     June, July, and August, such an outcome would have been irreparable.

                     50       I continue to struggle to expose the truth, using their own emails, communications, and

                     evidence to reveal the reality of their actions . However, time is not on my side in this lawsuit. I

                     must use the time I have while the events are still fresh in my memory to document everything

                     and ensure that the context is preserved. It will not be long before Miles & Stockbridge will be

                     required to produce substantive evidence to justify over four months of litigation. When they fail

                     to do so, those who previously gave them the benefit of the doubt will have enough evidence to

                     finally adjudicate the issues that this lawsuit was designed to conceal and shield from

                     accountability.


                                                         VIII HARTMAN THE LIAR
                     51       While I am uncertain about which contract they have saved as the official one, what is

                     clear to me is that Richard Hartman has consistently failed to demonstrate honesty or reliability


                                                                                                                  Page 17 of 36



Affidavit of Unauthorized Contractual Modifications        Page# 17 of36                                             Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8        Filed 01/03/25   Page 197 of 226




                     in his dealings with me. When I filed a formal hostile work environment and discrimination

                     complaint with him in November, he falsel y claimed to have no knowledge of the years of

                     complaints I had submitted to Glenn Norris, the meetings where inappropriate conduct was

                     discussed, the formal reprimands that were issued, or even the incident reported by an executive

                     from another company concerning how I was treated during a meeting they attended.

                     52       Initially, I gave Hartman the benefit of the doubt and believed him . However,

                     immediately after our phone call, he sent an email to two of the individuals I had reported in my

                     complaint, falsely stating that I had also reported Glenn Norris and Justin Drummond-

                     individuals I had not mentioned as part of that report. I became aware of this deceit the same day

                     during a meeting with Glenn Norris. While sharing screens, Norris inadvertently revealed the

                     email, confirming that Hartman had lied about my statements. I had approached Hartman with

                     the same goodwill I extended to Norris and others, allowing them the opportunity to present any

                     evidence that their actions had not been malicious . (See Section "Philosophy on Mistakes,

                      Victims, and Ma lice ").


                              DISCREPANCY IN STATEMENTS AND HARTMAN'S DISMISSAL OF

                                                              INVESTIGATIONS

                     53       I say "tomato" and Miles & Stockbridge says "banana"- a metaphor for the vast

                     discrepancy between my factual assertions and their attempts to dismiss or deflect. They cannot

                     explain how I know what I know, but they certainly do not like the information I possess. As a

                     result, they resort to labeling my statements as mere "ramblings." I will keep this point brief In

                     June, Richard Hartman responded to a call from Holly Butler by notifying me that the fraud


                                                                                                            Page 18 of36



Affidavit of Unauthorized Contractual Modifications        Page# 18 of36                                       Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8        Filed 01/03/25    Page 198 of 226




                     investigation had concluded. This mirrored the circumstances in which the HR investigation was

                     abruptly ended in March, both instances leaving significant questions unanswered.


                                       FLAWED INVESTIGATIONS AND IGNORED EVIDENCE


                     54       I double-checked and verified that nothing necessary for conducting a proper

                     investigation was accessed during either the HR or fraud investigations. No one spoke to the

                     executive who made the original report-a crucial factor, as that report was the key event that

                     prompted HR to open the investigation in the first place. Yet, Richard Hartman falsely claimed

                     to have no knowledge of the incident. The notice that ended the HR investigation contained

                     ambiguous language, which could be interpreted by Glenn Norris, Justin Drummond, and

                     myself as confirming that the email, letter, and phone call I used to report the incident all

                     contained the same facts .


                                                  ADDRESSING THE FALSE NARRATIVE


                     55       In response to these investigations, I revealed to Drummond and Norris that I had long

                     been aware of the false statements made in November 2023 , where they were wrongly told that I

                     had reported them. I addressed the suspicious language in the investigation ' s closing notice and

                     pointed out the illogical nature of what had been communicated to them. While this was the first

                     time I brought Hartman ' s dishonesty to the attention of more than just Glenn Norris, it certainly

                     wasn' t the first time I had observed Hartman's habit of dishonesty. In fact, his tendency to lie is

                     so frequent that it may qualify as compulsive behavior. Often, l wondered why he would lie

                     about matters that appeared to hold no real value or benefit to him or anyone else. However,

                     upon reflection, I now believe this is rooted in his deep-seated belief that he is an outsider. This

                                                                                                              Page 19 of 36



Affidavit of Unauthorized Contractual Modifications        Page# 19 of36                                        Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25   Page 199 of 226




                     belief is evident in various aspects of his life-such as his decision to move to Japan to reconnect

                     with his genetic heritage-and continues to influence his actions at Ohana Growth Partners,

                     where he seeks to protect and align himself with those he believes "accept him as one of their

                     own."

                                            IX MISSING TERMS AND BINDING PRINCIPLES
                     56       They deliberately acted to conceal the content they wanted removed from the

                     employment contract they saved in their records. On June 14, 2024, they intentionally omitted

                     key content from the contract to hide information that can be explained by their prior actions and

                     internal communications. These emails reflect a clear pattern of dishonesty in how they handled

                     terms they didn't want included in the contract.

                     57       As future litigation unfolds in the lawsuit where I am the plaintiff, I will present evidence

                     showing their intentional concealment of essential terms, partial performance, and a lack of good

                     faith and fair dealings-all of which pertain to the employment contract they failed to fully

                     disclose. The missing contract relates directly to the promotion they promised but did not fulfill.

                     Below are some of the legal arguments that support my claim regarding the incomplete contract:

                     58       Maryland Uniform Commercial Code (UCC) § 2-204(3): This section states that "even

                     though one or more terms are left open, a contract for the sale of goods does not fail for

                     indefiniteness if the parties have intended to make a contract and there is a reasonably certain

                     basis for giving an appropriate remedy ."

                     59       Hammond v. Int'l Harvester Co., 99 Md. App. 1 (1994): The court in this case ruled

                     that a contract may be formed even if some terms are left for future determination, provided the

                     parties intended to be bound and the essential terms are agreed upon.


                                                                                                              Page 20 of36



Affidavit of Unauthorized Contractual Modifications        Page # 20 of 36                                        Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8        Filed 01/03/25       Page 200 of 226




                     60       Kiley v. First Nat'l Bank of Md., 102 Md. App. 317,349 (1994): The court held that

                     even if all terms are not finalized, a contract can still be binding if there is a clear intent to

                     contract and sufficient definiteness of terms to ascertain a remedy.

                     61       Peeling v. Virginia Iron, Coal & Coke Co., 94 Md. 4 (1901): This case recognized the

                     enforceability of a contract where material terms are sufficiently established, even if some

                     elements remain to be negotiated.

                     62       Maryland Restatement (Second) of Contracts § 33 (1981 ): This section elaborates that

                     the terms of a contract must be reasonably certain to form an enforceable contract, and a contract

                     can be enforceable even if some terms are indefinite, as long as the intent to be bound is clear.

                     63       Canaras v. Lift Truck Services, Inc., 272 Md. 337,352 (1974): The court reaffirmed

                     that missing or unclear terms do not necessarily void a contract if the essential elements of the

                     contract are present and the parties' intent can be determined.

                     64       Everett v. Brown, 179 Md. 55 (1941): Maryland courts have held that ambiguity or

                     missing terms in a contract can be clarified by looking at the behavior of the parties and any

                     relevant extrinsic evidence.

                     65       Restatement (Second) of Contracts§ 204 (1981): This legal principle allows courts to

                     supply missing terms in a contract where the parties intended to make a binding agreement but

                     left out certain details.

                     66       I will be transparent about the purpose of this section. Either Miles & Stockbridge

                     concede that there is no valid contract- admitting that four months of litigation were nothing

                     more than fraudulent pursuits-or they continue with their weak, poorly argued position

                     regarding the incomplete contract. Should they choose the latter, they will inadvertently argue in


                                                                                                                 Page 21 of 36



Affidavit of Unauthorized Contractual Modifications        Page# 21 of36                                            Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8        Filed 01/03/25   Page 201 of 226




                     favor of the enforcement of the real employment contract, which, like the June 7th agreement

                     with Justin Drummond, was evaded and subsequently ignored by them . Their choice to persi st

                     in this manner will only further expose their duplicity and support the enforcement of the very

                     contract they are trying to avoid acknowledging.


                                X COUNTER ARGUMENT AGAlNST OHANA GROWTH PARTNERS
                     67       Miles & Stockbridge could have already employed one of several valid arguments to

                     support the use of a partial contract, referencing any combination of the fi ve key elements

                     commonly used by Maryland courts to assess contract enforceability:


                                                           INTENT TO CONTRACT

                     68       Courts will examine whether both parties intended to enter into a binding contract,

                     despite missing sections or unclear provisions. If intent to be bound can be demonstrated, the

                     contract may still be enforceable.

                     69       This principle is clearly applicable to the agreement made on June 7, 2024, between

                     Justin Drummond and myself In that instance, Drummond agreed to the terms of the contract.

                     However, Miles & Stockbridge are attempting to rely on Section I of the earlier, incomplete

                     contract to allege that I breached the agreement, which is factually and materially false . Using

                     Section I in this situation is illogical for several reasons :

                              1.       Glenn Norris and I negotiated the terms of my promotion for several months . If

                              not for my whistleblowing actions, I would have been promoted and occupying my new

                              role for nearly a year by now . The intent to be bound was evident in our negotiations, and

                              that is the contract that should be enforced.


                                                                                                            Page 22 of36



Affidavit of Unauthorized Contractual Modifications        Page# 22 of36                                       Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8        Filed 01/03/25     Page 202 of 226




                              2.       By June 13, 2024, Glenn Norris was the head ofIT. I had no authority to hire or

                              fire employees, I was explicitly told that I was no longer expected to perform TT work ,

                              and I was informed that I was not allowed to exercise my own discretion in decision-

                              making. This was not the role I was hired for, nor was it the job for which I had

                              negotiated with Norris, alongside the promised promotion.

                     70       The only valid contracts that reflect an actual intent to contract are the one I presented to

                     Justin Drummond, which was agreed to on June 7, 2024, and the intent to contract stemming

                     from the months of negotiations with Glenn Norris .

                     71       52. The contents of Section I have no relevance to the contractual obligations I held with

                     Ohana Growth Partners as of June 13, 2024. Its only significance lies in supporting future

                     litigation regarding fraud and abuse of the judicial system.


                                                             ESSENTIAL TERMS

                     72       Even if portions of the contract are missing, a contract can still be enforced if the

                     essential terms-such as price, subject matter, and the parties involved-are clear and definite

                     enough for the court to provide a remedy.

                     73       The email threads between May 20 and June 13, 2024 , illustrate several key facts :

                              1.       Not Allowed to Hire or Fire: I terminated Ryan Brooks and ended his contract

                              in May of 2024, but I was soon told that I no longer had the authority to do so. Despite

                              Glenn Norris informing me earlier that month that I was allowed to resume my duties as

                              head of IT, it became evident that this was not true. Hiring and firing within one ' s

                              department is a basic function of a department head, and Norris had no issue with my


                                                                                                               Page 23 of36



Affidavit of Unauthorized Contractual Modifications        Page# 23 of36                                          Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25   Page 203 of 226




                              plan to remove Ryan Brooks and his company, Baltimore Consulting, starting in

                              January 2024 - a decision J made in before the whistleblowing in 2023 . Instead, 1 went

                              on intermittent FMLA leave, he took over as head of IT, and kept Ryan Brooks without

                              any explanation for the change in plans. Additionally, a new Business Intelligence team

                              member was hired without my knowledge, and I only learned of their subsequent leave

                              for a wedding through an announcement. When I inquired why I was not involved in

                              these decisions the answer was clear - Glenn Norris was the head of IT.

                              2.       Not Allowed to Perform Technical Work:          orris explicitly prohibited me from

                              taking action to protect financial data or address any risks that were flagged by a member

                              of the Business Intelligence team. He did not want me performing any IT work, and when

                              it came to the financial data, he didn' t want ANYONE in the entire IT Department except

                              for Ryan Brooks to be involved. For me, this was not a new development; from the

                              moment he took over as head of IT, he insisted that I work through others. The problem

                              was that Ryan Brooks was not delivering results or completing the tasks I assigned to

                              him . After May 20, 2024, I discovered numerous issues linked to changes made while I

                              was away for my wedding. I immediately re-enabled logging, reacti vated legal holds

                              protecting the data, and secured the backups-making them immutable for the term of

                              the backup policy.

                              3.       Not allowed to work under my own discretion: Repeatedly, I requested help

                              because the department was understaffed. This had been an ongoing issue, contributing to

                              the extensive hours 1 worked. After Glenn Norris took over as head of IT, all discretion

                              in my role was removed. Even basic departmental purchases were taken out of my


                                                                                                              Page 24 of36



Affidavit of Unauthorized Contractual Modifications        Page # 24 of 36                                       Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25   Page 204 of 226




                              control, as all purchasing was routed through Leeann Hartman, Richard Hartman 's

                              wife, and Lynne Brick's sister. Projects were either taken away and managed by Norris

                              himself, or I was given no authority over them due to a lack of resources or funding.

                              4.       No Ability to Direct My Team: When I attempted to rally the team to address

                              urgent issues flagged by a team member, Norris instructed them not to follow my

                              directives. I was not the head of the department, had no ability to do technical work,

                              couldn't lead others to complete the tasks, and had no say in who was hired or fired . My

                              discretion and judgment were entirely stripped away. Glenn Norris , head of IT, even met

                              with the IT department team members regularly to ensure he knew and addressed

                              anything he didn ' t want to occur in the department. He intentionally was driving the

                              department into the ground to undo the success I have achieved.

                              5.       Compensation is Essential: Miles & Stockbridge might argue that

                              compensation is not an essential term, but that claim is patently absurd. If that were true,

                              I would owe no debts and own my home for one dollar. The annual addendums that

                              modify the terms of compensation are undeniably essential.

                     74       On June 13, 2024, I had no idea what job I was actually performing because the essential

                     terms of my employment were nowhere in the contract. While the agreement allows them to

                     change my job, there must be limits. Could they, for example, claim that my compensation is

                     zero dollars while expecting me to work every hour of every day? I exaggerate to make a point:

                     there are reasonable limits to how much they can alter the terms of employment. The drastic

                     changes they made far exceeded those limits, and the job I held bore no resemblance to the one




                                                                                                              Page 25 of36



Affidavit of Unauthorized Contractual Modifications        Page # 25 of 36                                       Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25   Page 205 of 226




                     outlined in the partial agreement, which was missing key pages and essential terms from the

                     addendums.


                                                      AMBIGUITY AND INTERPRETATION

                     75       If a contract is ambiguous or incomplete, courts may examine extrinsic evidence-such

                     as emails, negotiations, or previous dealings between the parties- to interpret the missing or

                     unclear terms. In my case, the June 7, 2024 agreement with Justin Drummond is

                     straightforward and requires no further interpretation to understand the terms and expectations.

                     However, if you examine the emails from the negotiations surrounding the 2020 agreement, you

                     will see that the terms in that contract do not align with the content of those emails. The same

                     discrepancies are evident if you review the budget spreadsheet, the compensation spreadsheet, or

                     the I 0-year refinancing distribution spreadsheet. None of these documents align with the

                     agreement being relied on by Miles & Stockbridge.

                     76       The reason Miles & Stockbridge raised questions about compensation is that they

                     understand the significance of what it entails. Their approach essentially amounts to an

                     admission that they are attempting to minimize costs. They know that if the compensation terms

                     were properly met-including the restoration of compensation in all forms- this would result in

                     hundreds of thousands of dollars in individual compensations, even without liquidation. These

                     compensations extend across multiple areas.

                     77       I included this in the relief sought because it directly reflects what was promised to me

                     and never fulfilled. This is part of a broader pattern by Ohana Growth Partners, where

                     contracts are viewed as tools for litigation when it suits their interests, but they simultaneously


                                                                                                              Page 26 of36



Affidavit of Unauthorized Contractual Modifications        Page # 26 of 36                                      Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8        Filed 01/03/25    Page 206 of 226




                     argue that contracts are irrelevant when it comes to PCI Compliance, compensation, or other

                     matters that don't serve their advantage.

                     78       To Ohana Growth Partners and Miles & Stockbridge, the law, contracts, and their

                     word are like a light switch-they flip it on when they want to claim it 's the most important

                     thing, and they turn it off when it serves them to keep things in the dark.


                                                         PARTIAL PERFORMANCE :

                     79       If one or both parties have already performed under a contract, this may demonstrate their

                     understanding and acceptance of its terms, even if some parts of the agreement are missing.

                     Partial performance reinforces the validity of the contract and can be used to enforce its

                     prov1s1ons.

                     80       Regarding the period from May 20 to June 13, the email exchanges make one thing

                     abundantly clear: I had no idea what my new role entailed. To be blunt, it seemed as though my

                     new job title was effectively the precursor to "unemployment"- by any means necessary. The

                     tasks and responsibilities assigned to me were either stripped away or made impossible to

                     perform, which speaks directly to the dysfunction and failure to properly fulfill the terms of the

                     agreement.


                                                      GOOD FAITH AND FAIR DEALING:

                     81       Under Maryland law, there is an implied duty of good faith and fair dealing in both the

                     performance and enforcement of contracts. This means that each party is obligated to act

                     honestly and fairly in carrying out their contractual obligations. If one party acts in bad faith by



                                                                                                              Page 27 of36



Affidavit of Unauthorized Contractual Modifications        Page# 27 of36                                          Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25   Page 207 of 226




                     withholding or omitting key elements of the agreement, such actions can weigh heavily in the

                     court's decision to either enforce or void the contract.

                     82       Throughout this litigation, Ohana Growth Partners and Miles & Stockbridge have

                     consistently demonstrated bad faith, through the following actions:


                     PERJURED STATEMENTS:
                              1.       Justin Drummond lied about my refusal to provide him access and falsely

                              claimed I refused to provide HEA access. He also lied about not receiving updates

                              regarding HEA on June 13, 2024.

                              2.       Richard Hartman provided false statements, including lying about the contents

                              of the hyperlink in the email chain, lying about losing access at 2:05 PM on June 13, and

                              claiming no access to personnel records, despite those being stored in Paycom, a system

                              he administers. Hartman also falsely claimed that I had refused to give access to HEA.


                     ABUSE OF THE JUDICIAL SYSTEM:
                     83       Ohana Growth Partners and Miles & Stockbridge repeatedly abused the judicial

                     system by filing a fraudulent lawsuit with fabricated claims, using the legal process not to

                     resolve disputes but to harass me . They sought to secure a Show Cause order seeking

                     incarceration, a tactic of intimidation that constituted attempted false imprisonment.


                     ENGAGEMENT OF ESTOPPEL:
                     84       On June 13, 2024, HEA, along with David Levett, Justin Drummond, and Victor

                     Brick, either refused to respond or pretended to be unaware of the facts for several hours. This

                     deliberate evasion and engagement in estoppel were clear bad faith acts aimed at manipulating

                     the legal process.

                                                                                                              Page 28 of36



Affidavit of Unauthorized Contractual Modifications        Page # 28 of 36                                      Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25   Page 208 of 226




                     VIOLATION OF ADA AND FM LA :
                     85       Ohana Growth Partners violated both the Americans with Disabilities Act (ADA) and

                     the Family and Medical Leave Act (FMLA) by failing to provide reasonable accommodations

                     and retaliating against me for exercising my rights under these laws. These actions culminated in

                     wrongful termination, in direct violation of federal protections.


                     RETALIATION AGAINST DARREN KORITZKA AND MYSELF;
                     86       Both Darren Koritzka and I faced retaliation and Koritzka did nothing and knew

                     nothing. Hartman did it because he there and he was impulsive.


                     SPOLIATION OF EVIDENCE:
                     87       In the last four months alone, there have been at least three instances of spoliation of

                     evidence, where Ohana Growth Partners intentionally destroyed, changed, or concealed

                     critical evidence. I have reason to believe that additional counts of spoliation may exist.


                     MULTIPLE BREACHES OF CONTRACT:
                     88       Ohana Growth Partners breached the June 7th agreement with Justin Drummond as

                     well as the real employment agreement that was negotiated and never fulfilled . Both contracts

                     were evaded and left unsatisfied.


                     FRAUD. IIED. AND OTHER MISCONDUCT:
                     89       Their fraudulent conduct also includes intentional infliction of emotional distress

                     (IIED), reckless endangerment, negligence, and legal malpractice. These acts were not

                     isolated incidents but part of a broader scheme to harm me and cover up their unlawful actions

                     90       Additionally, Glenn Norris, as CFO and minority owner, unilaterally took over my role,

                     stripping away my authority and responsibilities. This was not an administrative reassignment


                                                                                                              Page 29 of36



Affidavit of Unauthorized Contractual Modifications        Page # 29 of 36                                         Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25   Page 209 of 226




                     but a deliberate effort to push me out of the company, demonstrating their lack of good faith . His

                     actions, alongside Ryan Brooks, were clearly designed to undermine my what people thought

                     was still my position

                     91       Once again, the June 7th agreement with Justin Drummond and the Glenn Norris

                     agreement are the only contracts that reflect a true intent to contract in good faith. The

                     document they have attached as Exhibit IA- with its omissions and alterations- cannot be

                     considered valid or enforceable. Their consistent bad faith actions, including spoliation of

                     evidence, perjured statements, and abuse of the judicial system, have violated their duty of fair

                     dealing at every stage.

                                      XI PHILOSOPHY ON MISTAKES, VICTIMS, AND MALICE
                     92       I believe that honest mistakes and actions influenced by the deception of others present

                     opportunities for grace and empathy. This belief stems from a lifetime of experiences, many of

                     which involve events that could be described as atrocities- not just by definition but by the

                     severity and suffering they inflicted. When people think of atrocities, they often imagine mass

                     killings, torture, enslavement, or acts aimed at causing widespread destruction or extermination

                     of groups. Though I will not go into detail about those specific experiences, I have no hesitation

                     in discussing other moments in my life-moments where I was trapped in a shed set on fire as a

                     child, run over by a van at the age of 3, narrowly survived a tornado that jumped over the trailer I

                     was inside, or any of the times I was assaulted by groups of drunk U.S. soldiers or patrons from

                     my work as a bouncer. Even the times I was raped or other horrific events that, despite their

                     gravity, still don't qualify as "atrocities" compared to the scale of human suffering I' ve seen.




                                                                                                              Page 30 of36



Affidavit of Unauthorized Contractual Modifications        Page # 30 of 36                                        Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8         Filed 01/03/25   Page 210 of 226




                     93       My life has taught me the profound significance of malice. Take, for example, a

                     distracted driver who pulls into a driveway only to find a toddler crawling from under their van.

                     It is a terrifying moment for the driver. Similarly, waking up in a hospital after a night of

                     drunken recklessness and piecing together how you got there is a terrifying moment for the

                     individual. Not everyone who's actions placed another's life in danger deserve to have two lives

                     destroyed. If that is true, then the same principle must be applied universally. Malice is not just a

                     factor - it should be the factor to which we determine the severity of response.

                     94       Not even a month ago, my friend was assaulted with a pipe in her own backyard because

                     she is transgender. After recounting the incident to me, she said, "It's okay," because hate is,

                     unfortunately, not an uncommon experience for too many residents of Maryland. Robert

                     Brennen, Glenn Norris, and Richard Hartman are not the first, nor will they be the last, to

                     attack me. While some people use guns, knives, or pipes, others use lies and lawsuits as their

                     weapons of destruction. Their intent is no different, and standing by, doing nothing, in this

                     situation is no different than standing idly by while a group of men attacks a trans woman with a

                     pipe. They justify their actions just as those who commit physical violence attempt to justify

                     theirs-explaining to bystanders why they believe they are entitled to harm someone without

                     provocation or warning. The emotional toll is no less devastating because the weapon is a lawsuit

                     rather than a pipe.

                     95       Their actions demonstrate a complete lack of remorse and accountability. As I sought

                     help and reported their misconduct to the BAR, they escalated their efforts, disregarding proper

                     procedures and targeting me through legal tactics. These aren ' t defensive filings- they are

                     aggressive tactics designed to cripple my ability to defend myself and harm my career. Their


                                                                                                             Page 31 of 36



Affidavit of Unauthorized Contractual Modifications        Page # 31 of36                                       Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8          Filed 01/03/25   Page 211 of 226




                     anyone. I hope this resolution comes soon, because ongoing conflict hurts innocent bystanders-

                     something that has been clear from the beginning with Darren Koritzka .

                     99       This lawsuit is driven by their fear of exposure and hatred for what they cannot

                     understand. Glenn Norris repeatedly said, ' no one is like that,' referring to my empathy even

                     after being wronged. He couldn ' t comprehend why someone would respond with compassion

                     rather than vengeance. This same misunderstanding led them to weaponize the courtroom, much

                     like someone using a pipe to inflict physical harm. Their malicious legal fight has left me with

                     severe health issues--catatonia, memory loss, and emotional strain- that threaten my career

                     and my future . Whether I had been physically beaten or dragged through this malicious legal

                     battle, the result is the same: long-lasting harm and a fight for survival.

                      100     When people are confronted with evidence that contradicts their self-perception, most

                     reject it. It may sound counter-intuitive, but in How to Win Friemls llnd Influence People, Dale

                     Carnegie emphasizes that a fundamental aspect of human nature is the deep-rooted desire to see

                     oneself as a good person. Carnegie argues that this self-perception is so deeply rooted in the

                     human psyche that people are compelled by it without compare and it influences how individuals

                     behave, communicate, and respond to others. Throughout the book, he explores the

                     psychological need for self-justification and the lengths people go to maintain a positive self-

                     1mage.

                      101     While Carnegie's understanding of this concept is foundational, his insights illustrate a

                     key truth: people go to great lengths to preserve their self-image as ' good .' This is exactly what

                     drove Glenn Norris-he rationalized his harmful actions by assuming that no one else would

                     respond with empathy or compassion as I did. He could not accept a worldview different from


                                                                                                              Page 33 of36



Affidavit of Unauthorized Contractual Modifications        Page # 33 of 36                                       Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8          Filed 01/03/25   Page 212 of 226




                     his own, and that refusal to see beyond himself drove his decisions. As Carnegie said, ' People

                     like those who are like themselves or like the person they want to become.' Norris 's

                     rationalization led to harmful, unethical, and illegal actions, all in the name of preserving his

                     belief that he is a 'good person.' His actions have caused real harm, and that must be held

                     accountable.

                     102      As this denial grows, it contracts into hatred, which is then rationalized as an affront to

                     their sense of self. It' s almost as if they ' re thinking, "Why are you trying to trick me?" and "You

                     trying to trick me shows that you are not as you appear." This reinforces their need to preserve

                     the belief that they are inherently a good person, and they begin to hate anything or anyone that

                     threatens this self-perception.

                     103      After I returned from my wedding, I noticed this exact process playing out in Glenn

                     Norris. His self-identity was firmly constructed around his need to rationalize, and each

                     interaction thereafter only reinforced that need. By the time I presented a solution to provide

                     Justin Drummond with the access he requested on June 7, 2024, Norris was so entrenched in

                     this mindset that, despite Drummond agreeing to the terms, Norris likely rejected it

                     immediately. When Drummond's actions mirrored those from March, evading responsibility

                     and failing to deliver, I should have recognized that Drummond wasn 't capable of standing up to

                     Norris-even if it meant perjuring himself on June 14, 2024.

                      104     Justin Drummond's harmful and illegal actions are undeniable, supported by clear

                     evidence throughout the case. However, unlike Robert Brennen, Glenn Norris, and Richard

                     Hartman, whose malicious intent is evident, Drummond appears to have been influenced by

                     others-perhaps due to his position or pressure from those in more powerful roles. Brennen ,


                                                                                                               Page 34 of36



Affidavit of Unauthorized Contractual Modifications        Page # 34 of 36                                       Exhibit 107
      •
               Case 1:24-cv-03744-BAH                 Document 16-8        Filed 01/03/25   Page 213 of 226




                     Norris, and Hartman acted independently, fully aware of the harm they were causing and with

                     deliberate malice in their decisions.




                                                      DECLARATION OF AFFIRMATION

                     I solemnly declare and affirm under penal ties of perjury and upon personal knowledge that the
                     contents of the foregoing paper and exhibits thereto are true.


                     October 17, 2024                                               s/ Ryan Dillon-Capps
                                                                                    Ryan Dillon-Capps (Pro Se)
                                                                                    Email: ryan@mxt3 .com
                                                                                    1334 Maple A venue
                                                                                    Essex, Mary land 21221
                                                                                    Telephone: (703) 303-1113




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Affidavit of Unauthorized Contractual Modifications        Page# 35 of36                                     Exhibit 107
              Case 1:24-cv-03744-BAH                  Document 16-8          Filed 01/03/25    Page 214 of 226




                                               RESPECTFULLY SUBMITTED
                     October 17, 2024                                           /s/ Ryan Dillon-Capps
                                                                                Ryan Dillon-Capps (Pro Se)
                                                                                Email: ryan@mxt3.com
                                                                                1334 Maple Avenue
                                                                                Essex, Maryland 21221
                                                                                Telephone: (703) 303-1113




                                                          CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that on October 17, 2024, a copy of Affidavit of Unauthorized Contractual

                 Modifications via email to rbrennen@milesstockbridge.com and served on via first-class mail,

                 postage prepaid on:



                              Robert S. Brennen
                              Miles & Stockbridge P.C.
                              100 Light Street
                              Baltimore, Mary land 21202



                                                                               ls/Ryan Dillon-Capps
                                                                               Ryan Dillon-Capps (Pro Se)




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Affidavit of Unauthorized Contractual Modifications        Page # 36 of 36                                     Exhibit 107
               Case 1:24-cv-03744-BAH                 Document 16-8        Filed 01/03/25       Page 215 of 226




                       OHANA GROWTH PARTNERS, LLC                             IN THE

                                                  Plaintiff,                  CIRCUIT COURT

                                vs.                                           FOR

                       RYAN DILLON-CAPPS                                      BALTIMORE COUNTY

                                                  Defendant.                  CASE NO: C-03-CV-24-002264



                                                               Exhibit B
                                                       Summary of Comments
                                                                 For Plaintiffs




                                                                Complaint




                                      Amended Affidavit of Plaintiffs Abusive Use of the Judicial System
Amended Affidavit of Plaintiff's Abusive Use of the Judicial System     Page# 1 of 12                         Exhibit 107
Exhibit B - Complaint Markedup
~>                                                 Case 1:24-cv-03744-BAH                                      Document 16-8         Filed 01/03/25                          Page 216 of 226
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               RYAN DILLON-CAPPS                                  FI LE NO.: C-03-CV-24-002264                                                                                                                                                                    Ill
      cu,                                                                                                                          No Breach of Duty

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               1334 Maple Avenue
               Essex, Maryland 21221
                                                                                                                                   My co nduct throughout this situation has been comme ndable and beyond reproach. I consistently upheld the                       e
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                                                                                                                                   compa ny's contract ual obligations and legal duties to both contract holders and co nsumers. I diligently sought
                                                                                                                                   solutions that were legally compliant and did not viola te any co ntrac tual agreemen ts. My actions ensured that the           ~
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      g.                              Defendant.                                                                                   compa ny's obligations were met while adhering to all relevant legal and co ntractual standards.                               VJ
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      Q.                                                  COMPLA I NT                                                                                                                                                                                             ~
      n·                                                                                                                           On June 7, 2024, after Glenn Norri s rejected all previously proposed solutions, I presented a comprehensive solution
                                                                                                                                                                                                                                                                  ....::,
      §:               Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff'' or the "Ohana"), by i.
                                                                                                                                   to Justin Drummond. He initially accepted this proposal but then failed to fo llow through, evading satisfaction of
                                                                                                                                                                                                                                                                    0

      ~        counsel, hereby sues Defendant, Ryan Dillon-Capps ("Defendant" or "D'
                                                                                                                                   the agreement on June 10th and 11th. The written accord was subsequen tly breached on June 13, 2024.
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                                                                                                                                   Oeslgnees - Hartman Executive Advisors (HEA):                                                                                    0
                                                                                                                                   HEA engaged in es toppel by ignoring my many emails trying to reach them so I cou ld give them access. On June 13,               0
               as follows.                                                                                                         2024, Justin Drummond request ed updates, which I provided via text messages and forwarded emails. In those                     "'
                                                                                                                                                                                                                                                                  ::i
                                                                                                                                   commun ications, I specifically asked Drummond fo r assistance in contacting HEA, who had become unresponsive.                   0
                                                                                                                                   Despite my efforts to engage HEA and involve them in the resolution, as demonstrated in the text message                         ~
                                                                                                                                   exchanges, they have never responded to my outreach.                                                                           ·;;;
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                                                                                                                                   I t erminated Ryan Brooks's access and subsequently discovered significant security breaches. After his
                                                                                                                                   termination, I found th at during my absence-while I was attending my weddi ng-he had used his access to
                                                                                                                                                                                                                                                                  ~
                                                                                                                                   disable critical safeguard s: he removed logging, bypassed backup security measures, and disabled legal holds.
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      N                                                                                                                                                                                                                                                           ·.;;
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      0                                                                                                                            These actions created a substantial risk to the integrity of the systems.
               officers and designees, Instead, Defendant has eliminated all Global Administrator rights other                                                                                                                                                    0::
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      N        than those Defendant possesses, and through which Defendant currently exercises complete

               control over those systems and registrations-. Because, in addition to constituting breaches of
                                                                                                                                   Importan tly, no other individual's access wa s removed . In fact, I worked actively to expand access to the Help
                                                                                                                                   Desk and other key personnel to ensure comprehensive administrative oversight.

                                                                                                                                   Reg istrati ons/GoOaddy/ Domain Registrar
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                                                                                                                                   During this period, no requests for access to the GoDaddy account we re made. To the best of my recollection, I                l:E
               Defendant's duties to Plaintiff, Defendant's actions Cleat, a s~h•••otial risk to Plaintiff's                       did not access the GoOaddy accoun t at any point w ithin thi s timeframe.                                                      <
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                                                                            ,~ -~---.---.-.-l!n8 Defendant
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                                                                                                                                   Autho r: Ryan Dillon-Capps          Subject: Comment on Text         Date: 10/26/2024 9:09:49 PM                               1s
                                                                                                                                                                                                                                                                  -0
                                                                                                                                   As stated previously, the only genuine risk originated from Ryan Brooks, whom I b"e!le"v"e-Wi:ls-.3Ctillg under Glenn           s:::
                                                                                                                                   Norris's directives throughout the entire year. Contrary to the Plaintiff's assertions, I took proactive measures to protect    0
                                                                                                                                   critical information: l re-enabled logging, expanded it s coverage, reinstated legal holds, and implemented necessary           E
                                                                                                                                   safeguards, making them immutable.                                                                                             <


                                                                                                                                Comments from page 1 continued on next page

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              Summary_ Complaint-00 I_ of_ 11
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                                                     Case 1:24-cv-03744-BAH                                         Document 16-8             Filed 01/03/25                           Page 217 of 226
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                                                                                            E-FILED; Baltimore County Cln:ult Court
"O     e!
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                                                                      Docket: 6/141202412:18 PM ; Submission: 6/14/202412:18 PM
~::..·
s· o                                                                                                        Envelope: 16844363              NOTICE THI S CRITICAL MESSAGE AS TIME IS RUNNING OUT-In November, t hese immutable safeguards are se t to
                                                                                                                                            expire. The recent delay tactics, includ ing the voluntary wi t hdrawal, may be an effort to avoid scrutiny and allow these
~~                OHANA GROWT H PARTNERS, LLC
                                                                                                                                            safeg uards to expire, leading to the potential loss of critical information.
el:,;- ::sel.                                                        IN THE
                  212 West Padonia Road                                                                                                     Whether or not the cou rt acts to preserve this evidence is no longer my concern. I have fu lfi lled my responsibilities and
(11    0-.        Timonium, Maryland 21093                                                                                                  issued this warn ing multiple times. Any decision t he cou rt makes from t his point forward will work to my advantage, as
p.     ::;i                                                          CrRCUlT COURT
                                                                                                                                            I am prepared for ei ther outcome. However, if t he co urt intends to prevent spoliation of evidence, t he window of
.g "'                                                                                                                                       opportu ni ty is rapidly closi ng. Only a few days remain, and I will not file a motion for a special master under the current       co
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                                        Plaintiff,                   FOR
                                                                                                                                            circumstances. If any action is to be taken, it must be initiated through the court's discret ionary authority.                      ....
       i::                                                                                                                                                                                                                                                                       :.0
       "':;::·    vs.                                                BALTlMORE COUNTY                                                       Author: Ryan Dillon-Capps
                                                                                                                                            No Refusal;
                                                                                                                                                                          Subject: Comment on Text       Date: 10/26/2024 9:08:42 PM                                             :a
                                                                                                                                                                                                                                                                                  >(
       (1)
                  RYAN DILLON-CAPPS                                  FILE NO.: C-03-CV-24-002264                                            Req uested Drummond Ass istance Reaching HEA;                                                                                        w
       c:::
       "'
       (1)
                  1334 Maple Avenue
                  Essex, Mruy land 21221
                                                                                                                                            Drummond Evaded Receiving Access the days leading up to the 13th.
                                                                                                                                                                                                                                                                                  a
       ...,
       0                                                                                                                                    The injunctive order references Phil Leadore, even though Daniel levett's affidavit clearly states that he had been                  ~>,
                                        Defendant.                                                                                          involved from the beginning. This raises a critical question: what happened to Phil Leadore, and why didn't he au t hor              rJJ
       S-
       n,                                                                                                                                   the affidavi t himself? Leadore was t he one who sen t the meeting invite and communica ted with me, indica ting that
                                                                                                                                                                                                                                                                                 ";j
       .....                                                                                                                                Glenn Norris wou ld provide more information. What happened to Phil Leadore?
                                                                                                                                                                                                                                                                                 ·;:;
       e:n                                                   COMPLAINT
                                                                                                                                            Wh at Happened to Phil Lea dore?

                                                                                                                                            The day after I submitted two significant filings-one reques ti ng a hearing to review their evid ence and depose their
                                                                                                                                                                                                                                                                                 :;
                                                                                                                                                                                                                                                                                 .g
       [                  Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff" or the "Ohana"), by its unde , tgned                          agents, and another out lining the conseq uences of four mon ths of fraudul ent and baseless litigation-t he Plaintiff took           QJ
                                                                                                                                                                                                                                                                                 ;S
      ~           counsel, hereby sues Defendant, Ryan Dillon-Capps ("Defendant" or " Dillon-Ca             ) and states
                                                                                                                                            steps to avoid accountability. These filings high lighted t he FMLA vi olation, as detailed on page 4 of Richard Hartman's
                                                                                                                                            affidavi t, and invoked the unclean hands doctrine to demonstrate that this lawsuit had been baseless from the start.
                                                                                                                                                                                                                                                                                 .....
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                                                                                                                                            The baseless nature of thi s case has been evident si nce:                                                                            QJ
       3          as follows .                                                                                                        'E
                                                                                                                                            Richard Hartman's statement s on June 14, 2024.                                                                                      =>"'
                                                        NATU RE OF ACTION                                                             ~
                                                                                                                                      0::
                                                                                                                                            My own statements on June 18, 2024.
                                                                                                                                                                                                                                                                                  QJ
                                                                                                                                                                                                                                                                                  >
                                                                                                                                      t:
                                                                                                                                            Both Robert Brennen and I acknowledging it open ly in cou rt on June 26, 2024.                                                       ·;;;
                          I.     This is an action brought as a result of Defendant)(breaches of their duties as
                                                                                                                                   ::,
                                                                                                                                   0
                                                                                                                                  (.)
                                                                                                                                            Today, October 26, 2024, marks exactly four months si nce that court hearing. Facing t he consequences of t heir actions,
                                                                                                                                            the Plaintiff opted to manipulate procedura l rules, fi ling a voluntary dism issa l just a day after t hese critica l submissions
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        "1:1                                                                                                                                were made.
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                  Plaintiff' s employee, most significantly in refusing to pro¥e Global Administrator rights,
       (1)                                                                                                                                  How do you spell gui lty?
        'Ii:      pertaining to Plaintiff's software systems and lntem¥omain name regi strations, to Plaintiff' s                           "V-O-l-U-N·T-A-R-Y D-i-S-M -1-S-S-A-L.-                                                                                               E
        w                                                                                                                                                                                                                                                                        ·;;,
        ...,                                                                                                                                                                                                                                                                     0:::
        -         officers and designees. Instead, Defendant has ¢minatcd all Global Admini_,. rights other
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        N         than those Defendant possesses, and thro9@ which Defendant currently exercises ~lete,                                                                                                                                                                          ....0
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                                                         'ations. Because, in addition to constituting breaches of                                                                                                                                                               -0
                                                                                                                                                                                                                                                                                 !E
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                  Defendant's duties to Plainti      efendant' s actions create a substantial risk to Plaintiff's
                                                                                                                                                                                                                                                                                 -0
                                                                                                                                                                                                                                                                                  QJ
                                                                                                                                                                                                                                                                                 "O
                                                                                                                                                                                                                                                                                  i::
                                                                                                                                                                                                                                                                                  QJ
                  provideGl9b31 Administrator rights to Plaintiff's designee as directed.                                                                                                                                                                                         E
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                                                                  THE PARTI ES
                                                                                                                                      This page contains no comments
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 p. =ii                        2.      Plaintiff Ohana is a Maryland limited liability company with its principal place of
.g ;                                                                                                                                                                       i:o
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                        business located at 212 West Padonia Road, Timonium, Baltimore County, Maiyland 2 1093 .
                                                                                                                                                                            ....
       s::                     3.      Defendant Dillon-Capps is a citizen of the State of Maryland who resides at 1334
                                                                                                                                                                           :.a:.a
       "'~-                                                                                                                                                                  >(
                        Maple Avenue, Essex. Baltimore County, Maryland.                                                                                                   t:l.l
       c:                                                                                                                                                                   E
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                                                         .J URI SDI CTION AND VENUE
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       (1)
                               4.      The Court has subject matter jurisdiction over thi s action pursuant to MD. CODE                                                    r/)

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       2'               ANN . (TS. & JUD PROC. § 1-50 I.                                                                                                                   ·c:;
       9:
       (")
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       §.:
                               5.      This Court has personal jurisdiction over Defendant pursuant to MD. CODE ANN. ,                                                     ......
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                        CTS . & JUD PROC. , §6-102(a) because they reside in Baltimore County. Ma1yland.                                                                   .s'--'
       i                       6.      Venue is proper in thi s C ircui t pursuant to MD. CODE A1'1N ., CTS . & J UD PROC .,
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                        §6·20 I laJ because Defendant resides in Baltimore Co un ty.
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                                                           FACTUAL BACKG RO UN D                                               t:                                          ·;;;
                                                                                                                               :,                                           ::,
        .,,                    7.      Ohana is a franchise divi sion of Planet Fitness. Ohana owns and operates 78
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       ~                Planet Fitness health cl ubs with over 500,000 members in Ma,yland, th e Di stri ct of Colw11bia.                                                  !;"'
        =II:                                                                                                                                                               i:
        ...,....."'"
                        Tennessee, Florida, Washington state, and Cali forn ia.                                                                                            "c,j
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                               8.      Ohana has 1.472 employees. 7 12 of whom live in Maryland.                                                                           '--'
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                               9.      Ohana maintains a Microsoft 365 account (the '·Oha.na MS 365 Account''),                                                            -~
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                        through which it provides a full suit e of so ftware appl ications to the com pany's employees.                                                    !:E
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                        including Microsoft Exchange for company email , Microsoft OneDri ve and SharcPoint for                                                            -0
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                        document management and storage. Microsoft Teams fo r videoconferencing. as well as other IT                                                        i::
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                                                                                                                                                                            E
                        services. Ohana ' s Microsoft 365 Account also includes a subscri ptio n to Microsoft Azure, whi ch                                                <




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                   provides Ohana the ability to deploy, operate and back up data created with those applications in
                                                                                                                            Page: 3
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('t)   e.                                                                                                                      Author: Ryan Dillon-Capps        Subject: Comment on Text     Date: 10/26/2024 8:39:11 PM
                   the cloud.                                                                                                  Ohana has no understanding of what is or isn't in the GoDaddy account. In th e four years I was with Ohana, the few
c:,.=tl
.g "'                     10.    Through an account with Internet domain registrar GoDaddy.com, Obana
                                                                                                                               times I mentioned the GoDaddy account, they had no idea w hat I was referring to. It appears that someone gave
                                                                                                                               them information, likely related to the M365 account and Microsoft's procedures for transferring access to an               co
       ►                                                                                                                                                                                                                                                   .....
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                                                                                                                               unauthorized party not named in the agreements.
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                   maintains and administers registrations for over a dozen second level internet domain names,
                                                                                                                               Prior to 2023, Ryan Brooks was the sole account holder. It wasn't until a decision was made to part ways wit h him          :.a
                                                                                                                                                                                                                                                            :,(

                   which are directed to websites and Obana's Microsoft Exchange company email.                                and Baltimore Consulting that the account structure changed-this occurred before the whistle-blowing that                   w
       c.:                                                                                                                     shifted the direction of the entire situation.
                                                                                                                                                                                                                                                            E
       "'0         (the ''Obana GoDaddy Account").                                                                                                                                                                                                          B
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       ...,                                                                                                                 1•Author: Ryan Dillon-Capps        Subject: Comment on Text         Date: 10/26/2024 8:42:34 PM
       0
                                                                                                                               The webpage co ntradicts Ohana's interpretation; it applies to small business so lutions, not Ohana's enterprise-level       "'
                                                                                                                                                                                                                                                            >.
       O"                 11.    Since February 10, 2020, Ryan Dillon-Capps (nee Wagner), the Defendant in the                 configuration. The guidance specifically recommends limiting the number of Global Administrators, instead using             VJ
       0                                                                                                                       Privileged User Administrators to handle critical functions and minimize risk .                                             «i
       .....                                                                                                                                                                                                                                               ·o
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       c:,.
                   above-captioned matter ("Dillon-Capps"), has been employed by Ohana as its Vice President of
                                                                                                                               Ohana's claim that they need "at least either one more" Global Administrator suggests in tentiona l                         :a::l
       ;·          Information Technology. On January 9, 2020 Ohana and Dillon-Capps executed an Ernploym_                     misrepresentation, as Richard Hartman and Robert Brennen likely understood the guidance. The inclusion of this              -.
       §.:                                                                                                                     interpretation in Randa ll Romes' affidavit raises concerns abou t potential w itness tampering and manipulation by          cu
       ~
                   and Non-Disclosure Agreement (the "Dillon-Capps Employment Agreement"). As               at least           Miles & Stockbridge. The correct takeaway from the webpage is to keep the number of Global Administrators as low
                                                                                                                               as possible, this is for small business', and small bu siness should use Privileged Use r Administrators not Global
                                                                                                                                                                                                                                                           .s'-
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                   June 2, 2024 Dillon-Capps asked to be referred to using plural pronouns.
                                                                                                                       ~
                                                                                                                               Administrators fo r password resets.

                                                                                                                               Randa l Romes' deposition is likely to clarify the extent of Ohana and M&S's involvement in shaping these affidavits,
                                                                                                                                                                                                                                                            cu
                                                                                                                                                                                                                                                           :Jcu
                          12.    Dillon-Capps reports to Glenn Norris, the Chief Fj,(ancial Officer of Ohana
                                                                                                                       ~
                                                                                                                       a:
                                                                                                                               particularly given the affidavit's discrepancies and th e ci rcumsta nces surrounding the signature page.
                                                                                                                                                                                                                                                            >
                   ("Norris"). In that capacity, Norris provides Dillon-Capps wjlKsupervision and issues directives    t    ..!!JAuthor: Ryan Dillon-Capps        Subject: Comment on Text         Date: 10/26/ 2024 8:43:30 PM
                                                                                                                                                                                                                                                           ·;;;
                                                                                                                       :,
                                                                                                                       0       Privileged Identity Management (PIM) offers "on-demand access" to elevated permissions, allowing users to operate           .E
        'ti        in connection with the operation ofOhana's software~stems.                                                  wi th regular access until higher-level permissions are needed. Wi th authorization, they can temporarily eleva te access   <r:
       ~
                                                                                                                               by clicking a button and accepting a notice.

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                          13.    Ohana granted to Dillon-Capps-;tn their capacity as Vice President of lnforrnati
                                                                                                                               PIM enhances security by flagging suspicious activity, such as access requests from unexpected locations, preventing        ·.gft
        V,
                   Technology and so that they could                                                                           unauthorized breaches even if credentials are compromised. Th is setup removes the need for permanent Global                .<ii
        a,
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                                                                                                                               Administrator access, as elevated permissions can be assigned temporarily, reducing security ri sks.
                                                                                                                                                                                                                                                           0::
                   Ohana MS 365 Account, all~them "almost unlimited access to                                                                                                                                                                              '-
                                                                                                                                                                                                                                                            0
                                                                                                                               In a PIM environment, continuous Global Administrator roles are unnecessary, as the system dynamically manages
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                                                                                                                               access while maintaining security.
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 ei ~-           those reasons, Ohana had also provided Global Admin rights to Ryan Brooks of Baltimore
 :,,;- a                .       .             .                                       .              .                    W Au thor: Ryan Dillon-Capps       Subject: Comment on Text         Date: 10/26/ 2024 8:44:06 PM
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                 Consulting, an rndependent third~party contractor for Obana that provides comprebeos:vw IT
                                                                         - -
                                                                                                                            This event never occurred. The motion to co mpel and the discovery request explicitly include the logs that w ill
                                                                                                                            verify this. The logs from May 20 wi ll demonstrate that the alleged event did not take place, providing concrete
',:J   "'
       >         services.                                                                                                  evidence to disprove their claim.                                                                                          co
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       er
       i::                                                                                                                   Author: Ryan Dillon-Capps         Subject: Comment on Text       Date: 10/26/2024 8:S2:30 PM                              :.E
       "'~ -             14.
                                                                                                                             Ohana's behavior shows a clear pattern of shifting narra tives and deliberate distractions . They altered the identity    :.a
                                                                                                                             of the individual who instructed Richard Hartman to send the 9 AM demand on June 13th. Instead of focusing on
                                                                                                                                                                                                                                                       ~
       c::                                                                                                                   key compliance issues, their attention has been disproportionately on my employment status. They omitted
                                                                                                                                                                                                                                                        e
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                 that had been held by other Ohana employees, as well as the Global Admin rights provided to
                                                                                                                             Norris and Brooks from the proceed ings.

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       0                                                                                                                     The more substantial the issue, the more they avoid it, choosing instead to focus on personal attacks and                 B
                                                                                                                             irrelevant arguments. This evasion highlights a strategy of distraction, suggesting that the arguments they avoid          "'....
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       n,
                 Mr. Brooks. On six (6) separate occasions between May 21, 2024 and May 24, 2024, Dillon-                    may be more revealing than the ones th ey choose to make.                                                                 r:n
                                                                                                                                                                                                                                                       ;;
       .....
       i::       Capps was sent express written directives to reinstate Mr. Brooks' administrative access. Since
                                                                                                                             The case's tru e understanding lies not in the arguments presented but in those avoided. This evasion highlights a
                                                                                                                             stra teg y designed to distract and manipulate the narrative. The vo luntary dismissal further erod es the credi bility   ·u
       0.
       ;·                                                                                                                    of their case. The Court should take note of what arguments we re not made these past four months. The gaps in            :-a
                 May 24, 2024 , management sent Dillon-Capps separate written directives to provide full                     testimony, personal attacks to marginalized the value of something before it is revived seriously, and the shifting       ~
       et                                                                                                                    narratives that expose the underlying motives.
       ~         administrative rights to Justin Drummond, Ohana' s President, to Victor Brick, Ohana's CEO,
                                                                                                                            Author: Ryan Dillon-Capps         Subject: Comment on Text        Date: 10/26/2024 8:47:Sl PM
                                                                                                                                                                                                                                                       £
                                                                                                                                                                                                                                                       '-
       "'                                                                                                                                                                                                                                               0
       ~         and to Norris, the CFO, in addition to Mr. Brooks. All these directives were disobeyed. Despite            There was never any refusal on my part regarding access. The issue of access was completely separate from the
                                                                                                                                                                                                                                                        V
                                                                                                                            FMLA cease and desist letter, which solely addressed the Plaintiff's ongoing violations of my FMLA rights . The letter
                                                                                                                   ~
                 these repeated written express directives from Ohaoa's management, and in violation of Section             was not related to any refusing access but was specifi ca lly about the unlawful interference with my right to take        :=>
                                                                                                                            FMLA leave.                                                                                                                 V
                                                                                                                   0::                                                                                                                                  ;.
                                                                                                                            The letter also includes confi rm ation of comp liance.                                                                    ·;;;
                 I of the Dillon-Capps Employment Agreement, Dillon-Capps refused to instate full                  t::,
                                                                                                                    0
                                                                                                                   (.)
                                                                                                                                                                                                                                                       _g
        "ti      administrative rights to the Ohana MS 365 Account to Ohana' s Presiden~ CEO, and CFO.                                                                                                                                                 <
       ~:;t:            15.    lo their capacity as Vice President of Information Technology, Dillon-CaP,J(S
                                                                                                                                                                                                                                                        "'
                                                                                                                                                                                                                                                       8::
                                                                                                                                                                                                                                                       ·.g
       °'...,    acquired sole administrative control over the Ohaoa GoDaddy Account                                                                                                                                                                   ·«i

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                        16.    On June 13, 2024, Ohana's Vice President of Human Resources Rich;ifd Hartman
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                                                                                                                                                                                                                                                       ....
                 sent an email to Mr. Dillon-Capps directing them to provide the Global Adminifotor rights over

                 the Ohana MS 365 Account to Phil Leadore, of Hartman Executive y,isors, which Ohana
                                                                                                                                                                                                                                                       1!E
                 engaged to assist Ohana with IT matters, and to do so by 3 pm that day. Mr Dillon-Capps refused
                                                                                                                                                                                                                                                       <
                                                                                                                                                                                                                                                       1s
                                                                                                                                                                                                                                                       'O
                 to comply with that directive, claiming that Ohana's efforts to control its own systems, MS 365                                                                                                                                        i::
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                 Account somehow amounts to retaliation against them. Mr. Dillon-Capps failed to comply with
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                 the directive by 3 p.m. As a result Dillon-Capps continues to maintain and exercise exclusive




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                                                Case 1:24-cv-03744-BAH                                     Document 16-8        Filed 01/03/25                       Page 221 of 226
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         el.     administrative rights to the Ohana Microsoft 365 Account and administrative control of the
                                                                                                                           Page: 5
                                                                                                                           J!/ Author: Ryan Dillon-Capps         Subject: Comment on Text          Date: 10/26/2024 8:S3:33 PM
0       ::t.     Ohana GoDaddy Account.                                                                                        Th ere was no loss of access at 2:05. At that tim e, an email was read in w hich both Rich Hartman and Glenn Norris
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                                                                                                                               were being acc used of improper actions. The email was directed to the owners, urging them to intervene before a
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        "'~ -
                        17.    As of 2:05 p.m. on June 13, 2024, Mr. Hartman discovered that he had been
                                .                        .              .
                 locked out of his Ohana company email account and 1s now unable to send or receive
                                                                                                       .
                                                                                                                              situatio n-such as this laws uit-escalated.
                                                                                                                           ~ Author: Rya n Dillon-Capps       Subject: Comment on Text         Date: 10/26/2024 8:SS:07 PM .           .
                                                                                                                              tt is accurate that Rich Hartman learned about the situation around 5 PM, during an exchange w ith Just in
                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                       co
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                                                                                                                                                                                                                                                       :.a
                 from that account to or from any of Ohana's 1,472 employees. As of 5 p.m. on June 13, 2024
                                                                                                                              Drummond . My document request includes info rmation from Drummond that would typica lly be used to support a
                                                                                                                              legitimate lawsuit. However, in this case, the lawsuit lacks legitimacy, and the evidence will demonstrate that
                                                                                                                                                                                                                                                       ~
        c                                                                                                                     Hartman and Drumm ond we re co mmunicating while I was texting,                                                           e
        "'(I>    Mr. Hartman discovered that he was unable to log into Ohana's Microsoft Teams account and is                                                                                                                                          2
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                                                                                                                              Add itionally, the requested Paycom records will co nfi rm that the relevant personnel records either were or are         "'
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        (1>
                 effectively locked out of the Microsoft 356 suite of applications in the Ohana MS 365 Account.               stored in Paycom-not in the system Hartman initia ll y clai med. I have reason to believe that these reco rds may
                                                                                                                              have been moved to substantia te their claims.
                                                                                                                                                                                                                                                       rfJ
                                                                                                                                                                                                                                                       oil
                                                                                                                                                                                                                                                       ·.::;
        ='
        9:
                 Mr. Hartman's inability, caused by Dillon-Capps, to communicate with any of Ohana's 1,472
                                                                                                                              This situation underscores a significan t issue w ith traditional e-discovery practices: people often do not request     :a
        (l
        [
                 e"!ployees or to access any of Ghana' s personnel records has effectively rendered it impossible             logs. However, th e logs are cru cia l, as they could reveal whether any tampering occurred. Based on the inform ation
                                                                                                                              I possess, there is strong reason to suspect ta mperin g, and the logs co uld co nfirm or disprove thi s suspicion.
                                                                                                                                                                                                                                                       .=?
                                                                                                                                                                                                                                                        11.l
        CZI
        '<
                 for him to perform in his critical role as Vice President of Human Resources for the company.
                                                                                                                           i!!] Au thor: Rya n Dillon-Capps   Subject: Comment on Text         Date: 10/26/2024 8:59:1 1 PM
                                                                                                                                                                                                                                                       .s
                                                                                                                                                                                                                                                       .....
        i                                                                                                                     I never cla imed to be acti ng under M r. Dru mmond's aut hority. I was the one w ho added Drummond to the                 0
                        18.    At 8:45 p.m. on June 13, 2024, at the direction of Ohana President Justin                      communication threa d. My actions were co nsistent wi t h my executive position; if I had been actin g o n som eone       11.l
                                                                                                                    'l:!      else's behalf, I wo uld not have incl uded them in the discussion-much like Victo r Brick empowering Drummond             "'
                                                                                                                                                                                                                                                       ;:J
                 Drummond, Mr. Hartman sent an email to Dillon-Capps, using his per.mnal email account, to
                                                                                                                    ~
                                                                                                                    a::
                                                                                                                              - Drummond d idn't add Brick to the email because he was empowered to take actio n and no oversight was
                                                                                                                              needed.
                                                                                                                                                                                                                                                        11.l
                                                                                                                                                                                                                                                        ;,,.
                 which Mr. Hartman attached a letter advising Dillon-Capps of the immediate suspension of their     t'.
                                                                                                                                                                                                                                                       ·;;;
                                                                                                                     :,                                                                                                                                 ::I

                                                                                                                                                                                                                                                       ~
                                                                                                                    0         I involved Drummond because we had spent hours discussi ng t he matter via text messages. He was fu lly aware
                                                                                                                    (.)
         '"ti    employment with Ohana. Dillon-Capps responded with an email, copying President Justin                        that both he and Hartman Executive Advisors (HEA) would receive access, and there was no refusal on my part. I

        ~        Drummond and other Ohana executives, stating that Dillon-Capps did not recognize Mr.
                                                                                                                              expected Drummond to address and rectify Ric h Hartman's inappropriate email, based on our prior co nversations
                                                                                                                              and his understandi ng of the access arrange men t s.                                                                    ff
         =!I:                                                                                                                                                                                                                                          ·~
         -..J    Hartman' s authority as Vice President of Human Resources to suspend Dillon-Capps'                           Wha t stands out is Drummond's lack of details on the letter or engagement about the suspension sooner in the            ".;j


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                 employment, and falsely claimed that Dillon-Capps was acting upon Mr. Drummond's authority.

                 Mr. Drummond responded to Dillon-Capps' email as follows:
                                                                                                                              day, w hich makes his deposi tion crit ica l to uncovering what truly happened. Despite his affi davit claiming
                                                                                                                              leadership in these even t s, Drummon d seemed largely unaware of crucia l details th roughout th e day.

                                                                                                                              I suspect that his communication records w ill reveal co nnections with Hartman and Norri s. I also hope these
                                                                                                                              records w ill show that he was coerced-recog nizing that coercion isn't always a direct threat but can sometimes
                                                                                                                                                                                                                                                       0:
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                                                                                                                                                                                                                                                       "'O
                                       Ryan:                                                                                  be a subtle manipulation, like w hat someone I used to know ca lled a "backhanded cookie."
                                                                                                                                                                                                                                                       !E
                                       Your assertions that Rich Hartman did not suspend you or lacked the
                                                                                                                                                                                                                                                       -<
                                                                                                                                                                                                                                                       "'O
                                                                                                                                                                                                                                                        11.l
                                       authority to suspend you are both incorrect and baseless.                                                                                                                                                       "'O
                                                                                                                                                                                                                                                        C
                                                                                                                                                                                                                                                        11.l
                                       For the avoidance of any doubt by you, I incorporate into this email Rich                                                                                                                                        E
                                       Hartman's email to you today notifying you of your suspension and
                                       hereby confirm that you were suspended upon receipt of that email. Please
                                                                                                                                                                                                                                                       -<
                                       follow fully the directives in that suspension notification.




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                                                Case 1:24-cv-03744-BAH                                  Document 16-8        Filed 01/03/25                         Page 222 of 226
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ei el.
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                                       I also hereby confirm that you have been directed by me to immediately
                                                                                                                           Page: 6
:,,;-g_                                comply with Rich Hartman's email of9:0 l am this morning by                          Au thor: Ryan Dillon-Capps     Subject: Comment on Text     Date: 10/26/2024 8:59:24 PM
(I>   - ·                              immediately adding Phil Leodore from HEA as a Global Administrator                   He had the emails forwarded to him and I asked Drummond for help reac hing them.
Q.    :::j3
'6 "'                                  regardless of whether he has confirmed any qualifications or involvement
   >
   g-
                                       in the PC! DSS v4 review.                                                            Author: Ryan Dillon-Capps         Subject: Comment on Text       Date: 10/26/2024 9:01 :46 PM
                                                                                                                            Ohana maintained administrative aCcess throughout th e entire relevant period, with a capab le team of
                                                                                                                            administrators in place. They never requested access to the GoOaddy account, and I provided the necessary access
                                                                                                                                                                                                                                                          '°
                                                                                                                                                                                                                                                           ....
                                                                                                                                                                                                                                                          :E
   "'~ -                               Thank You,
                                                                                                                            without any issues or refusa l on my part. These facts underscore that Ohana's actions in thi s lawsuit do not align          :.a
                                                                                                                            with how a company wou ld respond to a legitimate threat. Despite claiming that I was a ri sk, their behavior
                                                                                                                                                                                                                                                          ~
      c:::                                                                                                                  suggests otherwise.
      "'
      (I>                                                                                                                                                                                                                                                  E
      ....,
      0                                                                                                                     Their conduct shows a clear disregard for my rights w hile simultaneously failing to treat me as if I we re a true threat.     B
                                                                                                                                                                                                                                                           <ll
                                                                                                                            They violated my rights on multiple fronts-FMLA, Due Process, and Liberty-yet never took actions typical of                    ;,-,
      Et-
      n,
                                                                                                                            addressing a genuine th reat. For instance, at no point did they seek an order to have the sheriff seize me or my             [FJ

                As of the fi ling of this Complaint Mr.                                                                     equipment. This is especially notable because, on June 27th, I was fu lly prepared for Judge Barranco to involve the          «i
      ......                                                                                                                Sheriff's Office. I left everything as it was to show transparency and to ensure they cou ld see that I was genuinely         ·u
      s::
      Q.
      n·                                                                                                                    engaged in a thorough examination. I wa nted th em to see that I had nothing to hide.                                         :a;::s
      §.:                                                                                                                   Ohana's cla im that I posed a significant risk is inconsistent with their actions. They didn't follow standard
                                                                                                                                                                                                                                                          -..
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                                                                                                                            procedures for handling a high-risk si tuation; instead, they focused on discrediting me, imposing severe emotional
                                                                                                                            distress, and draining me financia lly. Their failure to act in a way co nsistent with managing a rea l threat reveals that
                                                                                                                                                                                                                                                          -s
                                                                                                                                                                                                                                                          '+-<
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                        19.    Without administrative rights to the Ohana Microsoft 365 accoun~ Ohana is
                                                                                                                            their objective was not to ad dress a legitimate risk but to undermine my credibi lity.                                        0
                                                                                                                                                                                                                                                           0
                unable to manage any of its Microsoft 365 software applications and related dais. So long as        ~
                                                                                                                            What Ohana does not argue is as revea ling as what they do. They never treated me as a true threat; their efforts             :J
                Dillon-Capps continues to hold exclusive Global Admin rights to the Ohana MS 365 Account,
                                                                                                                     ~
                                                                                                                    a::
                                                                                                                            were clearly aimed at discrediting and harming me rather than mitigating any genuine danger. This evasion                      0
                                                                                                                                                                                                                                                           ;,,.
                                                                                                                    t::
                                                                                                                            suggests that th e real purpose of this lawsuit is not risk management but an attempt to avoid accountability. Their          ·;;;
                                                                                                                     ::,    strategy ha s succeeded in causing signifi cant emotional distress and finan cia l hardship, and now they are using            ;::s
                and by extension Ohana's employee email accounts and dais, those accounts and data are               0
                                                                                                                    (.)     procedural tactics to evade the consequences of their actions.                                                                .0
       "C                                                                                                                                                                                                                                                 <t'.
      ~
                                                                                                                                                                                                                                                          ~
                vulnerable to disruption by Dillon-Capps. So long as Dillon-Capps continues to hold exclusive               In conclusion, th is lawsuit is not about addressing a genuine threat. It is a calcu lated effort to harm my reputation,
      (I>
                                                                                                                            impose emotional distress, and drain my resources while avoiding accoun tab ility for their own behavior. Their
       '1:1:
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                administrative control over the Ohana GoDaddy Account, the direction of Ohana's registered                  actions reveal a co nsistent pattern of evasion, highlighting the true motives behind th eir litigation strategy.             c
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                domain names to Ohana's company email and websites are at risk.

                       20.     Even a temporary disruption of the Ohana MS 365 Account and/or the Ohana
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                                                                                                                                                                                                                                                           0
                                                                                                                                                                                                                                                          ·'=
                GoDaddy Account would result in tremendous disruption of Ohana' s business operation and
                                                                                                                                                                                                                                                           ~
                                                                                                                                                                                                                                                          -0
                                                                                                                                                                                                                                                          !E
                irreparable harm to Ohana. Given Dillon-Capps refusal to act as directed by their supervisors and                                                                                                                                         <t'.
                                                                                                                                                                                                                                                          -0
                                                                                                                                                                                                                                                           0
                other behavior, Ohana believes Iha~ in the absence of a Court Order directing Dillon-Capps to                                                                                                                                             -0
                                                                                                                                                                                                                                                           C:
                                                                                                                                                                                                                                                           0
                immediately provide the Global Administrator rights to Phil Leadore there is a significant risk                                                                                                                                            E
                                                                                                                                                                                                                                                          <t'.
                that Dillon-Capps will take action to disrupt Ohana' s software systems and business operations

                and to destroy or corrupt Ohana' s data.


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                                                Case 1:24-cv-03744-BAH                                    Document 16-8      Filed 01/03/25                       Page 223 of 226
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l!l !!?.                                   COUNT I - BREACH O F CONTRACT
:,,;-a                                                                                                                     Au thor: Ryan Dillon-Capps      Subject: Comment on Text            Date: 10/26/2024 9:03:21 PM
(1)   -·               21.     Ohana incorporates the allegations above as if fttlly set for ch herem.                     Affidavit of Contract Modification nullifies S1 of th e agreement
Q.    ~
.g "'                          Defendant's repeated refusal to comply with Ohana's directives to provide Global            Also-                                                                                             co
      ►                22 .
      0-                                                                                                                   No Refusa l;                                                                                      .-:::
      c                                                                                                                                                                                                                      .0
      "'~-      Admin rights to Mr. Leadore and others violates Section I of the Dillon-Capps Employment                   No Harm;
                                                                                                                           No Reason for the Lawsuit.
                                                                                                                                                                                                                             :.a><
                Agreement, which requires that Dillon-Caps "faithfully and diligently perfonn ... duties as may                                                                                                              LI.l
      c:::
      "'
      (1)
                be assigned by management from time to time."
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      go               23.     Defendant's violation and continued violation of the Dillon-Capps Employment                                                                                                                  r:r.,
      (1)
      .....                                                                                                                                                                                                                   .a
      C         Agreement has directly resulted in damages to Ohana in the fonn of significant expense,                                                                                                                      ·o
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      0         including otherwise unnecessary consulting fees and attorneys' fees.
                                                                                                                                                                                                                             ]......
      a                                                                                                                                                                                                                        Q)
      r:r.,
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                       24.    Defendant's continued violation of the Dillon-Capps Employment Agreement is                                                                                                                    -s
      "'                                                                                                                                                                                                                     """'0Q)
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                depriving Ohana of the right to control Ohana's property, to wit, the Ohana MS 365 Account and
                                                                                                                  1!                                                                                                          "'
                                                                                                                                                                                                                             ::i
                the Ohana GoDaddy Account and has created a risk of imminent and irreparable harm to Ohana.        g                                                                                                          Q)
                                                                                                                                                                                                                               ;,.
                                                                                                                  a::
                       WHEREFORE, Plaintiff, Ohana Growth Partners, LLC, respectfully requests that                t:'.                                                                                                      ·;;;
                                                                                                                   :,                                                                                                          ::s
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                                                                                                                  t)
      "1:1      judgment be entered as to Count I in favor ofOhana and against Defendant in an amount equal to                                                                                                               <:
      ~                                                                                                                                                                                                                      a:::"'
      (1)       the damages caused by Defendant's wrongful conduct, plus pre- and post-judgment interest
      '1:1::                                                                                                                                                                                                                 ·g
      '-0       thereon; that temporary, preliminary and permanent injunctions be entered requiring Defendant                                                                                                                ·;a
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      0                                                                                                                                                                                                                      0:::
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                to take immediate action to provide Global Administrator rights over the Ohana MS 365 Account

                                                                                                                                                                                                                             -
                                                                                                                                                                                                                             """'0
                and the Ohana GoDaddy Account to Phil Leadore, of Hartman Executive Advisors; and that the                                                                                                                   -~
                                                                                                                                                                                                                             "O
                Court award to Ohana the cost of these proceedings, and such other and further relief as this                                                                                                                !:E
                                                                                                                                                                                                                             <l'.
                Court deems just and appropriate under the circumstances.                                                                                                                                                    "O
                                                                                                                                                                                                                              Q)
                                                                                                                                                                                                                             "O
                                     COUNT II - BREACH OF DUTY OF LOYALTY                                                                                                                                                     C
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                       25 .   Ohana incorporates the allegations above as if fully set forth herein.                                                                                                                         <:



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                                                Case 1:24-cv-03744-BAH                                   Document 16-8           Filed 01/03/25                     Page 224 of 226
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                       26.     Defendant's repeated refusal to comply with Obana's difaeliues to provide Global
                                                                                                                            Page: 8
ei ~-                                                                                                                    --!!] Author: Ryan Dillon-Capps   Subject: Comment on Text          Date: 10/26/2024 9:05:18 PM
;.;- a
0    - ·                                                                                                                       No Refusa l;
c:,. =il        Admin rights to Mr. Leadore and otbers violates Dillon-Capps' duty of loyalty to Ohana as tbeir
-6    <I)
                                                                                                                               Never Asked for GoDaddy and Freely Gave When Asked;
                                                                                                                                                                                                                           co
      >
      c:r
                employer.                                                                                                      Ohana, failed their duty to the Brand, Contracts, and Consumers.
                                                                                                                                                                                                                            ....
      s::              27.     Defendant's violation and continued violation oftbeir duty ofloyalty has directly
                                                                                                                                                                                                                           :.E
      <I)
      ;::·                                                                                                                                                                                                                 :.2
                                                                                                                                                                                                                            :><
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                resulted in damages to Ohana in tbe form of significant expense, including otherwise                                                                                                                       w
      c:::                                                                                                                                                                                                                  e
      "'0       unnecessary consulting fees and attorneys' fees.
      ....,
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      o
                       28.     Defendant's continued violation oftbeir duty ofloyalty is depriving Ohana oftbe                                                                                                             *;....
                                                                                                                                                                                                                           r:ri
                                                                                                                                                                                                                           ;a
      ~         right to control Ohana' s property, to wit, tbe Ohana MS 365 Account and tbe Ohana GoDaddy                                                                                                                 ·u
      e:                                                                                                                                                                                                                   :a::s
      0         Account and has created a risk of imminent and irreparable harm to Ohana.                                                                                                                                  ....,
      et                                                                                                                                                                                                                    Q)

      ~                WHEREFORE, Plaintiff, Ohana Growth Partners, LLC, respectfully requests tbat                                                                                                                        ....
                                                                                                                                                                                                                           ..c
                                                                                                                                                                                                                           <+--
      ~         judgment be entered as to Count II in favor of Ohana and against Defendant in an amount equal
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                to the damages caused by Defendant's wrongful conduct, plus pre- and post-judgment interest
                                                                                                                   ~
                                                                                                                   ex:
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                thereon; tbat temporary, preliminary and permanent injunctions be entered requiring Defendant      t:                                                                                                      ·;;;
                                                                                                                   :,
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                                                                                                                   (.)
                                                                                                                                                                                                                           _g
      '"O       to take inunediate action to provide Global Administrator rights over the Ohana MS 365 Account                                                                                                             <I'.
      ~
      0         and the Ohana GoDaddy Account to Phil Leadore, of Hartman Executive Advisors; and that the                                                                                                                 !;"'
      -....,
      :it:
      0         Court award to Ohana the cost of these proceedings, and such other and further relief as this
                                                                                                                                                                                                                           E
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                Court deems just and appropriate under the circumstances.                                                                                                                                                  '+-<
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                      COUNT Ill- BREACH OFDIJTY OF MD. CODE ANN. 1 CRIM. LAW. 1 §7-302(c)
                                                                                                                                                                                                                           ]
                       29.     Ohana incorporates the allegations above as if ful ly set forth herein.                                                                                                                     !E
                                                                                                                                                                                                                           <I'.
                       30 .    Defendant"s repeated refusal to comply with Ohana's directives to provide Global                                                                                                            -0
                                                                                                                                                                                                                            Q)
                                                                                                                                                                                                                           -0
                Admin rights to Mr. Leadore and others constitutes a violation of MD. CODE ANN., CRIM . LAW.,                                                                                                               s::
                                                                                                                                                                                                                            Q)


                §7-302(c).
                                                                                                                                                                                                                            E
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                                 Ohana has suuered a spec1tic and direct inJWY bccau:,e efJJefeodant's v1olabon
                                                                                                                               Page: 9
:,,;-g                                                                                                                       ~ A uthor: Ryan Dillon-Capps           Subject: Comment on Text         Date: 10/26/202 4 8:12:2 1 PM . _
G -·
g- =il          of and, therefore is entitled, pursuant to MD . CODE ANN., CRIM. LAW ., §7-302(g), to bring a civil               The Plaintiffs argument in this case is an example of poor legal strategy and lacks a solid foundation. Their re liance
                                                                                                                                  on HB925 from 1998 demonstrates a fa ilure to comprehend the basic legal standards they are trying to enforce.
"O "'                                                                                                                             Here's why their approach is so fundamentally flawed:                                                                       co
       >        action against Defendant for that violation to recover Ohana's actual damages and reasonable
                                                                                                                                                                                                                                                               ....
       g-       attorneys' fees and court costs .                                                                                 1. Misapplication of Criminal Statute;                                                                                      :0
       "'
       <'                                                                                                                         The Plaintiffs use of HB925 involves citing a criminal statute that does not support th eir claims. The statute they        :E
                                                                                                                                                                                                                                                                ><
       G                                                                                                                          reference is irrelevant to the arguments they are trying to make. This error undermines the integrity of their case, as     U.l
                        32.      Defendant' s continued violation of MD . CODE ANN., CRIM. LAW., §7-30~ ) is
       C:
       "'G      depriving Ohana of the ri ght to control Ohana's property, to wit, the Ohana MS 365 Account and
                                                                                                                                  they rely on a legal standard that has no application to the factua l context they present.
                                                                                                                                                                                                                                                               a
                                                                                                                                                                                                                                                               B
       ....,
       0                                                                                                                          2. Literal Interpretation Undermines Their Argument:
                                                                                                                                  By including HB925 from 1998 in their filings, the Plaintiff has unintentionally demonstrated that the law is to be           "';,...
       s-       the Ohana GoDaddy Account and has created a risk of imminent and irreparable harm to Ohana.                       interpreted literally, leaving no room for interpretation or alternative legal theories. This undercuts any argument        rJJ
       ._
       G
                                                                                                                                  about the law's purpose or intent, as they themselves have established that th e statutory language is explicit.            ';j
                        WHEREFORE, Plaintiff, Ohana Growth Partners, LLC, r~ pectfully requests that                                                                                                                                                          ·o
       ;5.·     judgment be entered as to Count Ill in favor of Ohana and against Defendant in an amount equal
                                                                                                                                  3. Applicability of the Statute to the Plaintiffs Conduct:
                                                                                                                                  Ironica ll y, the crime as described in H8925 is more applicable to the Plaintiffs own conduct than to anything they
                                                                                                                                                                                                                                                              ]......
       ~                                                                                                                          allege against me. By re lying on this statute, they have highlighted their own potential misconduct, making this one        Q)


       ~        to the damages caused by Defendant's wrongful conduct, plus ~           and post-judgment interest                of the most poorly executed legal arguments I have encountered.                                                             .s
                                                                                                                                  A Case Study in Poor Litigation                                                                                             '-
       "'
       ;-       thereon and the reasonable attorneys' fees and court costs that Ohana has incurred in connection                  This case represents a textbook example of flawed litigation strategy. Their three primary errors-citing an
                                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                               Q)
       3                                                                                                              "E          irrelevant criminal statute, using evidence that confirms the law's literal interpretation, and highlighting statutory       "'
                                                                                                                                                                                                                                                              ;:)
                                                                                                                       ~
                with this matter; that temporary, preliminary and perrnanent injunctions be entered requiring                     language that may implicate their own actions-are indicative of a lack of comprehension and preparation.
                                                                                                                      a::                                                                                                                                      ~
                Defendant to take immediate action to provide Global Administrator rights over the Ohana MS           t::         For years to come, I plan to share this story as an ice breaker. I'll begin by quoting their claim that "Ohana has          ·;;;
                                                                                                                       ::,
                                                                                                                                  su ffered a specific and direct injury." Then, with a dramatic flourish, I'll lean forward, draw my shoulders and elbows     ::s
       .._,     365 Account and the Ohana GoDaddy Account to Phil Leadore, of Hartman Executive Advisors;
                                                                                                                       0
                                                                                                                      (.)         inward, and with a hint of theatrical irony, I'll bat my eyes and ask: "Oh, do pray tell-what is this specific and direct
                                                                                                                                                                                                                                                              .D
                                                                                                                                                                                                                                                              <
       ~                                                                                                                          injury you speak of?"
                                                                                                                                                                                                                                                               "'
       G
       'It:
                and such other and further relief as this Court deems just and app.!:£priate under the
                                                                                                                                  If the Court is interested, I wou ld be happy to demonstrate thi s at the hearing, as it perfectly encapsulates the         ~
       ....
       ....     circumstances.
                                                                                                                                  incredulity and irony of the Plain tiff's position.                                                                         E
                                                                                                                                                                                                                                                              ·.;;
       ....,
       0                                                                                                                          Conclusion                                                                                                                  0::
       ....
       N
                                                                                                                                  Th e Plaintiffs arguments are poorly constructed and fall to demonstrate a legitimate basis for their claims. Their         '-
                                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                              ....
                                                                                                                                  re liance on HB925 not only misapplies criminal law but also exposes their own potential misconduct. This approach
                                                                                                                                  highlights a strategy that lacks the depth and accuracy expected in serious litigation.                                     ·~
                                                                                                                                                                                                                                                              "O
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                                                                                                                                                                                                                                                              "O
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                                                                                                                                                                                                                                                              "O
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                                        Case 1:24-cv-03744-BAH                             Document 16-8       Filed 01/03/25                        Page 226 of 226
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el E.            Dated: June 14, 2024                 Isl Robert S. Brennen
                                                                                                            Page: 10
:-;-a                                                 Robert S. Brennen (AIS # 8712010068)                   Au thor: Ryan _[)i llon-Capps     Subject: Comment on Text          Date: 10/26/2024 8:21 :0 1 PM
(1)   - ·                                             ~ail · PlJretJ1en@mflestockbndge.com
      :::;i                                                                                                  Judge Stringer correctly noted that "everyone gets t o choose thei r own representation." In this case, Stephen/
p.

      >                                               Stephen D. Frenlcil (AIS # 7712010110)                 Steven D. Frenkil is listed on the co mplaint, actively participating in both litigation and negotiation efforts. Despite
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                                                      e-mail : SFrenkil@miiesstockbridge.com
                                                      Victoria K. Hoflberger (AIS # 1912170195)
                                                      e-mail : VHoflberger@milesstockbridge.com
                                                      M!LES & STOCKBR1DGE P.C.
                                                                                                             this involvement, he has not filed to be formally on record as representation, raising serious ethical and procedural
                                                                                                             concerns.

                                                                                                             1. Ethical Obligations of Representation
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      (1)
                                                       I00 Light Street                                      It is improper for an attorn ey to play a significant ro le in litigation and negotiations without formally appearing on    u.l
      C                                               Baltimore, Marylaod 2 I 202                            the record as counsel. This lack of forma l representation creates a si tuation where Frenkil is influencing the legal
      "'
      (1)
                                                      Telephone: (4 10) 727-6464                             proceedings without accepting the responsibilities or consequences associated with legal representation.                     E
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      0                                               Facsimile:     (4 10) 385-3700
                                                                                                             His involvement directly affec ts the case, yet by not officially filing to be on record, he ci rcumvents accountability.
                                                                                                             This undermi nes the integrity of the j udicia l process and creates an imbalance in representa tion.
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      (1)
                                                                                                             2. Influence Without Accountability                                                                                         £
                                                      Counsel for Plaintiff Ghana Grmrtl, Partners,          Frenkil's contri butions to the case-including his involvement in drafting the complaint and participating in               'i,j
      [                                               [ ,/.( .
                                                                                                             negotiations-suggest that he is functioning as legal co unsel. By not being officially on record, he avoids the             ·u
      ;·                                                                                                     scru tiny and standards that apply to formal representation, thus crea tin g an unfair advantage.                           :a
                                                                                                             Allowing such an arrangement contradi cts principles of fairness, as those contributing to the case should be held to       .....;:I
      et                                                                                                     the same standards of accountability, especially when their input impacts the outcome.                                        Cl)


      ~                                                                                                      3. Ab use of Process                                                                                                        £
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      "'                                                                                                     The fa ilure to formally enter an appearance while still contributing to the litigation constitutes an abuse of process.
                                                                                                                                                                                                                                          0
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                                                                                                             Th is tactic allows for participation in the case whi le evading the procedural obligations required of legal counsel.        Cl)
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                                                                                                      "E     Such behavior is not just an ethical concern; it is indicative of a strategy designed to exploit procedural loopholes
                                                                                                                                                                                                                                         :J
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                                                                                                             and avoid consequences, thus diminishing the fairness of the judicial process.
                                                                                                                                                                                                                                           Cl)
                                                                                                             Conclusion                                                                                                                   ;:.
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                                                                                                      t::    Judge Stringer's observation underscores the right t o select representation, and that choice comes with ethical
                                                                                                      :,                                                                                                                                   ;:I
                                                                                                      0      obligations. By engaging in litigation without filing to be on record, Stephen 0. Frenkil has participated in the legal
                                                                                                                                                                                                                                         .0
                                                                                                      0      process without adhering to its responsibilities. I w ill be filing the Motion fo r Reconsideration to seeks the court in
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                                                                                                             address this issue, emphasizing th e need for transpa rency and accountability in representation and preventing
                                                                                                             further abuse of process.
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                                                                                                             Ensuring clarity in my request has and still is to recognize the decision that was made and ensure that existing
                                                                                                             representation is accurately reflected .
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